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           EXHIBIT 1
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LAW FIRM LEGAL FUNDING, CONSENSUAL EQUITABLE LIEN, ASSIGNMENT AND
           SECURITY AGREEMENT AND PERSONAL GUARANTEE

This Law Firm Legal Funding, Consensual Equitable Lien, Assignment And Security Agreement (the
“Agreement”) is made and effective as of the date accepted by TRANSFEREE defined as the date Agreement
is signed by the Authorized Representative of Stillwell Madison, LLC (the “Effective Date”) by and between
Stillwell Madison, LLC, an Arizona limited liability company hereafter named TRANSFEREE, engaged in the
business of making Legal Fundings, and Girardi & Keese, a California General Partnership dba Girardi/Keese,
1126 Wilshire Blvd, Los Angeles, CA 90017-1904 thereafter referred to as TRANSFEROR. TRANSFEROR and
TRANSFEREE jointly referred to as the “Parties”. With respect to the Agreement, DGMGT AZ, LLC, an Arizona
limited liability company agrees to act as the relationship administrator between the Parties (the
“ADMINISTRATOR”).

BY THIS AGREEMENT, TRANSFEREE IS MAKING A LEGAL FUNDING TO TRANSFEROR TO BE USED FOR
BUSINESS PURPOSES WHICH REPAYMENT IS BASED UPON THE SUCCESSFUL FUTURE OUTCOME OF THE
CLIENT PORTFOLIO. TRANSFEROR HAS GRANTED A SECURITY INTEREST IN THE POTENTIAL FUTURE
PROCEEDS FROM THE CLIENT PORTFOLIO TO TRANSFEREE BUT TRANSFEREE HAS ABSOLUTELY NO RIGHT
TO AND WILL NOT MAKE ANY DECISIONS WITH RESPECT TO THE CONDUCT OF THE CLIENT PORTFOLIO
OR ANY SETTLEMENT OR RESOLUTION THEREOF. THE RIGHT TO MAKE THOSE DECISIONS REMAINS
SOLELY WITH TRANSFEROR AND/OR ITS LAW FIRM.

THIS AGREEMENT DEFINES ALL TERMS AND CONDITIONS OF THE LEGAL FUNDING BETWEEN TRANSFEROR
AND TRANSFEREE.

DEFINITIONS: The following terms used throughout the Agreement and shall have the following meanings:

"Account", means a right to payment of a monetary obligation, whether or not earned by performance.

“Assignment” means the TRANSFEROR immediately, totally, unconditionally, exclusively and irrevocably
assigns, transfers, and conveys to TRANSFEREE all of TRANSFEROR’S control, right, title and interest in and
to any and all claims of ownership including Proceeds and Payment Intangibles that are or may become due
and payable to TRANSFEROR from the Client Portfolio or Proceedings. Such Assignment is effective as of
the Assignment date.

“Assignment Date” means the date the event occurs where Proceeds from a Client Portfolio Case no
longer are subject to a valid perfected security interest by the creditors listed in Schedule B, Exhibit B-2
Liens or Other Encumbrances On Payments Due To Transferor From Cases. Upon and simultaneously
with the occurrence of such event, totally, unconditionally, exclusively, irrevocably and without
the notice, TRANSFEROR grants TRANSFEREE the Assignment of Proceeds from such Client Portfolio
Case. The Assignment Date is the same date as the Effective Date when, as of the Effective Date, a
Client Portfolio Case is not secured by the creditors listed in Schedule B, Exhibit B-1.

“Authorized Representative” means a Person with binding authority to act on behalf of a Party; including
but limited to the acceptance and execution of the Agreement, its Schedules, Exhibits, Modifications,
Amendments, and such other supporting documents that may be required in accordance with the Agreement
from time to time.

“Bankrupt” means a Person which has become the subject of an Order for Relief under the United States
Bankruptcy Code, or has initiated, either in an original proceeding or by way of answer in any state
insolvency or receivership proceeding, an action for liquidation arrangement, composition, readjustment,
dissolution, or similar relief.

“Case” means Proceedings and Things in Action with respect to Clients, including all claims arising from the
injury/incident/event including but not limited to a counter-claim, cross-claim, third party claim, whether

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individual or combined with any other claim, whether resolved by mediation, arbitration, or any other
alternative dispute resolution method, whether resolved by jury trial, settlement, or any other formal or
informal resolution method, and including all forms of compensation including punitive damages,
compensatory damages, loss of consortium and/or companionship, economic and non-economic damages,
future and present damages whether reduced to present day value or not.

“Case Resolution” means an absolute end to the lawsuit, litigation or settlement of a Client claim resulting
in a Payment Intangible which generates proceeds.

“Client” means the Persons provided by TRANSFEROR with Cases which fees and expenses are or may
become due payable to the TRANSFEROR as listed or from time to time may be added to the Client Portfolio
as specified by Schedule B in accordance with the Agreement.

“Client Portfolio” or “Portfolio” means the Clients and their Cases consider incorporated into Schedule
B in accordance with and subject to the terms and conditions of the Agreement.

“Contingent” means repayment by TRANSFEROR is based solely on the successful and possible future
outcome of the Client Portfolio where no current asset exists.

“Controlled Account” means a checking or interest bearing account subject to instruction agreed to by
the Parties in accordance with the Agreement and set-up to receive Proceeds in the TRANSFEROR’s name.
TRANSFEROR agrees not to use this account for any other purpose other than to receive, hold cash from
Proceeds, and to disburse such cash subject to the terms and restrictions of the Agreement, including but
not limited to Schedule A Exhibit A-4 Disbursement of Funds.

“Default” means the following:

       I.      Failure to pay in accordance with the provisions of this Agreement, including but not limited
               to avoiding or attempting to circumvent payment to TRANSFEREE as Proceeds become
               available to TRANSFEROR;
       II.     Abandonment of any Client by TRANSFEROR that results in no similar replacement Client
               approved by TRANSFEREE, unless such Client is specifically exempted in Schedule B from
               such requirement;
       III.    TRANSFEROR ceases to or is restricted from operating as a law firm, the practice of law or
               disallowed from receiving or sharing Legal Fees;
       IV.     TRANSFEROR or any Owner withdraws monies or otherwise transfer to or pledges to another
               Person any monies in the Controlled Account without the written authorization of the
               TRANSFEREE;
       V.      Intentional non-disclosure or concealment of (a) information that could have a material
               adverse effect on the value of a Client’s Case, such information shall include but is not limited
               to, liability issues, damages, causation or pre-existing conditions and/or medical
               conditions/treatments or any court rulings that could have an adverse effect on the value of
               the Case;(b) Legal fundings to TRANSFEROR that remain unpaid that were provided by other
               Legal Funding companies or an individual other than TRANSFEREE which provide money either
               before (non-disclosed fraud) or after this agreement (breach);
       VI.     Loss of TRANSFEREE’S priority position, for any reason, to receive payments from the Client
               Portfolio or any portion thereof;
       VII.    TRANSFEROR not timely notifying or failing to notify TRANSFEREE as required by the
               Agreement, including but not limited to Sections 3, 8 and 11 notification requirements;
       VIII.   Fraudulent activities by the TRANSFEROR or named signatories to the Agreement;
       IX.     TRANSFEROR fails to notice TRANSFEREE of any settlement of Client Portfolio or to provide
               the proper notice to any appropriate Person, including but not limited to court, settlement
               masters, defendants and their counsel, insurance companies or other Persons to establish
               and maintain any third party administrator services or other arrangement to providing

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             Payments of Proceeds to TRANSFEREE as required by the Agreement, such that the
             TRANSFEREE’s interests and payments are administrated for the benefit of the TRANSFEREE
             in accordance with the Agreement;
       X.    Failure of TRANSFEROR to provide and direct co-counsel and other third parties or their
             Successor Persons who may receive Proceeds to irrevocably execute Instructions in
             accordance with Agreement;
       XI.   The commencement of any Bankruptcy or insolvency proceeding by the TRANSFEROR or
             TRANSFEROR is found by court order to be insolvent or Bankrupt, whether through an
             involuntary or voluntary proceeding;
       XII.  The commencement of any Bankruptcy or insolvency proceeding by any Owner where any
             Owner is found by court order to be insolvent or Bankrupt, whether through an involuntary
             or voluntary proceeding, which prevents the Transferor from bringing the Client Portfolio to
             final resolution and TRANSFEREE receiving TRANSFEREE Payments in accordance with the
             Agreement from such resolution;
       XIII. The appointment of a receiver to manage the assets of TRANSFEROR;
       XIV. Judgments against any Owner in excess of $100,000;
       XV.   TRANSFEROR or any Owner who is an attorney is suspended or disbarred from the practice
             of law or otherwise suffers the loss of license or ability or right to practice law;
       XVI. The indictment, conviction or arrest of any owner for a serious crime, including but not limited
             to violent, property and financial crimes or commission of an act constituting common law
             fraud or any crime which could reasonably be expected to have an adverse impact on the
             TRANSFEROR, its business or assets;
       XVII. The death of any Owner that results in successor Person unacceptable to TRANSFEREE or
             cannot be accepted by all Parties;
      XVIII. TRANSFEROR approves changes to the creditor agreements listed in Schedule B, Exhibit B-2;
             or does not pay its obligations under and as required by such agreements.
       XIX. Any breach of the covenants representations, or warranties contained in this Agreement.

“Effective Date” the date the TRANSFEREE’s authorized representative accepts and executes the
Agreement as signed and accepted by TRANSFEROR’s authorized representatives.

“Equitable Lien” arises from an express contract where the Parties indicate intent to charge particular
property as security for an obligation. An equitable lien has (i) a debt or obligation owing by one person to
another; (ii) a “res” or specific property to which the debt or obligation attaches; (iii) an intent, express or
implied, that the property serve a security for the payment of the debt or obligation; and (iv) a lack of an
adequate or complete remedy by an action at law. As a matter of contract law, an Equitable Lien becomes
mature and legally enforceable with prior Notice to TRANSFEROR of the Legal Funding.

“General Intangible” means any personal property, including things in action, other than accounts, chattel
paper, commercial tort claims, deposit accounts, documents, goods, instruments, investment property,
letter of credit rights, letters of credit, money, oil, gas, or other minerals before extraction. The term includes
Payment Intangibles and software.

“Instructions” means TRANSFEROR’s irrevocable written directions, in accordance with the Agreement,
given to third parties.

“Lawsuit” means a claim for damages that you possess against the defendant and the action that you have
filed to collect damages from the Case Defendant(s).

“Legal Funding” means money pre-paid by TRANSFEREE to the TRANSFEROR in anticipation of
TRANSFEROR’S receipt payment from certain future and pending Proceeds which may arise from settlement,
judgment or other conclusion resulting from the Proceedings.




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“Legal Fee" means the portion of the Payments due to TRANSFEROR from Clients or co-counsels, including
but not limited to any contingent, quantum meruit, or hourly rate fees, collected by TRANSFEROR or co-
counsel from Proceeds, after deducting payments made to referring attorneys and associated outside
counsel pursuant to a fee sharing agreement or arrangement (whether or not in writing) disclosed to the
TRANSFEREE, which disclosure is incorporated into the Agreement prior to the Agreement Effective Date or
approved in writing by TRANSFEREE after the Agreement effective date. For avoidance of doubt, if
TRANSFEROR does not disclose such fee sharing agreement or arrangement as stated in this definition, then
such payments that would have been made by TRANSFEROR from payments collected by TRANSFEROR from
Proceeds made to referring attorneys and associated outside counsel pursuant to a fee sharing agreement
or arrangement shall not be so paid and become a Payment due to TRANSFEREE in accordance with the
Agreement.

“Loan” means a debt or obligation for which there is an absolute entitlement to repayment.

“Owner” means a Person which has ownership interest in the TRANSFEROR, such ownership interest may
include, but not limited to a sole proprietor, partnership, membership or shareholder interest.

“Monetary Obligation” means an obligation to pay or receive money.

“Payment” means money or anything of value paid to satisfy obligations.

“Payment Intangible” means a general intangible under which the account debtor’s principal obligation is
a monetary obligation and the contractual right to payment is sufficiently liquidated.

“Person” means any natural person (if married, husband and wife), company, proprietorship, limited
partnership, general partnership, limited liability partnership, limited liability corporation, corporation, joint
venture, association, or other organization irrespective of whether it is a legal entity.

“Proceeds” means money, Payment Intangibles or anything of value that TRANSFEROR is due from
Proceedings from any source, whether paid by single or multiple payors, including but not limited to
payments from (i) the Client; (ii) co-counsel, any other third parties or their successor Persons; (iii)
defendants and their law firms; (iv) claims processors; (v) insurers; (vi) trustees; and (vii) court
stipulations.

“Proceedings” means any legal or civil claim for damages or any other compensation that Clients possess
against the Case defendants or from Related Proceedings.

“Related Proceedings” means any claim or causes of action with the same or substantially the same
operative facts or allegations arising out of the Proceedings including but not limited to filing in a different
jurisdiction, adding additional Persons, and/or asserting a claim for legal malpractice, fraud, or breach
arising from the handling or mishandling of the underlying Case.

“Schedule” means the attachments to the Agreement labeled “Schedule”. Each Schedule may include the
Schedule’s associated Exhibit(s), e.g. Schedule A Includes Exhibits beginning with A-1; Schedule B includes
Exhibits beginning with Exhibit B-1, and so on. A reference to a Schedule also is a reference to the Exhibits
associated with such Schedule, unless such reference also specifies a Schedule’s Exhibit, then such reference
is to such Exhibit. All Schedules are incorporated within and part of the Agreement.

“Thing in Action” means any claim, debt or obligation upon which a future recovery may be made in
Proceedings.

“TRANSFEREE” means the Person named as TRANSFEREE in the first paragraph of the Agreement.

“TRANSFEROR” means the Person referred to as the TRANSFEROR in the first paragraph of the Agreement.

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“TRANSFEREE Payment” means in the event TRANSFEROR receives Legal Fee Payments and expense
reimbursement Payments from Proceeds, TRANSFEREE shall in accordance with the Agreement receive
100% of such Payments, including but not limited to the terms and conditions as set forth in Schedule
A, until such time that TRANSFEROR has fully satisfied its Agreement obligations to TRANSFEREE; except if
TRANSFEROR is in default of the Agreement, then TRANSFEROR shall pay all of such Payments to
TRANSFEREE from the Proceeds from the Client Portfolio until TRANSFEROR has fully satisfied its Agreement
obligations, including but not limited to satisfaction of remedies, penalties and all other payments that may
become due to TRANSFEREE as a result of such TRANSFEREE Agreement Default. For the avoidance of
doubt, the Monthly Maintenance Fee as stated in Schedule A Exhibit A-3 Monthly Maintenance Fees are paid
from the TRANSFEREE’s operating account are not TRANSFEREE Payments and do not reduced the amount
owed by TRANSFEROR with respect to repayment of the Legal Funding and its accrued Premium as stated
in Schedule A Exhibit A-1 Premium Accrual and Legal Funding Payment Obligation.

RECITALS:

Whereas, TRANSFEROR has been retained as legal counsel in the Client Portfolio and has signed agreements
with Clients and has or may in the future enter into co-counsel or other fee sharing agreements with other
law firms or lawyers;

Whereas, TRANSFEROR is desirous of obtaining Legal Funding from TRANSFEREE to pay for it business
purposes only including but not limited to Client costs and other associated expenses attendant to operating
a law practice;

Whereas, TRANSFEROR is aware of the fees associated with Legal Funding and has considered all other
alternative avenues of commercial funding including loans from banks and other Persons that lend money;

Whereas, TRANSFEROR desires to obtain this Legal Funding from TRANSFEREE pursuant to this Agreement
in order to enable TRANSFEROR to acquire new Clients, better service TRANSFEROR’S Clients and pay for
operating expenses during the pendency of the Client Portfolio and TRANSFEROR has no assets against
which they can or desire to borrow;

Whereas, the Parties acknowledge that the ADMINISTRATOR has brought the Parties together solely for the
business purposes contemplated by the Agreement; that the Parties recognized the ADMINISTRATOR and
its affiliates have a unique and confidential business relationship with TRANSFEROR such that TRANSFEREE
shall not conduct any further business with TRANSFEROR not specifically allowed by the Agreement or
circumvent the Agreement to do so; the Parties desire the relationship between the Parties be administered
by the ADMINISTRATOR such that all communications between the Parties shall be made through the
ADMINISTRATOR and not directly between the parties unless otherwise stated in the Agreement;

Whereas, in order to afford TRANSFEROR sufficient funds to acquire new Clients, adequately service the
Clients, to prosecute the Client Portfolio and carry on its operations, TRANSFEREE has agreed to provide
Legal Funding for business purposes to TRANSFEROR in consideration for an equitable lien on, and
Assignment of, the Proceeds which may arise from the Proceedings and any Payment Intangible arising from
the Client Portfolio. TRANSFEREE acknowledges that the outcome of the Proceedings is uncertain,
unpredictable, and involves risks beyond the Parties’ control which could result in no payment or recovery
of Proceeds by the TRANSFEROR against the Defendant(s) or others arising out of Proceedings; and

Whereas, TRANSFEROR and its duly authorized representative has authority to enter into this Agreement.

COVENANTS:




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Now, THEREFORE, in consideration of the sum as stated in Schedule A and other good and valuable
consideration, the receipt and acceptability of which is hereby acknowledged, TRANSFEREE and
TRANSFEROR do hereby agree as follows:

1.      TRANSFEROR and TRANSFEREE hereby incorporate the Recitals and Definitions into the terms and
conditions of this Agreement by this reference. TRANSFEROR acknowledges and agrees that the foregoing
Recitals and Definitions are true and correct and, in particular, that TRANSFEROR has been informed by
TRANSFEREE and is aware that alternative methods of financial assistance including, among others, credit
card advances, bank loans, or personal loans from family or friends, may be available to TRANSFEROR and
provide TRANSFEROR with more favorable rates, fees, repayment schedules, or other terms.
Notwithstanding such alternative methods of financial assistance, TRANSFEROR acknowledges and agrees
that obtaining Legal Funding from TRANSFEREE is voluntary, is in the best interest of TRANSFEROR, and
will greatly assist TRANSFEROR to better service TRANSFEROR’S clients and pay expenses during the
pendency of this Client Portfolio.

2.      TRANSFEROR agrees to the Assignment. TRANSFEROR warrants, represents, and covenants to
TRANSFEREE that, as of the Effective Date TRANSFEROR shall not assign any right, title and interest in the
future Proceeds or Payment Intangible from the Client Portfolio or any related proceedings to any other
Person unless TRANSFEREE has approved and TRANSFEREE has approved in writing to such action by
TRANSFEROR. TRANSFEROR also agrees to cause all Assigned Proceeds or Payment Intangible from the
Client Portfolio or Proceedings to be paid to TRANSFEREE to the extent of the maximum amount referenced
in Schedule A. TRANSFEROR has a valid (i) client retainer, (ii) co-counsel, or (iii) other fee sharing
agreement on all Proceeds pledged in Schedule B and all such payment obligations to TRANSFEROR are fully
disclosed, valid and enforceable.

3.      TRANSFEROR hereby also grants to TRANSFEREE a security interest in all General Intangibles,
including any Thing in Action or Payment Intangible, associated with or arising from the Client Portfolio,
Proceedings, or TRANSFEROR’S rights therein subject to an Assignment, to the extent of the maximum
amount referenced in Schedule A to secure the conveyance and payments described in this Agreement.
TRANSFEROR hereby authorizes and agrees to cooperate with TRANSFEREE to file a UCC1 Financing
Statement, Consent Judgment if included in Agreement as a Schedule, and other documents as well as
notifying any, co-counsels, appropriate courts, defendants, their counsels, insurance companies, settlement
masters and other interested Persons as may be desired by TRANSFEREE to perfect or protect its security
interest in all such General Intangibles. TRANSFEROR acknowledges and agrees that this Agreement creates
a contractual right for TRANSFEREE to receive TRANSFEREE Payment in accordance with the Agreement
from future Proceeds and Payment Intangible from the Client Portfolio or Proceedings whenever any such
Case or Proceeding settles or is reduced to a judgment and, as such, at that time, automatically and
immediately becomes a perfected security interest in a Payment Intangible or an Account regardless of
whether any UCC-1 Financing Statement is filed. TRANSFEROR acknowledges and agrees that at the time
the TRANSFEROR’S Payment Intangible or becomes a perfected security interest, it then becomes Proceeds
from which TRANSFEREE shall receive TRANSFEREE PAYMENT.

4.     TRANSFEROR understands the above-mentioned Legal Funding provided by the TRANSFEREE to be
a pre-payment of TRANSFEROR’s possible recovery of Proceeds or Payment Intangible and such Legal
Funding shall be used exclusively for TRANSFEROR‘s business purposes. TRANSFEREE shall not provide
funding until such time that all itemized TRANSFEREE’s expenses have been reimbursed and all documents
requested by TRANSFEREE are executed to the TRANSFEREE’s satisfaction. TRANSFEREE acknowledges it is
providing Legal Funding for the certain future Proceeds or Payment Intangible which may arise from the
Proceedings.

When all amounts required to be paid to TRANSFEREE pursuant to the Agreement, have been paid in full,
TRANSFEROR shall owe no additional payment to TRANSFEREE. TRANSFEROR understands and agrees that,
in the event TRANSFEROR is paid settlement Proceeds from one of potential multiples sources or at multiple
times (whether there are multiple defendants, claims or lawsuits, co-counsels or insurers), TRANSFEREE

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shall receive the TRANSFEREE Payment in accordance with the Agreement until TRANSFEREE is paid in full.
In the event that such amounts paid to the TRANSFEREE are not sufficient to satisfy the amounts owed to
TRANSFEREE and Client Cases remain unresolved, TRANSFEREE shall be entitled to continue to receive
TRANSFEREE Payment which, upon receipt, such amount paid to the TRANSFEREE will be first applied to
reduce the Premium until reduced to zero then the balance of such amount paid to the TRANSFEREE, if any,
will be applied to reduce the Legal Funding until reduced to zero. TRANSFEROR may request in writing, after
each such Payment, that TRANSFEREE prepare a revised Schedule A showing the remaining total balance
owed by TRANSFEROR to TRANSFEREE.

If, at their sole discretion, both TRANSFEREE and the ADMINISTRATOR approve future Legal Fundings to
TRANSFEROR and TRANSFEROR accepts such additional Legal Fundings, then, in addition to the
TRANSFEREE Payment process defined in this section, Schedule A, Exhibit A-5 will determine the allocation
of TRANSFEREE Payments among existing and such future additional TRANSFEROR Legal Fundings
agreements. Such future fundings, if any, shall be agreed to by the Parties and may be incorporated into
the Agreement as an amendment or by completion of a separate funding agreement. For the avoidance of
doubt, TRANSFEREE Payments may be applied at the sole discretion of the TRANSFEREE to one, several or
all TRANSFEROR Legal Fundings agreements with TRANSFEREE in accordance with such Legal Fundings
agreements.

TRANSFEROR understands, acknowledges, and agrees that TRANSFEREE shall be entitled to receive
TRANSFEREE Payments from any Proceeds or Payment Intangible in accordance with the Agreement until
TRANSFEREE is paid in full for all amounts owed to TRANSFEREE under this Agreement. TRANSFEROR also
understands acknowledges, and agrees that TRANSFEROR shall not dispose of, encumber, or pledge as
security all or any portion of the Proceeds, Payment Intangible, or any other interest in the Client Portfolio
or claims from Proceedings unless (i) TRANSFEREE has approved and TRANSFEREE has agreed to such
subordination or disposal in Schedule B. or (ii) until TRANSFEREE is first paid in full for all amounts owed to
TRANSFEREE under this Agreement.

5.      The Parties acknowledge and agree that this Agreement is expressly intended to transfer, convey
and relinquish control over only a specified portion of the Proceeds which may result from the Client Portfolio
or Proceedings. Prior to the resolution of any Case in the Client Portfolio, TRANSFEREE AND ADMINISTRATOR
agree that they shall have no right to and will not make any decisions with respect to the conduct of the
underlying civil actions or claims or any settlements or resolution thereof and that the right to make those
decisions remains solely with TRANSFEROR.

6.      TRANSFEROR acknowledges that this lien in addition to an Assignment also becomes a mature,
equitable lien enforceable under basic contract law and that any Court, a Settlement Master of a QSF, Third
Party Administrator, co-counsel, the defendant’s and/or their counsel or insurance company may be notified
of this lien and could be requested to protect the interests of Transferee and/or disburse the Proceeds in
accordance with the Agreement.

7.    TRANSFEROR acknowledges and agrees that the Legal Funding provided herein shall be used by
TRANSFEROR only for business purposes which generally include expenses related to Cases and
Proceedings, acquiring additional Cases, expenses associated with operating a law practice during the
pendency of the Cases and payments as stated in the Agreement.

8.      TRANSFEROR understands and agrees to the following (i) timeframes to notice ADMINISTRATOR of
specified events; and (ii) other specified conditions and actions:

   (a) TRANSFEROR understands and agrees that it shall provide written notice to ADMINISTRATOR within
       five (5) business days if TRANSFEROR is (i) discharged, (ii) acquires co-counsel or other fee sharing
       arrangement, or (iii) otherwise relieved of its responsibilities to any Client(s) in any of the Cases or
       Proceedings and that TRANSFEROR’S obligations under this Agreement shall remain in full force and
       effect.

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 (b) TRANSFEROR understands and agrees that it shall provide written notice to ADMINISTRATOR within
     five (5) business days if the creditor agreements listed in Schedule B, Exhibit B-2 (i) have been
     changed or modified; (ii) the TRANSFEROR requests or is made aware of a request to change or
     modify such agreements; (iii) TRANSFEROR does not pay amount due under and as required by such
     agreements; or commits an act that is a default of any such agreement.

 (c) TRANSFEROR understands and agrees that it shall provide written notice to ADMINISTRATOR within
     five (5) business days in the event any attorney who is a partner, shareholder, member, employee
     or associate counsel of TRANSFEROR leaves the TRANSFEROR, whether voluntarily or by resignation,
     dismissal, retirement or otherwise; and that any Proceeds which may result from the Client Portfolio
     or Proceedings that may be claimed by such attorney shall remain the property of the TRANSFEROR
     unless such requirement contradicts an agreement between such attorney and the TRANSFEROR, or
     in absence of such an agreement, such requirement is determined to be professionally unethical by
     the Parties. For the avoidance of doubt, regardless of the foregoing, TRANSFEROR agrees that no
     portion of said Proceeds shall be released, paid, or distributed to said attorney until all Legal Fees
     from said Client have been paid in full to TRANSFEREE in accordance with the Agreement.
     TRANSFEREE’S security interest in the Proceeds and Payment Intangible shall also continue
     unaffected by TRANSFEROR’S discharge of such attorney.

 (d) TRANSFEROR understands and agrees (i) TRANSFEROR shall be responsible to keep
     ADMINISTRATOR apprised of the status of all Clients and their Cases; (ii) that TRANSFEROR shall
     provide written notice to ADMINISTRATOR within five (5) business days in the event that a Client is
     no longer is represented by the TRANSFEROR or TRANSFEROR’s co-counsel for any reason other
     than the Client’s Case is settled or resolved, and TRANSFEROR shall immediately replace the Client’s
     (unless such Client is specifically exempted in Schedule B from such requirement) with Client’s with
     Cases of like kind and value acceptable to the TRANSFEREE such that TRANSFEREE will be placed in
     the same or similar position as TRANSFEREE prior to loss of such Client; (iii) TRANSFEREE shall have
     the right in accordance with this Agreement to protect its interest in such Clients and their Cases
     though all legal remedies including, but not limited to, notifying any attorneys or Persons involved
     in the continuation of the Client’s Case ensuring that TRANSFEREE receives all amounts due to
     TRANSFEREE in accordance with the Agreement; and (iv) TRANSFEROR shall also take any action
     and sign any document reasonably requested by TRANSFEREE to enable TRANSFEREE to protect and
     enforce TRANSFEREE’s rights under this Agreement with respect to any new attorney or creditor of
     such Client.

 (e) TRANSFEROR understands and irrevocably agrees that it shall (i) provide written notice to
     ADMINISTRATOR within 48 hours in the event TRANSFEROR is unable to practice law for any reason
     (ii) upon such event, all Client Portfolio Clients will be referred by TRANSFEROR or by TRANSFEROR’s
     successor controlling Person or Persons in accordance with the Succession Agreement Schedule or,
     if unable to perform such Succession Agreement to the TRANSFEREE’s sole satisfaction, then to other
     counsel acceptable to TRANSFEREE, which shall become the counsel for TRANSFEROR’s Clients upon
     Clients’ acceptance of such counsel, however such referral shall not become effective and operative
     if there is a successor Person to the TRANSFEROR which is acceptable to the TRANSFEREE, provided
     such Person agrees to be bound by, empowered to and able to fully comply with the Agreement. The
     TRANSFEREE shall not refuse a reasonable successor Person, who in the opinion of the TRANSFEREE
     is qualified to fully execute the terms and conditions of the Agreement.

 (f) TRANSFEROR agrees to release to ADMINISTRATOR, within 48 hours after request by
     ADMINISTRATOR unless ADMINISTRATOR agrees to a written extension, any/all information, files,
     records and documents for the duration of this Agreement regarding the subject matter and status
     of any Client and their Case, except TRANSFEROR shall not be required to release those portions of
     a Client’s file which are subject to a confidentiality agreement that prohibits TRANSFEROR from
     forwarding copies of such Case files or disclosing the same to the ADMINISTRATOR unless
     ADMINISTRATOR complies with the confidentiality requirements to release such information to the

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    ADMINISTRATOR. To the extent ADMINISTRATOR or TRANSFEREE receives information deemed
    confidential by TRANSFEROR then ADMINISTRATOR or TRANSFEREE shall treat such information as
    confidential and shall receive and review these materials solely in the limited capacity necessary for
    the initial review and underwriting process as well as the ongoing execution and maintenance of this
    Agreement. In that regard, TRANSFEROR shall make available to ADMINISTRATOR the files for all of
    the Clients and their Cases upon reasonable notice so that ADMINISTRATOR can perform an onsite
    audit of each Case if ADMINISTRATOR elects to do so. The cost of such audit shall be reimbursed by
    TRANSFEROR. Furthermore, TRANSFEROR shall immediately notify ADMINISTRATOR by both fax at
    (480) 522-1199 or phone at (480) 515-3698 of any settlement, judgment, appeal or verdict or other
    conclusion of any of the Cases or other related proceedings in order for TRANSFEREE to take any
    action reasonably required by TRANSFEREE to protect and enforce TRANSFEREE’S rights under this
    Agreement. TRANSFEROR further agrees to provide TRANSFEROR’s annual Financial statements
    (audited or unaudited) for each year the Legal Funding is outstanding to ADMINISTRATOR. Within
    fourteen days of request, TRANSFEROR will provide all related bank statements and trust account
    statements for each month that the Legal Funding is outstanding to ADMINISTRATOR. Nothing in
    this paragraph will require the TRANSFEROR to produce any confidential information, attorney-client
    information, work product information or any other Client information deemed to be prohibited by
    the applicable code of legal ethics.

 (g) TRANSFEROR understands and agrees that it shall provide written notice to ADMINISTRATOR within
     5 business days after a Client has entered into a Master Settlement Agreement or otherwise has
     agreed to a settlement; and then TRANSFEROR shall insure all Proceeds including amounts due to
     TRANSFEREE are collected in accordance with the Agreement, including but not limited to Schedule
     A.

 (h) TRANSFEROR understands and agrees that it shall provide reports to ADMINISTRATOR, upon
     ADMINISTRATOR’s request, in a form acceptable the ADMINISTRATOR and within 5 days after such
     request unless such timeframe is extended by the ADMINISTRATOR. Unless otherwise agreed to by
     ADMINISTRATOR, the TRANSFEROR shall send a report to ADMINISTRATOR detailing all the Client
     Cases and their Proceedings showing the current status of each Case, whether any settlement
     discussions have taken place, whether any offers have been made, and when TRANSFEROR
     anticipates that each Case will resolve. If TRANSFEREE learns that the report has material errors or
     omissions, TRANSFEREE may proceed as if a Default has occurred.

 (i) TRANSFEROR understands and agrees that ADMINISTRATOR may audit the client Case portfolio twice
     per year unless TRANSFEROR is default of the Agreement, then ADMINISTRATOR may audit the client
     Case portfolio more frequently as requested by TRANSFEREE until such time the default is cured.
     Such audits may require review of Case information at the TRANSFEROR’s site and typical travel and
     related costs for such audits shall be paid by the TRANSFEROR as required by the ADMINISTRATOR.

 (j) TRANSFEROR understands and agrees that the Legal Funding advanced by TRANSFEREE to
     TRANSFEROR has been provided for TRANSFEROR’s business purposes and TRANSFEROR shall
     exclusively and only use such funding for business purposes.

 (k) TRANSFEROR acknowledges and agrees each and all Schedules, Exhibits, addendums or other attachments
     attached to this Agreement and referred to herein is hereby incorporated in this Agreement by reference.
     TRANSFEROR also agrees to execute each for the foregoing Schedules where indicated and required
     and that they are doing so voluntarily, freely, and without duress. TRANSFEROR agrees that by
     executing the Agreement, TRANSFEROR does so with prior knowledge of the Agreement and its
     Schedules, Exhibits, addendums or other attachments. TRANSFEROR understands and agrees that the
     executed Agreement with each of the executed Schedules needs to be provided to ADMINISTRATOR
     for TRANFEREE’s review and decision to accept or not accept the Agreement where such decision is
     at the sole discretion of the TRANSFEREE.



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9.      By signing this Agreement, TRANSFEROR warrants, represents, and covenants to TRANSFEREE that
TRANSFEROR (i) has not filed a personal or business Bankruptcy within the previous two years; (ii) is not
currently in the process of filing any form of Bankruptcy; and (iii) has not consulted with a counsel
concerning personal or TRANSFEROR Bankruptcy within the previous 365 days, unless such consultation
has been disclosed in writing to the TRANSFEREE. In the event that TRANSFEROR files any Bankruptcy
proceeding subsequent to entering into this Agreement, TRANSFEROR shall promptly notify
ADMINISTRATOR of that fact in writing. In addition, if the TRANSFEROR files Bankruptcy proceedings prior
to the payoff of all amounts required to be paid to TRANSFEREE pursuant to this Agreement, TRANSFEROR
agrees to notify the Bankruptcy court that the TRANSFEROR previously assigned the Client Portfolio Proceeds
to the extent of the maximum amount stated in Schedule A pursuant to this Agreement, that TRANSFEROR
no longer owns those Proceeds and that those Client Portfolio Proceeds to the extent of the maximum
amount referenced in Schedule A are not available as part of any Bankruptcy estate, and that TRANSFEREE
is a secured creditor and has a priority position to the Client Portfolio Proceeds superior to any other creditor
as a result of this Agreement unless TRANSFEREE has approved and TRANSFEREE has agreed to such
subordination in Schedule B. TRANSFEROR acknowledges and agrees that TRANSFEREE has provided Legal
Funding(s) to TRANSFEROR in return for TRANSFEROR’S Assignment of the Client Portfolio Proceeds and
that TRANSFEROR’s obligations to TRANSFEREE pursuant to this Agreement shall not be discharged, voided,
or reduced in any way as a result of any Bankruptcy proceeding.

10.     TRANSFEROR acknowledges TRANSFEREE and ADMINISTRATOR initially authored the Agreement.
TRANSFEROR acknowledges it is a law firm with resources and legal knowledge to review and interpret the
Agreement or to seek qualified counsel to do so. Moreover, all terms of the Agreement were subject to
negotiation between the Parties, with the final terms representing a meeting of the minds. Thus
TRANSFEREE and ADMINISTRATOR are not the draftsmen of the Agreement and the rule of construction
that ambiguities be resolved against the draftsmen do not apply to TRANSFEREE, TRANSFEROR or
ADMINISTRATOR. TRANSFEREE, TRANSFEROR and ADMINISTRATOR shall keep the Agreement confidential
except (i) between the Parties, their advisers who may be involved with the transactions contemplated by
the Agreement provided such advisors are not in the business of providing legal funding or related services;
(ii) under a confidentiality agreement in support of due diligence requests with respect to the TRANSFEREE’s
business activity; (iii) as required by law, regulatory requests; or to the extent any such information has
become available in public domain. Any unauthorized use, reproduction, or transmittal of the Agreement
whatsoever shall constitute copyright infringement and shall render the infringer liable to prosecution under
the law. Attorneys, their firms and all employees of the firm are issued a ‘Limited Use Permit’ to use the
Agreement to complete the process of the Legal Funding from the initial gathering of client information to
the final execution of this Assignment and Consensual Equity Lien and Security Agreement. All file
documents created by TRANSFEREE and ADMINISTRATOR shall be considered Amalfi Management, LLC and
Neoconomy, LLC Proprietary Intellectual Property and confidential by all Parties and ADMINISTRATOR
involved in this Agreement including the processes leading to approving the TRANSFEROR for a Legal
Funding. Further, if the Legal Funding contemplated by this Agreement is made subsequent to a prior Legal
Funding, the date of this Legal Funding shall relate back to the date of the first Legal Funding for purposes
of establishing priority of payment. In addition, the Parties agree that any prior agreements shall be
controlled by any subsequent change in the language of this Agreement to the extent the prior agreement(s)
conflicts.

11.    This Agreement constitutes the entire agreement between the Parties. There are no representations,
warranties, covenants, or obligation except as set forth herein. This Agreement supersedes all prior
agreements, understandings, negotiations and discussions, written or oral, of the Parties, relating to any
transaction contemplated by this Agreement. This Agreement shall be binding on and inure to the benefit
of the Parties, their heirs, trustees, executors or any other successor-in-interest including another co-
counsel who may obtain or assert control over the TRANSFEROR’s assets for any reason including but not
limited to disability (physical or mental), a decline in health or death. Also by executing the Agreement,
TRANSFEROR, at the request of TRANSFEREE with approval from the ADMINISTRATOR, agrees to exercise
a Power of Appointment with which TRANSFEROR and/or any representative of TRANSFEROR will be
empowered to the extent necessary to complete the Transfer that is the subject of this agreement. In the

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event one or more of the covenants, terms or conditions of this Agreement shall for any reason be held to
be invalid or unenforceable in any respect, such invalidity or unenforceability shall not affect the validity,
liability, or enforceability of any other covenant, term or condition in this Agreement.

12.   TRANSFEROR represents, warrants, and covenants unto TRANSFEREE that, as of the date of this
Agreement,

   (a) The Client Portfolio Cases and Proceedings to be meritorious and executed in good faith;

   (b) TRANSFEROR Clients have complete right, title and interest in and to the claims set forth in Client
       Portfolio and Proceedings and TRANSFEROR has received no money, anything else of value, entered
       into an undisclosed agreement or taken any undisclosed action that would diminish the value of any
       the Client Cases;

   (c) TRANSFEROR has not assigned or encumbered the Proceeds, Payment Intangible, or any other
       similar rights or assets from the Client Portfolio or other related proceedings, other than agreed to
       and so specified in the Agreement;

   (d) TRANSFEROR stipulates that all amounts required to be paid to TRANSFEREE pursuant to this
       Agreement are not subordinated to any other liens or claims of any other Person other than agreed
       to and so specified in the Agreement;

   (e) TRANSFEROR shall have the obligation to cure or remedy any unintentional breach of (a) through
       (d) of this section by replacing Cases, unless such Case is specifically exempted in Schedule B from
       such requirement, in the Client Portfolio with similar Cases of like kind and value acceptable to the
       TRANSFEREE within ten days of the TRANSFEROR’s communication of such breach to
       ADMINISTRATOR. The cure will only be effective after TRANSFEREE, at its sole, discretion, accepts
       the replacement Cases in writing.

   (f) All current liens, assignments, co-counsel agreements and fee sharing arrangements, encumbrances
       or security interest of any kind or nature in or relating to Proceeds, Payment Intangible, or any
       other similar rights or assets from the Client Portfolio or Proceedings are listed in Schedule B;

   (g) All Agreement financial and other terms have been are accurately and clearly stated by TRANSFEREE
       to TRANSFEROR;

   (h) TRANSFEROR, to the extent required by the Agreement to be completed at time of closing, shall in
       accordance with the Agreement instruct co-counsels, Defendants, their insurers and counsel, third
       party administrators, escrow agents and settlement administrators to honor the provisions
       regarding payment of Client Portfolio proceeds as set forth in the Agreement such that there are no
       other agreements verbal, electronic or otherwise that modify such payment terms;

   (i)   TRANSFEROR has paid all of its federal, state, and local taxes through the date of execution of this
         agreement or has made and disclosed provisions for the payment;

   (j) TRANSFEROR has disclosed to TRANSFEREE all material information about the Clients and their
       Cases as requested by the TRANSFEREE;

   (k) There are no Bankruptcy or insolvency actions in progress involving TRANSFEROR, any equity holder
       of TRANSFEROR or Persons with controlling interests of such equity holder;

   (l)   All financial disclosures made to TRANSFEREE are complete and fairly characterize the financial
         position of TRANSFEROR;



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   (m) TRANSFEROR and all of its lawyers representing TRANSFEROR’s Clients are in compliance with Bar,
       state and federal regulations to practice law and have not been indicted on any matters related to
       the practice of law, or are not presently subject to any investigation for any material disciplinary
       action by any state or federal court or authority (including any attorney registration & disciplinary
       commission or independent bar association) with regulatory powers or duties over attorneys;

   (n) TRANSFEROR has full power and authority to make, execute, and perform this Agreement;

13.     TRANSFEROR hereby waives any defenses to payment of all amounts required to be paid to
TRANSFEREE pursuant to this Agreement. TRANSFEROR understands the Agreement’s Instructions
regarding payments due TRANSFEREE and such Instructions under this Agreement are irrevocable without
which TRANSFEREE would not have agreed to provide the Legal Funding. TRANSFEROR hereby agrees to
make Payments in amounts that are in full and complete compliance with this Agreement and not to seek
to avoid payment of any such amounts by interfering with payment of or encouraging, cooperating with,
instructing, or authorizing any Person to delay payment or not to pay or distribute any Proceeds from the
Client Portfolio or Proceedings as required by the Agreement. TRANSFEROR shall also further cooperate with
TRANSFEREE in procuring payment of all amounts required to be paid to TRANSFEREE under this Agreement.

14.     In the event that TRANSFEROR terminates, materially defaults or otherwise breaches the covenants,
conditions or terms of this Agreement, and fails to cure such Default in accordance with the Agreement,
TRANSFEREE shall at its discretion exercise any or all remedies available to enforce the Agreement and to
collect all amounts due TRANSFEREE, including but not limited to recovering costs from TRANSFEROR of
amounts for attorney fees and other expenses to make TRANSFEREE whole. TRANSFEROR expressly
acknowledges that in the event of termination or Default which is not or cannot be cured in accordance with
the Agreement, the anticipated loss to TRANSFEREE in such an event will be estimated to be the amount
set forth as liquidated damages and such estimated value is reasonable and not imposed as a penalty. The
Parties agree that liquidated damages to TRANSFEREE shall be in the amount of 20% of the Schedule A
total amounts due to TRANSFEREE which shall be in addition to the total amount due TRANSFEREE as set
forth in Schedule A.

15.    Any and all claims, counterclaims, demands, causes of action, disputes, or controversies under this
Agreement or the alleged breach of any provision hereof (all of which are referred to as "Disputed Claims"),
whether such Disputed Claims arise at law or in equity, under US state or federal law, or the law of any
other nation or state, for damages or any other relief, shall be resolved in the manner set forth below:

   (a) The Parties to this Agreement agree that all Disputed Claims, which shall include any dispute,
       controversy or claim that may arise between or among them in connection with, arising out of, or
       otherwise relating to this Agreement or the application, implementation, validity or breach of this
       Agreement or any provision of this Agreement (including, without limitation, claims based on
       contract, tort or statute), shall be finally, conclusively and exclusively settled by binding arbitration
       in Phoenix, Arizona in accordance with the arbitration rules (the “Rules”) of the National Arbitration
       Forum (NAF) or JAMS or any successor thereto then in effect. THE PARTIES HEREBY EXPRESSLY
       WAIVE THEIR RIGHT TO SEEK REMEDIES IN COURT, INCLUDING THE RIGHT TO TRIAL BY
       JURY, WITH RESPECT TO ANY MATTER SUBJECT TO ARBITRATION PURSUANT TO THIS
       AGREEMENT. THE PARTIES AGREE THAT THERE SHALL BE NO AUTHORITY FOR ANY CLAIMS
       TO BE ARBITRATED ON A CLASS ACTION OR PRIVATE ATTORNEY GENERAL BASIS.
       FURTHERMORE, ARBITRATION CAN ONLY DECIDE EACH PARTY’S CLAIMS AND MAY NOT
       CONSOLIDATE OR JOIN THE CLAIMS OF OTHER PERSONS THAT MAY HAVE SIMILAR
       CLAIMS. Any Party may bring an action, including, without limitation, a summary or expedited
       proceeding in any court having jurisdiction, to compel arbitration of any dispute, controversy or claim
       to which the provisions hereof apply. The initiation and conduct of arbitration shall be as set forth in
       the Rules, which Rules are incorporated in this Agreement by reference with the same effect as if
       they were set forth in this Agreement.



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   (b) The arbitration shall be administered by the NAF or JAMS. If the NAF and JAMS is unable or legally
       precluded from administering the arbitration, then the Parties shall agree upon an alternative
       arbitration organization, provided that, if the Parties cannot agree, such organization shall be
       selected by a judge of the United States District Court for the District that includes Phoenix, Arizona.

   (c) All arbitration hearings shall be commenced within thirty (30) days after arbitration is initiated
       pursuant to the Rules, unless, upon a showing of good cause by a Party to the arbitration, the
       arbitrator permits the extension of the commencement of such hearing; provided, however, that any
       such extension shall not be longer than thirty (30) days.

   (d) All claims presented for arbitration shall be particularly identified and the Parties to the arbitration
       shall each prepare a statement of their position with recommended courses of action. These
       statements of position and recommended courses of action shall be submitted to the arbitrator. The
       arbitrator shall not be empowered to make decisions beyond the scope of the position papers.

   (e) The arbitration proceeding will be governed by the substantive laws of the State of Arizona and will
       be conducted in accordance with such procedures as shall be fixed for such purpose by the arbitrator.
       The Parties shall preserve their right to assert and to avail himself of the attorney-client and attorney-
       work product privileges, and any other privileges to which they may be entitled pursuant to applicable
       law. No Party to the arbitration or any arbitrator may compel or require mediation and/or settlement
       conferences without the prior written consent of all such Parties and arbitrator.

   (f) The arbitrator shall make an arbitration award as soon as possible after the later of the close of
       evidence or the submission of final briefs, and the award shall be made not later than thirty (30)
       days following submission of the matter. The finding and decision of the arbitrator shall be final and
       shall be binding upon the Parties. Judgment upon the arbitration award or decision may be entered
       in any court having jurisdiction thereof or application may be made to any such court for a judicial
       acceptance of the award and an order of enforcement, as the case may be. The arbitrator shall have
       the authority to assess liability for pre-award and post-award interest on the claims, attorneys’ fees,
       expert witness fees and all other expenses of arbitration as such arbitrator shall deem appropriate
       based on the outcome of the claims arbitrated. Unless otherwise agreed by the Parties to the
       arbitration in writing, the arbitration award shall include findings of fact and conclusions of law.

   (g) EACH PARTY UNDERSTANDS AND AGREES THAT (i) THIS AGREEMENT CONTAINS THE
       REQUIREMENT TO ARBITRATE WITH RESPECT TO ANY DISPUTE OR NEED OF
       INTERPRETATION OF THIS AGREEMENT; (ii) EACH PARTY WILL NOT BE ABLE TO BRING A
       LAWSUIT AGAINST THE OTHER PARTY; (iii) THERE SHALL BE NO AUTHORITY FOR ANY
       CLAIMS TO BE ARBITRATED ON A CLASS ACTION OR PRIVATE ATTORNEY GENERAL BASIS;
       AND (iv) ARBITRATION CAN ONLY DECIDE THE PARTIES’ CLAIMS AND MAY NOT
       CONSOLIDATE OR JOIN THE CLAIMS OF OTHER PERSONS THAT MAY HAVE SIMILAR
       CLAIMS.

   (h) TRANSFEROR understands that the "choice of laws", "forum", and "venue" clauses are critical in
       nature, and are essential to this Contract, and that they have not been placed in this Contract as
       mere "form" insertions and recitals.

   (i) TRANSFEROR agrees to have all disputed amounts placed into an escrow account separate from the
       law firm’s trust fund account until the dispute is resolved. The prevailing Party in the dispute shall
       be entitled to recover reasonable attorney fees, filing fees and costs associated with the efforts to
       collect.

16.   TRANSFEREE’s rights and obligations under this agreement may be assigned, provided such
assignment is approved in writing by the ADMINISTRATOR, without the consent of TRANSFEROR.
TRANSFEROR’s rights and obligations under this Agreement may not be assigned or transferred (whether

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voluntarily, by operation of law or otherwise) without the written consent of TRANSFEREE and
ADMINISTRATOR, except for transfer by intestate due to TRANSFEROR’S death in which case TRANSFEROR’s
heirs, estate, executors and personal representatives will be bound by this Agreement. TRANSFEROR agrees
that TRANSFEREE may share information that TRANSFEREE obtained about TRANSFEROR (whether from
TRANSFEROR or any other Person) with potential assignees to whom TRANSFEREE may assign its rights and
obligations under this Agreement, where such information is reasonably necessary to allow a potential
assignee to make an informed decision whether to take assignment from TRANSFEREE, provided that
TRANSFEREE enters into an appropriate confidentiality agreement with any such potential assignee.

17.   TRANSFEROR also understands and agrees that this agreement will be interpreted under Arizona law
and that absent TRANSFEROR’S agreement to Arizona law, TRANSFEREE would not have entered into this
Agreement.

18.     To the extent that TRANSFEROR engaged a consultant to assist in obtaining the legal funding,
TRANSFEROR confirms and agrees that the consultant is an independent contractor and not an employee of
TRANSFEREE, has no right or authority to bind TRANSFEREE, and TRANSFEREE and ADMINISTRATOR is not
liable for any statements made by consultant. All commissions due consultant are owed by TRANSFEROR to
consultant. If requested by TRANSFEROR, TRANSFEREE may, at TRANSFEREE’s discretion, agree to pay
TRANSFEROR’s obligations owed consultant and, if so agreed by TRANSFEREE, TRANSFEROR consents to
increasing the total amount to be funded to and owed by the TRANSFEROR by the amount TRANSFEREE
agrees to pay consultant at TRANSFEROR’s request.

19.    TRANSFEROR shall pay TRANSFEREE per the terms of this Agreement as presented in Schedule A.
Any Payments made from the Legal Funding by TRANSFEREE on behalf of TRANSFEROR shall accrue
Premium at the same Premium Rate as the balance of the Legal Funding. Premium shall accrue on the
aggregate amount of the Legal Funding to TRANSFEROR. Payments made on behalf of TRANSFEROR from
Legal Funding advanced to TRANSFEROR by TRANSFEREE shall be used only for business purposes and may
include, but are not limited to payments due to TRANSFEREE, independent consultants referring
TRANSFEROR to TRANSFEREE, banks, other funding Persons, lien holders and other business services or
product providers which are specified by the Agreement to be paid. TRANSFEREE is not obligated to pay
such expenses on behalf of TRANSFEROR but may agree to do so selecting any one or more of such expenses
for any reason, and in doing so it may elect to consider only its own interests and will not be required to
consider the effect of any such closure on TRANSFEROR under the Agreement.

20.     Notices. All notices authorized or required to be given pursuant to this Agreement shall be given in
writing and either personally served on the Party to whom given with copy to ADMINISTRATOR, mailed
postage prepaid, or sent by email or facsimile transmission (and also mailed within 24 hours thereafter),
addressed to the Party's address, email address or facsimile number as it appears on the books of the
Company. All notices shall be deemed given when personally delivered or, if mailed as provided in this
section, on the second day after the date of mailing, or if sent by email or facsimile transmission, 24 hours
after the time of dispatch.

Any Party and ADMINISTRATOR may change his address for the receipt of notices at any time by giving
written notice thereof to Manager and the other Members in accordance with the terms of this section. The
inability to deliver notice because of a changed address of which no notice was given, or the rejection or
other refusal to accept any notice, shall be deemed to be the effective receipt of the Notice as of the date
of such inability to deliver or the rejection or refusal to accept. Any notice to be given by any Party herein
may be given by an agent for such Party.

Notification and other communication shall be sent to the Parties as follows:

       Notification or other communication required in writing:
          TRANSFEREE (send to ADMINISTRATOR): ALF Operations, Attn: DGMGT AZ LLC, 17700 North
          Pacesetter Way Scottsdale, AZ 85255

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          TRANSFEROR: Girardi/Keese, 1126 Wilshire Blvd, Los Angeles, CA 90017-1904
       Other communications:
          ADMINISTRATOR:
              Phone: (480) 563-0087 Email: ahald@alfoperations.com Fax: (480) 522-1199
          TRANSFEROR:
              Phone: (213) 977-0211 Email: tgirardi@girardikeese.com Fax: 213-481-1554

21.      Severability. Every provision of this Agreement is intended to be severable. If any term or provision
is illegal or invalid for any reason whatsoever, such illegality or invalidity shall not affect the validity or
legality of the remainder of this Agreement.

22.    Parties and Successors in Interest. Nothing in this Agreement, whether expressed or implied, is
intended to confer upon any Person other than the Parties hereto and their respective heirs, representatives,
successors and permitted assigns any rights or remedies under or by reason of this Agreement. Except as
otherwise provided herein, all provisions of this Agreement shall be binding upon, inure to the benefit of,
and be enforceable by and against the respective heirs, representatives, successors and permitted assigns
of any of the Parties to this Agreement.

23.    Entire Agreement. This Agreement constitutes the entire agreement among or between the Parties,
and supersedes any prior understandings and agreements, whether written or oral, with respect to the
subject matter hereof.

24.     Representation. Each Party has been advised to obtain independent representation in connection
with this Agreement

25.   Counterparts. This Agreement may be executed in counterparts, all of which taken together shall
be deemed one original.

IF THE AGREEMENT CONTAINS ANY BLANK SPACES WHICH ARE NOT INDICATED TO BE
COMPLETED BY THE PARTIES, THIRD PARTIES OR NOTARY, TRANSFEROR IS ENTITLED TO A
COMPLETELY FILLED IN COPY BEFORE TRANSFEROR SIGNS THE AGREEMENT. TRANSFEROR
SHOULD OBTAIN THE ADVICE OF AN ATTORNEY. DEPENDING ON THE CIRCUMSTANCES,
TRANSFEROR MAY WANT TO CONSULT A TAX, PUBLIC OR PRIVATE BENEFIT PLANNING, OR
FINANCIAL  PROFESSIONAL.   TRANSFEROR   ACKNOWLEDGES    THE   TRANSFEREE   AND
ADMINISTRATOR HAAVE PROVIDED NO TAX, PUBLIC OR PRIVATE BENEFIT PLANNING, OR
FINANCIAL ADVICE REGARDING THIS TRANSACTION. TRANSFEROR HAS REVIEWED THE
AGREEMENT IN ITS ENTIRETY PRIOR TO SIGNING AND HEREBY ACKNOWLEDGES THAT
TRANSFEROR UNDERSTANDS THE TERMS OF THE AGREEMENT INCLUDING THAT THEAGREEMENT
CONTAINS ARBITRATION PROVISIONS WHICH MAY BE ENFORCED BY THE PARTIES.

                                 [SIGNATURES ON FOLLOWING PAGE]




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    Agreed and accepted on behalf                 TRANSFEROR

3                                                                        Date: 3    / Zj / 2 0 1 6
    Signature of Thomas V. Girardi; its Authorized Representative to sign on behalf of Girardi &
    Keese, a California General Partnership dba Girardi/Keese



    NOTARY
                o
> STATE.                                          COUNTY    [jtS

N On this 3 / ^ ^ day of /l/l& r&. {/-   . 2016, before me personally came, the persons, Thomas V. Girardi
  who signed the foregoing LAW FIRM LEGAL FUNDING, CONSENSUAL EQUITABLE LIEN, ASSIGNMENT AND
  SECURITY AGREEMENT known to me personally to be such, and acknowledged that the above is her act and
  deed and that the facts stated herein are true.



                       —'•—^——   / '/ -   J   ^        f < '•      My Commission Expires: ^                    ^   ^
    Notary Public



                                                                   < x S ^ v S H I R L E E N H. FUJIMOTO?
                                                                                        COMM. #2107442         S
                                                                                     NOTARY PUBLIC •CALIFORNIA 2
                                                                   f X & S Z j f y    LOS ANGELES COUNTY       "
                                                                   5                 Comm. Exp. MAY 15,2019    Y




    On behalf of TRANSFEREE


                                              Date: 04 / 01 /2016
      Signature of Jay Holland, Member and Authorized Representative of Stillwell Madison, LLC


    On behalf of ADMINISTRATOR


                                               Date: 04 / 01 /2016
    Signature of Alan Hald, Authorized Representative of DGMGT AZ, LLC




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          SCHEDULE A - FUNDING APPROVAL AND REPAYMENT SCHEDULE

TRANSFEREE has approved Legal Funding for TRANSFEROR in the estimated funding amount of
$5,110,440.38, as stated in Schedule C Client Funding Disclosure. Prior to funding, with disclosure to
TRANSFEREE, such funding amount and associated fees and payments may be adjusted or corrected by
TRANSFEROR. TRANSFEROR agrees to accept such funding as disclosed in Exhibit A-1 and related conditions
as discussed and disclosed in Exhibits A-2, A-3, A-4 and A-5 to Schedule A.

TRANSFEROR agrees that any and all TRANSFEREE Payments shall be made to TRANSFEREE, in
accordance with the Agreement including but not limited to:

          a. Having all Proceeds received into a controlled bank account which shall be the TRANSFEROR’s
             trust account separate from the attorney's own funds where such trust account is in
             conformance with the State Bar of California Rules of Professional Conduct Rule 4-100
             Preserving Identity of Funds and Property of a Client.

          b. In accordance with the Agreement, TRANSFEROR shall make Payments to TRANSFEREE from
             the TRANSFEROR’s trust account.

          c. With respect to each Legal Funding, unless TRANSFEREE Payments have satisfied the
             TRANSFEROR’s obligations to TRANSFEREE, TRANSFEREE shall be entitled to receive
             TRANSFEREE Payment which, upon receipt, such amount paid to the TRANSFEREE will be first
             applied in accordance with the Agreement to reduce the Premium owed until reduced to zero
             then the balance of TRANSFEREE Payment, if any, will be applied in accordance with the
             Agreement to reduce the Legal Funding until reduced to zero. TRANSFEROR may request in
             writing, after each such Payment, that ADMINISTRATOR prepare a new Schedule A showing
             the remaining total balance owed by TRANSFEROR to TRANSFEREE.

For the avoidance of doubt, TRANSFEREE Payments shall include but not be limited to, (i) all Legal Fees and
expense reimbursement due to TRANSFEROR in accordance with the Agreement (ii) all Payments due to
TRANSFEROR from co-counsel and any other fee sharing arrangements, plus (iii) all other Payments due to
TRANSFEROR where such payments are from co-counsel representing Clients or administrative Persons
facilitating Payments to Clients which are disclosed in Schedule B-1 List of Clients but where such Payments
are not allocated to specified Clients.

Provided TRANSFEROR is not in Default of the Agreement, TRANSFEROR, may deduct from TRANSFEREE
Payments, (i) TRANSFEROR’s third party payment obligations contracted by the TRANSFEROR in writing
which have been disclosed in writing to the TRANSFEREE prior to TRANSFEREE’s Agreement acceptance or
by written consent of TRANSFEREE after such Agreement acceptance; however (ii) if TRANSFEROR is in
Default of the Agreement, such that TRANSFEREE, at its sole discretion, does not provide a Default waiver
or a remedy in writing (which remedy is satisfied by TRANSAFEROR), then such deductions from
TRANSFEREE Payments are disallowed.

Exhibit A-1 discloses the total payment due at the end of the monthly periods including the repayment of
the Legal Funding and accrued investment charges in accordance with the Agreement.
Exhibit A-2 discussed Additional Fundings
Exhibit A-3 discloses the Monthly Maintenance Fee
Exhibit A-4 discusses the Disbursement of Funds
Exhibit A-5 discusses Assignment of Proceeds and Allocation of Payments Among Multiple TRANSFEROR
Legal Fundings

Valid Offers for Client Legal Funding: Any and all verbal, written or other communications with
TRANSFEROR or ADMINISTRATOR staff members are not valid Legal Funding offers; valid Legal Funding
offers are only made at the time lien documents are delivered to the TRANSFEROR. Future and additional

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     Legal Funding offers are always subject to the internal review by TRANSFEREE and ADMINISTRATOR and
     are not valid until lien documents are delivered to the TRANSFEROR. A valid Legal Funding offer is not a
     commitment to pay funds until such time that the lien documents are completely and properly executed,
     returned to ADMINISTRATOR and accepted by TRANSFEREE. Such acceptance will be deemed to have
     occurred upon the releasing of money by TRANSFEREE to the TRANSFEROR.

     This offer will be a valid offer until 5:00 pm MST on 0 4 - 1 0 - 2 0 1 6 and will be withdrawn thereafter.
     I f this above offer meets with your approval, sign and date below and FedEx this and all other
     executed documents back to us.



     Agreed and accepted on behalf of TRANSFEROR


=>
                                                                          Date:             2016
     Signature of Thomas V. Girardi; its Authorized Representative to sign on behalf of Girardi &
     Keese, a California General Partnership dba Girardi/Keese




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                                                Exhibit A - l
                            Premium Accrual and Legal Funding Payment Obligation
    T h e p e r m o n t h a c c r u e d i n v e s t m e n t p r e m i u m a m o u n t ( " P r e m i u m " ) is calculated a s t h e Legal Funding a m o u n t
    t i m e s t h e m o n t h l y Premium Rate t i m e s t h e n u m b e r of m o n t h s in t h e calculation period. T h e monthly
    P r e m i u m R a t e f o r t h e first six m o n t h p e r i o d s a f t e r f u n d i n g is 2 . 0 % ( 2 4 . 0 % a n n u a l i z e d P r e m i u m Rate) and
    c o n t i n u e s a t s u c h m o n t h l y Premium Rate until t h e TRANSFEROR'S obligations u n d e r t h e A g r e e m e n t a r e fully
    s a t i s f i e d . T h e following t a b l e provides an e s t i m a t e of t h e a m o u n t d u e including t h e Legal Funding r e p a y m e n t
    a n d c u m u l a t i v e i n v e s t m e n t c h a r g e s a t t h e e n d of e a c h m o n t h period o v e r t h e first 3 6 six m o n t h s a t t h e
    m o n t h l y P r e m i u m Rate. I n v e s t m e n t c h a r g e s will c o n t i n u e t o a c c r u e a f t e r 3 6 m o n t h s a n d a r e n o t s h o w n in
    t h e t a b l e . Actual a m o u n t s will vary f r o m below t a b l e b a s e d on actual a d v a n c e a m o u n t a n d total s e t t l e m e n t
    d a y s . T h e first m o n t h period begins a s of t h e i s s u e d a t e on t h e Legal Funding check or wire t r a n s f e r p a y a b l e
    t o t h e TRANSFEROR in a c c o r d a n c e with t h e A g r e e m e n t .

                                Month Period        1
                                                                 2.0%                  Month Period                  2.0%
                                      1 to 6               $5,723,693.22                       22                $7,359,034.14
                                          7                $5,825,902.03                       23                $7,461,242.95
                                          8                $5,928,110.84                       24                $7,563,451.76
                                          9                $6,030,319.64                       25                $7,665,660.56
                                         10                $6,132,528.45                       26                $7,767,869.37
                                         11                $6,234,737.26                       27                $7,870,078.18
                                         12                $6,336,946.07                       28                $7,972,286.99
                                         13                $6,439,154.87                       29                $8,074,495.79
                                         14                $6,541,363.68                       30                $8,176,704.60
                                         15                $6,643,572.49                       31                $8,278,913.41
                                         16                $6,745,781.30                       32                $8,381,122.22
                                         17                $6,847,990.10                       33                $8,483,331.02
                                         18                $6,950,198.91                       34                $8,585,539.83
                                         19                $7,052,407.72                       35                $8,687,748.64
                                         20                $7,154,616.53                       36                $8,789,957.45
                                         21                $7,256,825.33

    Agreed and accepted on b^l alf Of TRANSFEROR

3                                                                        Date:        / 7 /2016                                          5 /
    Signature of Thomas V. Girardi; its Authorized Representative to sign on behalf of Girardi &
    Keese, a California General Partnership dba Girardi/Keese




    •"•The term "month period" means from the start date to one day less than the start date of the following calendar month i.e. from 2-
    1 7 - 1 6 to 3 - 1 6 - 1 6 , with the next period beginning 3 - 1 7 - 1 6 . The usage of the term "month period" where X=the # of month periods
    and "date the Agreement" = 2 - 1 7 - 1 6 , in a phrase, "six month period after the date the Agreement" m e a n s a period starting 2 - 1 7 - 1 6
    and ending in the future sixth calendar month on 8 - 1 6 - 1 6 , with the next period beginning 8 - 1 7 - 1 6 .

    If payment is made before the end of a month period, the amount due is calculated as the total payments due in all prior month periods
    plus the payment due for the entire payment period in which the payment is made multiplied by the following ratio calculated as the
    number of days from and including the start date of month period in which the payment is made and ending on and including the
    payment date, divided by the total number of days in the month period in which the payment is made. For example, if PAYMENT is
    made 1 1 - 9 - 1 6 and the month period start date is 1 0 - 1 7 - 1 6 , the end date of the month period is 1 1 - 1 6 - 1 6 then the PAYMENT = total
    payments due in all prior month periods + payment due for the entire payment period in which the payment is made times (24 days
    divided by 31 days).


      Law Firm Legal Funding, C o n s e n s u a l Equitable Lien, A s s i g n m e n t And Security A g r e e m e n t P a g e 19 of 4 1
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                                               Exhibit A - 2
                                           Additional Fundings

    If TRANSFEROR requests an additional funding at a future date, consideration of such additional Legal
    Funding is at the sole discretion of the TRANSFEREE and ADMINISTRATOR. TRANSFEROR understands and
    agrees that this Agreement or any statements made by TRANSFEREE or ADMINISTRATOR shall not be
    interpreted as a commitment, promise or assurance to provide an additional Legal Funding. Such additional
    Legal Funding, if offered by TRANSFEREE and approved by ADMINISTRATOR may be offered as an
    amendment to the Agreement or as a separate consensual equitable lien, assignment, and security
    agreement with terms and conditions, including but not limited to Funding amount, Premium Rate and
    Monthly Maintenance Fee, different from the Agreement, which determinations are at the sole discretion of
    the TRANSFEREE and ADMINISTRATOR.

    TRANSFEROR agrees that, with completing of the current fundings, sufficient funding has been provided by
    the TRANSFEREE to TRANSFEROR and that the Assignment and related security interests shall not be
    released by the TRANSFEREE until such time that all amounts required to be paid to TRANSFEREE pursuant
    to the Agreement, have been paid in full.


    Agreed and accepted on behalf of TRANSFEROR



3                                                                        Date:             5
                                                                                    l3l /2016
    Signature of Thomas V. Girardi; its Authorized Representative to sign on behalf of Girardi &
    Keese, a California General Partnership dba Girardi/Keese




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                                                   Exhibit A - 3
                                       M o n t h l y Maintenance Fee

     The TRANSFEREE shall pay no Monthly Maintenance Fee to TRANSFEROR with respect to this first funding.

     Agreed and accepted on behalf of TRANSFEROR


=>
                                                                          Date: $ / 3 / / 2 0 1 6
     Signature of Thomas V. Girardi; its Authorized Representative to sign on behalf of Girardi &
     Keese, a California General Partnership dba Girardi/Keese




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                                                Exhibit A - 4
                                           Disbursement of Funds

    Provided the Agreement has been properly and completely executed by the TRANSFEROR, then
    TRANSFEREE shall consider, at its sole discretion, whether to accept the Agreement, and if so accepted and
    executed by TRANSFEREE the TRANSFEREE or ADMINISTRATOR shall issue checks or wire funds within 5
    business days thereafter to pay fees and/or payments being made on TRANSFEROR'S behalf at
    TRANSFEROR'S request and to pay the TRANSFEROR for the net cash balance of the funding amount after
    issuing such payments and fees as stated in Schedule C Client Funding Disclosure. Such fees and payments
    can be adjusted or corrected by TRANSFEREE or ADMINISTRATOR with disclosure to TRANSFEROR prior to
    funding. However, as required by Schedule titled Irrevocable Letters Of Instructions, unless TRANSFEREE
    at its sole discretion elects in writing to waive such requirement in part or in its entirety, TRANSFEREE shall
    not release any funding payments to TRANSFEROR until such time TRANSFEREE has received Irrevocable
    Letters of Instructions from all Partnering Firms signed by the persons with authority to acknowledge and
    accept such Instructions on behalf of such Partnering Firms.


    Agreed and accepted on behalf of TRANSFEROR



3                                                                        Date:      / 5V/2016    3

    Signature of Thomas V. Girardi; its Authorized Representative to sign on behalf of Girardi &
    Keese, a California General Partnership dba Girardi/Keese




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                                  E X H I B I T A-5
        MULTIPLE LEGAL FUNDINGS ASSIGNMENT OF PROCEEDS PORTFOLIO AND
                      ALLOCATION OF TRANSFEREE PAYMENTS

    TRANSFEROR understands and agrees that if TRANSFEROR requests and, at TRANSFEREE'S and
    ADMINISTRATOR sole discretion, is approved for additional Legal Fundings, the Client Portfolios from each
    and all such Legal Fundings will be combined and collectively (without duplication of Clients, except where
    duplicate Clients have different Cases or have same Cases with separately filed claims) do not have the
    same Cases) be assigned, transferred, and conveyed to TRANSFEREE including all of TRANSFEROR'S control,
    right, title and interest in and to any and all obligations now existing or in the future including future Proceeds
    and Payment Intangibles of TRANSFEROR resulting from the Client Portfolio or Proceedings.

    TRANSFEROR understands and agrees when the TRANSFEROR receives Proceeds from one or more Legal
    Fundings, which may be at multiple times from any of a number of sources, including but not limited to co-
    counsel, defendants, claims, lawsuits, or insurers, and then TRANSFEROR shall insure:

       a. TRANSFEREE receives TRANFEREE Payments from each and all Legal Fundings' Client Portfolios
          Proceeds until all TRANSFEREE Legal Fundings and associated Premium due in accordance with each
          and all such Legal Funding Agreements are paid in full and the TRANSFEREE'S obligations for all
          Agreements are fully satisfied.

        b. All TRANSFEREE Payments from Proceeds received by TRANSFEREE will be first allocated to payment
           of the Legal Funding with the lowest Premium Rate, irrespective of the Legal Funding agreement
           effective date, until such Legal Funding is paid in full;

       c. Thereafter any remaining TRANSFEREE Payments shall then be allocated to each subsequent unpaid
          Legal Funding with the lowest Premium Rate, irrespective of the Legal Funding agreement effective
          date, until all Legal Funding are paid in full and the TRANSFEREE'S obligations from all Agreements
          are fully satisfied, after which TRANSFEROR is released from any further payment obligations.

    TRANSFEROR understands and agrees to pay when due multiple Monthly Maintenance Fees from multiple
    Legal Fundings. If requested by TRANSFEROR, TRANSFEREE will recalculate and make payment adjustments
    to allow all multiple Monthly Maintenance Fees to be combined into a single Monthly Maintenance Fee
    payment due on the same numerical dates in successive calendar months.


    Agreed and accepted on behalf of TRANSFEROR



3                                                                        Date: jL/J^_/2016
    Signature of Thomas V. Girardi; its Authorized Representative to sign on behalf of Girardi &
    Keese, a California General Partnership dba Girardi/Keese




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                                    SCHEDULE B
                   TRANSFEROR LIST OF CLIENTS AND ENCUMBRANCES

The Clients Cases collectively defined as the Client Portfolio are specified and incorporated into the
Agreement as Exhibit B-1 List of Clients. The TRANSFEROR confirms that Exhibit B-2 Liens or Other
Encumbrances on Payments Due to Transferor list all encumbrances on payments that are or may become
due to TRANSFEROR under the Agreement.

TRANSFEROR agrees that any Clients which according to the Agreement should have been included in Exhibit
B-1 List of Clients as of the Effective Date but omitted or otherwise not included from such List and are to
be later added to such List, including but not limited to Clients replaced in accordance with the Agreement,
are to be considered incorporated into the Exhibit B-1 List of Clients whether or not such Clients are in a
current update of such List. From time-to-time, when requested by TRANSFEREE, the TRANSFEROR shall
update Exhibit B-1 List of Clients with Clients not entered or otherwise modified from such prior List.

Exhibit B-1 List of Clients, if not included within the Agreement, may be prepared as a separate
document with the title: “Exhibit B-1 List of Clients” and is incorporated as part of the Agreement.

The TRANSFEROR agrees that the broadest and most inclusive interpretation of the TRANSFEROR’s provided
Client designations shall apply to the extent there is a dispute over the interpretation of such designations,
including, but not limited to, Client Identification Code (“ID Code”) Client Last Names with different
forenames, spellings or changed names; Clients having multiple Sub-Category designations whether they
are MDL’s or other unnamed litigation categories; incorrect retainer dates or multiple retainers agreements;
and incorrect or multiple ID Codes. TRANSFEROR confirms that Client ID Codes have been applied
consistently to all documentation made available by TRANSFEROR to ADMINISTRATOR such that each Client
ID Code only refers to the same specific Client.

TRANSFEROR represents, in addition to other TRANSFEROR’s representations:

          a. The TRANSFEROR has executed agreements to represent each of the Clients and their Cases,
             as referenced by a unique ID Code assigned by TRANSFEROR.

          b. Each Client listed in the Client Portfolio has contractually agreed to pay, upon resolution of
             such Client Case, the percentage contingency fees (% Fee) as stated in the Exhibit B-1 List
             of Clients plus reimbursed expenses.

           c. No Client has asked for or taken actions that could lead to TRANSFEROR’s removal as the
              counsel for such Client or to the dismissal of the Client Case.

           d. There are no other co-counsel fees or fees from other arrangements due other than the co-
              counsel fees disclosed in Exhibit B-1 List of Clients.

           e. The TRANSFEROR shall pay TRANSFEREE Payments to TRANSFEREE, in accordance with the
              Agreement, from the Legal Fees due to TRANSFEROR from the Proceeds of resolved Exhibit
              B-1 List of Clients and;

           f.   TRANSFEROR confirms information provided by TRANSFEROR in Exhibit B-1 List of Clients is
                correct, factual and consistent with the TRANSFEROR’s records, that TRANSFEROR shall notify
                ADMINISTRATOR; provide ADMINISTRATOR a corrected version of or corrections to the
                current Exhibit B-1 List of Clients within five business days after TRANSFEROR has identified
                any such inconsistencies or errors; and such inconsistencies or errors if deemed not material
                by the TRANSFEREE shall not be consider an Agreement Default if corrected as stated.



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              g. With respect to encumbrances of Proceeds or other TRANSFEROR assets, TRANSFEROR has
                 (i) verified all encumbrances listed in Exhibit B-2 and corrected errors; (ii) listed all other
                 existing Liens and Loans, including cash advances or loans by another company and any other
                 encumbrances; (iii) listed any other anticipated or future encumbrances, including but not
                 limited to statutory and any other consensual written liens, assignments or other
                 encumbrances to be perfected on or after the date of this Agreement.




     Agreed and accepted on behalf of TRANSFEROR


=>
                                 ,                                        Date:  3 / 3 f /2016
     Signature of Thomas V. Girardi; its Authorized Representative to sign on behalf of Girardi &
     Keese, a California General Partnership dba Girardi/Keese




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                                         E X H I B I T B - l LIST OF CLIENTS

     The Cases and Clients collectively defined as the Portfolio of Clients are specified and incorporated into the
     Agreement as Exhibit B - l Lists of Cases. Proceeds from Clients listed in Exhibit B - l List of Clients are secured
     in accordance with the Agreement. Such Cases and Clients have been provided by TRANSFEROR and are
     included in the Portfolio of Clients as follows:

        1. All Shell v Acosta mass tort action case clients $45,500,000 in estimated TRANSFEROR proceeds
           approximate 1,491 individual Plaintiffs. (Dole Food Co. Inc. et al. v. Superior Court of Los Angeles
           County, case number B262044, in the California Court of Appeals, Second Appellate District: and
           Adelino Acosta et al v. Shell Oil Company, et al L.A. Superior Ct. No.053643; and City of Carson v.
           Shell Oil Company et al, L.A. Super. Ct. No. BC499369 and related cases). Defendants include the
           Shell Oil, Equiline Enterprises LLC dba Shell Oil Products US and Barclay-Hollander-Curci, now a Dole
           subsidiary.
               a. As appended to Schedule B, Exhibit B - l , the Adelino Acosta, et al, vs Shell Oil Company, et
                  al and related cases; the State of California, ex rel City of Carson v Shell Oil Company et al;
                  and Shell Oil Company v Barclay Hollander Corporation Settlement Agreement (the "Shell Oil
                  Cases") and TRANSFEROR'S list of 1491 clients.
               b. As appended to this Schedule B, Exhibit B - l , a list of $9,562,560.78 Shell Oil Case expense
                  reimbursements due TRANSFEROR from future Case settlement payments ($6,600,466.54
                  itemized by TRANSFEROR expense categories plus $2,962,094.24 Kurtzman Carson
                  Consultants LLC invoice)
        2. Barclay Hollander case clients estimated legal fees of $12,000,000 and cost reimbursements of
           $3,000,000; related to Shell Oil settlement.
        3. All Avandia case clients - $17,514,518 in Cash proceeds. Named defendant is Smith Kline Beecham
           Corp., d.b.a. GlaxoSmithKline (GSK). Final SETTLEMENT payment stages with TRANSFEROR
           proceeds available in near future from cash placed in escrow by defendant.
        4. All TXI Riverside Cement with estimated $12,000,000 in legal fees ($6,000,000 to TRANSFEROR)
           and TRANSFEROR cost reimbursements of $2,051,716; settled with defendants Riverside Cement
           Company, TXI Riverside, Inc., TXI California, Inc., Riverside Cement Holdings Company, Beazer
           West, Inc., Beazer West of California, Inc., Beazer West Cement Company, Hanson Aggregates West,
           Inc., Amcord, Inc. Gifford-Hill & Co., Inc. and Hanson Pipe & Precast, Inc.
        5. All Byetta case clients estimated $6,000,000 in legal fees and $710,550 in cost reimbursements;
           Defendants include Merc, Brystal Myers Squib, Eli Lilly & Co., Amylin Pharmaceuticals, and Novo
           Norrdisk A/S with California case filed in Los Angeles in regard to the various lawsuits in California.
        6. All Zometa case clients estimated $5,000,000 in legal fees and $5,387,512 in cost reimbursements.
           The named defendant is Novartis Pharmaceutical Corporation.
        7. All Actos case clients estimated $5,000,000 in legal fees and costs. Defendants include Takeda
           Pharmaceuticals America Inc., Takeda Pharmaceuticals North America Inc., Takeda Pharmaceutical
           Company Limited and Eli Lilly and Company.

     The TRANSFEROR shall provide, upon ADMINISTRATOR'S request, the Case type, Client File No. ( I D # ) ,
     Client retainer fee %, co-counsel and co-counsel % fee sharing for the Portfolio of Cases to TRANSFEREE in
     an acceptable electronic format (preferably Microsoft Excel spreadsheet) to include to be organized by
     ADMINISTRATOR into Exhibit B - l Lists of Clients.

     Agreed and accepted on behalf of TRANSFEROR


=>
                                                                          Date: 3 / 3/ /2016
     Signature of Thomas V. Girardi; its Authorized Representative to sign on behalf of Girardi &
     Keese, a California General Partnership dba Girardi/Keese


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     As appended to this Schedule B, Exhibit B-1, the Adelino Acosta, et al, vs
      Shell Oil Company, et al and related cases; the State of California, ex rel
'.   City of Carson v Shell Oil Company et al; and Shell Oil Company v Barclay
          Hollander Corporation Settlement Agreement (Shell Oil Cases) and
                         TRANSFEROR's list of 1491 clients




                                      SETTLEMENT AGREEMENT
             . This Settlement Agreement (the "Agreement") is entered into as ofNovember 10, 2014
      (the "Effective Date") between (i) Shell Oil Company and Equilon Enterprises LLC
      (collectively, "Shell"), and (ii) the law firm of Girardi Keese on behalfofall Plaintiffs (as
      defined in Section 1 below). Shell and Girardi Keese, on behalf of all Plaintiffs, are referred to
      herein collectively as the ''Parties" and individually as a ":Party."


                                           1.      DEFINITIONS
               1.1.    The term "Action(s)" shall refer to (i) the lead case captioned Adeltna Acosta, et
      al. v. Shell Oil Company, et al., Los Angeles Superior Court ("LASC") Case No. NC053643, and
      all related actions, including LASC Case Nos. NC053684, NC053766, BC433429, BC433430,
      BC433656, BC433657, BC454472 and BC520744; and (ii) the related action captioned The
      People of the State of California, ex rel. City ofCarson v. Shell Oil Company, et al., LASC Case
      No. BC499369. The term "Actions" does not encompass the related action captioned Shell Oil
      Company v. Barclay Hollander Corporation, et al., LASC Case No. BC544786.

             1.2. The term "Carousel Tract'' shall mean the tract ofland located in the City of
      Carson between Panama Street to the east, Marbella Street to the west, Lomita Street to the south
      and 244th Street to the north, containing 285 single-family homes commonly referred to as the
      "Carousel neighborhood tract" and formerly known as the "Kast property."

              1.3.    The term "Claim(s)" shall mean any and all claims of injury, Joss or damage of
      whatsoever nature a Plaintiff bas or may acquire against Shel.I arising from, related to or in any
      way pertaining to the events described in the Actions, or that have been or could have been
      asserted in the Action(s), whether presently known or unknown, developed or undeveloped,
      discovered or undiscovered, foreseen or unforeseen, matured or unmatured, accrued or not
      accrued, or now recognized by law or that may be created or recognized in the future by statute,
      regulation, rule, judicial decision or in any other manner.

                      The term "Claim(sy> shall also encompass any and all claims of whatsoever
      nature, whether presently known or unknown, developed or undeveloped, discovered or
      undiscovered, foreseen or unforeseen, matured or unmatured, accrued or not accrued, or now
      recognized oy law or that may be created or recognized in the future by statute regulation, rule,
      judicial decision or in any other manner, a Plaintiff has or may acquire against Shell arisfog
      from, related to or in any pertaining to the.selection and implementation of work directed by the
      Los Angeles Regional Water Quality Control Board ("Water Board") pursuant to the Cleanup
      and Abatement Order No. R4-2011-0046 ("CAO") and all related orders or directives of the
      Water Board.

             1.4.    The term "Effective Date" for this Agreement means November 10, 2014.

             1.5.   The term "Individual Release'' shall mean the separate "Release of All Claims of
      Individual Releasor" and accompanying "Medicare Information Declaration" and, where
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      applicable, the "Covenant and Agreement for Access" in the forms shown in Attachment A and
      Exhibits I and 2 thereto, to be signed by each settling Plaintiff.

               L6.     The terms "Plaintiff' and "Plaintiffs" shall mean all individual clients
      represented by Girardi Keese, solely or in association with other counsel, who are named
      plaintiffs in the Actions as listed on Attachment B, hereto, including those who allegedly reside
      or resided in, or otherwise spent time in or around, the Carousel Tract and/or in adjacent
      neighborhoods in Carson, California, including, without limitation, the Monterey Pines and
      Island Avenue neighborhoods.

             1. 7. The term "Released Claims" shall mean all Claims, including as set forth ln the
      Individual Release, of all Plaintiffs.

             1.8. The terrri "Releasors" shall mean all Plaintiffs who sign a "Release of All Claims
      of Claims ofindividual Releasor," in the form shown in Attachment A hereto.

             1.9.    The term "Settlement Funds" shall mean the aggregate amount specified in
      Section 3, below.

             LIO. The term "Settling Minors' Compromises" shall mean the settlements of all
      minor Releasors.

                                             2.      RECITALS

             2.1.    Shell has·denied and continues to deny any liability, wrongdoing or responsibility
      for any Claim(s). In deciding to enter into this Agreement, Plaintiffs and She11 have considered
      the uncertainties, delays, expenses and exigencies of the litigation process, including trials and
      appeals, and have concluded that settlement is preferred to continuing to litigate these disputed
      Claim(s) by and between them.

              2.2. Girardi Keese has evaluated individually the Clalm(s) of each Plaintiff from a
      settlement perspective, considering the nature and extent of each Plaintiff's alleged injury,
      damages and losses, and the alleged liability of Shell. Girardi Keese represents and warrants that
      it has authority to fully settle and dismiss with prejudice all Claims on behalf of all Plaintiffs.

              ·2.3. The Parties desire to fully settle and resolve a11 disputes between Plaintiffs and
      Shell, including those asserted in, or related directly or indirectly to, the Actions.

              2.4. Shell, Girardi Keese and Plaintiffs intend that the payment made by Shell
      pursuant to the terms and conditions of this Agreement and the Individual Releases will fully and
      completely settle any and all Plaintiffs' Claims against Shell including, without limitation, any
      liens, subrogated interests or other encumbrances of any third parties, including, but not limited
      to, government entities, health care providers, . lien holders, insurance carriers, health
      maintenance organizations, and Plaintiffs' counsel, including associated or prior counsel.




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         2.5. Nothing in this Agreement shall preclude, alter or affect Plaintiffs' rights relative
to, or their legal actions against, other parties to the Actions, or relative to other persons or
entities, including, but not limited to, non-settling defendants in the Actions. All such rights and
actions are folly preserved.

         2.6. Nothing in this Agreement shall alter or affect Shell Oil Company's rights relative
to, or its legal actions against other persons or entities, including, but not limited to, non-settling
defendants in the Actions and in the related action for indemnity and other relief captioned Shell
Oil Company v. Barclay Hollander Corporation, et al., LASC Case No. BC544786.

                                3.       SETTLEMENT TERMS

        3.1. List of PlaintifiS. Prior to the execution hereof, Girardi Keese has p1·ovided to
Shell a list of all Plaintiffs. .This list is attached to and incorporated in the Agreement as.
Attachment B. Girardi Keese represents and warrants that the Plaintiffs identified on Attachment
Bare all of the individuals represented by Girardi Keese, solely or in association now or in the
past with other counsel, with respect to any existing and/or potential Claim(s) against Shell.
Girardi Keese is not aware of any other individuals who are not represented by Girardi Keese (or
in association with, Girardi Keese) who are asserting Claim(s), or currently possess Claim(s)
which they have not asserted, against Shell. Girardi Keese also represents and warrants that it
has authority as counsel of record to negotiate and enter this Agreement on behalf of all
Plaintiffs.

       3.2. Full and Final Settlement. In exchange for the good and valuable consideration
and terms set forth in this Agreement, Shell agrees to pay a total sutn of ninety million dollars
($90,000,000.00) in full and final settlement of all Claims of all Plaintiffs in the Actions. The
Settlement Funds will be distributed in accordance with Section 3.5 herein.

        3.3.     Allocation of Settlement Funds. Girardi Keese shall be solely responsible for
determining the process by which the Settlement Funds are allocated between and among all
Plaintiffi; identified in Attachment B. Girardi Keese has requested, and the Court has approved,
the appointment of Justice Edward A. Panelli (Ret.) as Special Master for purposes of the
settlement allocation process. Shell has not had, nor will have, any involvement in, or liability
related to, that allocation process. Girardi Keese and/or the Special Master shall promptly
provide Shell with the allocation determinations upon their completion.

        3.4. Executfon of Individual Releases. Girardi Keese shall obtain from each Plaintiff
identified in Attachment B a full and complete, signed Individual Release (including the
Medicare Information Declaration) in the form attached as Attachment A (and Exhibits I and 2
thereto) to this Agreement.                                                                ·

        3.5. Transmission of Settlement Funds. Shell shall deliver 90% of the Settlement
Funds to the Girardi Keese client trust account, Account No. 4110425859, at Torrey Pines Bank
located at 60i W. 5th Street, Suite 100, Los Angeles, California 90071 (with wiring instructions
having been provided) within ten (10) business days after the following conditions are satisfied:
(i) Girardi Keese delivers to Shell's counsel foll and complete, signed Individual Releases from


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     90% or more of the Plaintiffs identified in Attachment B; (ii) a final order has been issued
     approving all Settling Minors, Compromises; (iii) a final order has been issued determining this
     settlement to be in good faith; (iv} Girardi Keese satisfies any and all applicable reporting
     requirements under the Medicare Secondary Payer Act of 1980 ("MSP") and Section 111 of the
     Medicare, Medicaid, and SCHIP Extension Act of2007 ("MMSEA"); and (v) Girardi Keese has
     filed with the Court executed requests for dismissal with prejudice of all Actions in their entirety
     against Shell, with the Parties to each bear their own fees and costs. The Parties shall utilize best
     efforts to satisfy these. conditions within thirty (3~) days of the Effective Date.

                      It shall thereafter remain the ongoing obligation of Girardi Keese to secure full
     and complete, signed Individual Releases for all of the remaining Plaintiffs. Shell shall deliver
     to the Girari.li Keese Client Trust Account, Account No. 4110425859, at Torrey Pines B'ank
     located at 601 W. 5th Street, Suite 100, Los Angeles, California 90071, the remaining 10% of the
     Settlement Funds within ten (10) business days after Girardi Keese delivers to Shell full and
     complete, signed Individual Releases for at least one half of the remaining Plaintiffs (which
     equates to an additional 5% of the total Plaintiffs who are the subject of this Settlement).

                    It shall continue to remain the obligation of Girardi Keese to secure full and
     complete, signed Individual Releases for all of the remaining Plaintiffs. To the extent Girardi
     Keese is unable, despite its best effmts, to deliver a full and complete, signed Individual Release
     on behalf of one or more of the remaining Plaintiffs within ninety (90) days of the Effective
     Date, Girardi Keese shall provide a description of its efforts to the Special Master. for
     consideration and follow up as may be appropriate. The portion of the Remaining Funds
     allocated to one or more Plaintiffs who fail to return their full and complete, signed Individual
     Release sh~Il be held by Girardi Keese in its client trust account pending receipt of the full and
     complete, signed Individual Release from said Plaintiff(s). Girardi Keese and Thomas V. Girardi
     in his personal capacity shall defend, indemnify and hold Shell harmless against any claim(s)
     that may be asserted by any Plaintiff who has not returned his or her full and complete, signed
     Individual Release after the Actions are dismissed with prejudice.

             3.6.    Cooperation in Water Board Proceedings. Plaintiffs;· Girardi Keese, and their
     authorized representatives and/or retained consultants agree to cooperate in good faith in the
     ongoing regulatory proceedings overseen by the Water Board. Plaintiffs, Girardi Keese, and
     their authorized representatives and/or retained consultants shall not interfere with, or in anyway
     attempt to adversely influence, (i) the ongoing approval process for the revised Remedial Action
     Plan, Human Health Risk Assessment, and Feasibility Study (collectively, the "RAP"), (ii) the
     California Envil'onmental Quality Act (CEQA) process to evaluate the potential environmental
     and other impacts of the RAP, and/or (iii) the implementation of the RAP once approved.
     Plaintiffs agree to waive and release any rights to challenge any decision of the Water Board in
     evaluating and approving the· RAP· for the Carousel Tract, including, but not limited to, any
     rights to challenge the Environmental Impact Report (EIR) under CEQA. Plaintiffs, Girardi
     Keese, and their authorized representatives and/or retained consultants agree to refrain from
     providing written or oral comments regarding the RAP, the BIR, and/or any plans or reports
     implementing the RAP; this does not, howevel', preclude individual Plaintiffs themselves from
     participating in good faith in the ongoing regulatory proceedings overseen by the Water Board.



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                  This Agreement shall not affect or impact ruiy Plaintiff's eligibility for relocation
  benefits as set forth in the RAP's Relocation Plan, pending approval of the RAP.

                Plaintiffs acknowledge and understand that this Agreement fully and fairly
 addresses and compensates them for any and all claims against Shell for <j,lleged nuisance,
 inconvenience, noise, dust, interference and/or any other RAP-1·eiated impacts created by the
 alleged contamination of the Carousel Tract and implementation of the RAP in the Carousel
 Tract and surrou11ding areas.

          3.7.    Access for Investigation and RAP Implementation. As a condition of this
  Agreement, all Plaintiffs shall provide Shell and its contractors and subcontractors with full
  access to their properties in the Carousel neighborhood, the Monterey Pines neighborhood, the
  Island Avenue neighborhood. (and any other properties in the area as needed), for purposes of
  conducting any and all work, including sampling activities and any and all other work, directed
  by the Water Board or successor agencies pursuant to the CAO· and · all related orders or
 ·directives of the Water Board or successor agencies. Shell's work on the Carousel pi·oject shall
  continue to be done only in accordance with Water Board-approved work plans. Such access
  shall run with the land and be recorded and binding on future owners.

                As a condition of this Agreement, all Plaintiffs shall provide Shell and its
 contractors and subcontractors with full access to their properties in .the Carousel neighborhood,
 the Monterey Pines neighborhood, the Island Avenue neighborhood (and any other properties in
 the area as needed), for purposes of implementing the RAP, upon its approval by the Water
 Board. Shell's work on the Carousel project to implement the RAP shall be done only in
 accordance with Water Board-approved work plans and/or remedial design and implementation
 plans. Such access shall run with the land and be recorded and binding on future owners.

         3.&. Removal of Signage. Within ten (10) days of the Effective Date, Plaintiffs shall
 remove any and all signs posted or otherwise displayed on their properties in the Carousel Tract,
 including, but not limited to, in yards and common areas, that refer to, reflect upon or relate to
 Shell or any Shell-related entities.

        3.9.     Cooperation in Reporting to CMS. Girardi Keese and Plaintiffs acknowledge
 that under the Medicare Secondary Payer Act of 1980 ("MSP") and Section lll of the Medicare,
 Medicaid, and SCHIP Extension Act of 2007 ("MMSEA"), Shell may be required to report to
 the Centers for Medicare & Medicaid Services ("CMS") certain settlements entei:ed into with
 Medicare beneficiaries. CMS may seek reimbursement for those portions of a settlement that are
 duplicative of certain amounts already paid through Medicare.                           ·

                  Girardi Keese and Plaintiffs agree to cooperate with Shell to determine whether
· any given Plaintiffs Claims are such that Shell must report to CMS any settlement reached with
  that Plaintiff. All Releasors shall complete and sign .the Medicare Information Declaration
  attached as Exhibit 1 to their Individual Releases, to assist Shell in initially detennining whether
  their Claims require reporting. Girardi Keese agrees to use its best eff01ts to obtain from
  Releasors all Medicare Information Declarations to determine whether each Releasor's Claims
  are such that settlement thereof must be reported to CMS.

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             3.10. Liens. Girardi Keese and Plaintiffs shall be solely responsible for liens,
      subrogation interests, or other encumbrances arising from or related to any of their Claims.

                     Girardi Keese and Plaintiffs further agree to satisfy, pursuant to and consistent
      with the MSP and MMSEA, any and all known medical liens and/or claims arising from medical
      expenses, including liens by any health care provider, Medicare, Medicaid, or any other third
      party incurred as a result of the incidents that form the basis of the Action(s), prior to or
      concun:ently with the distribution of any Settlement Funds to Plaintiffs. Girardi Keese and
      Plaintiffs speCifically agree that if Medicare is entitled to any portion of a given Plaintiffs
      settlement distribution, Medicare will be paid its pmtion prior to or concurrently with any
      payment to that Plaintiff. Girard Keese also agrees that it will provide Shell with documentation
      indicating that any and all liens that Medicare may have against the Settlement Fund or any
      individual Plaintiff's settlement have been p&id, preferably in the form of communications from
      Medicare acknowledging payment in satisfaction of its final demands.

               3.11. Indemnification. Girardi Keese and Mr, Thomas V. Girardi, in his personal
       capacity, agree and covenant to release, indemnify, defend and hold harmless Shell from any
       liens or claims (including subrogation claims), including any-fines or penalties, that may arise or
       have arisen in favor of any financial institution, health care provider, doctor, hospital, health
       insurer, HMO, Medicare, Medicaid or other insurer, or any third party, by operation of law or
       equity for medical expenses, disability ben,e~ts, or any other charges or expenses directly or
       indirectly related to the incidents that form the basis of the Action(s). Plaintiffs also waive any
       private causes of action they may have now or in the future under 42 U.S.C. § l395y(b)(3)(A), in
     · connection with any Medicare liens that may exist now or in the future against this settlement.     ·

                       Girardi Keese and Thomas V. Girardi, in his personal capacity, agree to release,
      indemnify, and hold harmless Shell from any liens or claims (including subrogation claims),
      including any fines or penalties, that may arise or have arisen in favor of Medicare, MediCal, or
      any other health care provider by operation of law or equity for medical expenses, disability
      benefits, or any other charges or expenses di~ectly or indirectly related to the incidents that form
      the basis of the Action(s). The Parties understand that a portion of the individual settlement
      payment to each Plaintiff will be set aside by Girardi Keese, under the supervision of the Special
      Master, for the purpose of satisfying any such liens or claims. If the amounts set aside for this
      purpose are inadequate to resolve any such liens or claims, responsibility for such liens or claims
      will lie solely with Gi~ardi Keese and Thomas V. Girardi, in his personal capacity,

              3.12. Determination of Good Faith Settlement. This settlement is conditioned upon a
      detet·mination by the Los Angeles Superior Cou1t that this settlement was entered into in good
      faith within the meaning of California Code of Civil Procedure Section 877.6. The Parties agree
      to fully cooperate in the prosecution of such motion, including, but not limited to, by filing
      declaration(s) in support of this motion, and appearing at any hearing on this motion.

             3.13. Settlement Agreement and Mutual Release with tile City of Carson. This
      settlement is further conditioned upon (i) the dismissal with prejudice of the related action
      captioned The People of the State of CalifOrnia, ex rel. City of Carson v. Shell Oil Company, et


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     al., LASC Case No, BC499369 as stated in Section 3,5, above; and (ii) the execution of the
     Settlement Agreement and Mutual Release by and between Shell and the City of Carson on its
     own behalf and on behalf of the People of   the
                                               State of California, ex rel. City of Garson.

           3.14.· Individual Releases of Minors. Upon execution of this Agreement, Girardi
     Keese shall promptly prepare, submit, resolve and obtain court approval of Settling Minors'
     Compromises.                                                     ·

             3.15. Accord and Satisfaction. The sums paid to Releasors from the Settlement Funds
     shall represent a complete accord and satisfaction of all Claims of the Releasors.

             3.16. Effect of California Civil Code Section 1542. Girardi Keese acknowledges that
     it will advise Plaintiffs of the terms and effect of California Civil Code Section 1542, which
     provides as follows:

                    A GENERAL RELEASE DOES NOT EXTEND TO CLAIMS
                    WHTCH THE CREDITOR DOES NOT KNOW OR SUSPECT
                    TO EXIST IN HIS OR HER FAVOR AT THE TIME OF
                    EXECUTING THE RELEASE, WHICH IF KNOWN BY HIM
                    OR HER MUST HAVE MATERIALLY AFFECTED HIS OR
                    HER SETTLEMENT WITH THE DEBTOR.
                     The releases to be signed by settling Plaintiffs shall include an affirmation by the
     settling Plaintiffs that they are aware of said Code section and expressly waive any rights that
     they may have thereunder, as well as under any similar provisions of the laws of any other
     jurisdiction.

              3.17. Responsibilities of Plaintiffs' Counsel. Girardi Keese represents and warrants
     that it will explain or cause to be explained to each Plaintiff the provisions and legal effect of the
     Agreement and, to all Plaintiffs identified in Attachtnent B, the provisions of the Individual
     Releases, in the form of Attachment A, prior to such Releasors' execution of their Individual
     Releases.                   ·

             3.18. Enforcement of Agreement. If any Party hereto should institute any action at
     Jaw or in equity to enforce the terms ofthis Agreement, or to seekselieffqr a breach thereof. the
     prevailing party shafl be entitled to an award ofreasonable attorney's fees and costs. The Parties.
     agree that the Los Angeles Superior Court shall be the only court which may take personal
     and/or subject-matter jurisdiction over any sucli action at law or in equity.

                                     4.      ADDlTWNAL TERMS

             4.1.   No Admission of Liability. This Agreement is entered into solely by way of
     compromise and settlement. Neither this Agreement nor any exhibit. document, or instniment
     delivered hereunder, nor any statement, transaction, or proceeding in connection with the
     negotiation, execution or implementation of this Agreement, is ihtended to be or shall be
     construed as evide11ce of an admission or concession by Shell of any fault, liability, or


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wrongdoing, or of the truth of any allegations asserted by. any Plaintiff against Shell in the
Actions.

      · 4.2. Entfre Agreement and Construction. This Agreement and the Individual
Rel~ase   from each settling Releasor constitute the entire agreement between the Parties and
supersede all other prior or contemporaneous agreements and understandings between the
Parties, whether written or oral. This Agreement and any Individual Release may be amended or
modified only by a written instrument executed by the parties to be bound thereby. The Parties
understand and agree that each and every term and condition of thls Agreement has been
mutually negotiated, prepared and drafted, and lf at any time the Parties desire or are required to
interpret or construe any such term or condition or any agreement or instrument subject thereto,
no consideration shall be given to the issue of which Patty actually prepared, drafted or requested
any term or condition.

        4.3.     Confidentiality. The Parties hereby agree to hold in strict confidence the terms
ofthis Agreement and the Individual-Releases, including the· amount of the Settlement Funds, the
amount paid to each individual Plaintiff and all of the negotiations culminating in the Agreement
(collectively, "Confidential Material"), and agree not to disclose such Confidential Material to
any other person or entity other than to their financial and/or tax advisors and for Medicare
repmting purposes, except (i) upon the Parties' prior written consent; or (ii) in response to a
judicial orde!'. In the event that any person or entity, including, but not limited to, a judicial or
other governmental forum, makes a request to receive Confidential Material ot• invokes a process
to obtain Confidential Material, the Parties agree to cooperate in preventing such disclosure and
to provide prompt written notice of such fact to each other within five (5) business days after
receiving the request to provide an opportunity to contest such request

        4.4. Notification of Disclosure of Confidential Materfa.L If it is necessary to
disclose Confidential Material to obtain a court order finding that the Agreement was entered
into in good faith, or approving any minor Plaintiffs' settlements, the Parties shall seek to file the
Confidential Material under seal. If the relevant court will not allow filing under seal, then the
Parties shall follow such procedures with respect to the Confidential Material as they may obtain
from such court, including, without limitation, the exclusion from any record of proceedings of
the amount of the Settlement Funds or the amount thereof to be distributed to any Plaintiff (if
such procedure is permitted by such cou1t).

        4.5. No Disclosure or Publication of Conildential Material. Except as expressly
provided above, none of the Parties, their counsel or their representatives shall in any way
disclose or publicize the Confidential Material, or cause the Confidential Material to be disclosed
or publicized to any third person, entity or organization including, but not limited to, any' federal,
state or local government agencies or officials, to cominunity or neighborhood residents, in
community or neighborhood meetings, or in any news or communications medium including, but
not limited to, newspapers, magazines, pamphlets, brochures, journals, recordings, radio, video,
television, e-mail, text messages, websites, the Internet or any legal publication, bar journal or
any publication of any kind whatsoever. Except as expressly provided above, the Parties and
their representatives agree that their comments on the ·Confidential Material, including the
Agreement and the Individual Releases, will be restricted exclusively to the following: (i) a

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      settlement has been entered into by the Parties; (ii) the settlement was mutually agreed upon by
      the Parties; (iii) the settlement was found satisfactory by the Parties; (iv) the identity and number
      of Plaintiffs; (v) the identity of Shell; and (vi) that the settlement resolves all issues between the
      Parties in the Actions. All other comments and disclosures on any aspect of the Confidential
      Material, including the Agreement and the Individual ·Releases, shall be made only after
      consultation with and prior written approval by the Parties.

                   Nothing in this Agreement shall alter or affect Shell's ability to disclose or
     otherwise introduce any Confidential Materia~ under seal and/or subject to an appropriate
     protective order. or other protections as needed, in related judicial proceedings, including,
     without limitation, in the related action for indemnity and other relief captioned Shell Oil
     Company v. Barclay Hollander Corporatiqn, et al., LASC Case No. BC544786.

             4.6. Remedies for Release of Confidential Material. Should any Party or its
     authorized representatives release any Confidential Material, such person acknowledges that
     damages alone will not provide an adequate remedy and, therefore, agrees that the other Part(ies)
     in addition to seeking damages, may move for a preliminary and permanent injunction against
     the breaching person or persons, together or individually, prohibiting any further violation of the
     terms and conditions of this Agree1nent. If any Party brings an action alleging breach of the
     confidentiality requirements of this Agreement, then the prevailing Party in that action shall be
     entitled to recover reasonable attorney's fees and related expenses incurred with respect to such
     action.

                4.7.   Notice by Parties. All notices and other communications under this Agreement
     . shall be in writing and shall be deemed to have been duly given as of the date such notices or
       other communications are (i) delivered by hand; (ii) sent by facsimile with receipt confirmed,
       provided that a copy is mailed on the same date by registered i:nail, return t'eceipt requested; or
       (iii) received by the addressee, if sent by Express Mail, FedEx or other express delivery service
      with receipt requested; in each case, to the appropriate addressees and/or facsimile numbers set
       forth below (or to such other addressees and facsimile numbers as a Party may designate- as to
       itself by notice to the other Party):

                     (a)    Ifto Shell:

                            Shell Oil Company
                            Attention: Cisselon Nichols Hurd, Esq.
                            P.O. Box 2463
                            Houston, Texas 77252-2463
                            Fax: 713.241.1427

                            and

                            Morgan, Lewis & Bockius LLP
                            Attention: Deanne L. Miller, Esq.
                            300 South Grand A venue
                            Suite2200


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                       Los Angeles, CA 90071-3132
                       Fax: 213.612.2501

                (b)    Ifto Girardi Keese on behalf of Plaintiffs:

                       Girardi Keese
                       Attention: Robert Finnerty, Esq.
                       1126 Wilshire Boulevard
                       Los Angeles, CA 90017
                       Fax:: 213.48l.1554

       4.8.    Jurisdiction to Enforcement Settlement. Pursuant to California Code of Civil
Procedure Section 664.6, the Parties shall jointly request that the Honorable William F.
Highberger of the Los Angeles Superior Court retain jurisdiction over the Parties and the Actions
for purposes of finalizing and enforcing- the Agreement, including, without limitation, the
provisions requiring cooperation in the ongoing regulatory proceedings overseen by the Water
Board, access to properties, and implementation of the RAP.

       4.9.    Governing Law. The Agreement and the Individual Releases shall be construed
according to the laws of the State of California as applied to _contracts entered into in that state.

       4.10. Waiver of Inconsistent Provisions of Law. To the fullest extent permitted by
applicable law, each Party waives any provision of Jaw (including the common law) that renders
any provision of this Agreement invalid, Hlegal, or unenforceable in any respect.

        4.11. Severability. In the event that any provision in or obligation under this
Agreement is determined to be invalid, illegal, or unenforceable in the applicable jurisdiction, the
validity, legality, and enforceability of all other provisions in or obligations under this
Agreement shall not be affected or impaired in any way.

       4.12. Headings. The· headings used herein are intended for convenience of reference
only and are not intended to be a part of, or to affect the meaning or interpretation of, this
Agreement.

        4.13. Refere~ces. As used in this Agreement or any Attachment hereto, the words
"include" and "including," and words of similar impo11, are not limiting and shall be construed to
be followed by the words "without limitation." The definitions contained in this Agreement or
any Attachment hereto are applicable to the singular as well as the plural fotms of such terms.
The words "herein," "hereo~" and "hereunder," and other words of similar import, refer to the
Agreement in its entirety, rather than to only the particular portion of the Agreement.

        4.14.. No Third-Party Beneficiaries; Assignment. No provision of this Agreement or
any Attachment thereto is intended to create any third-party beneficiary to this Agreement This
Agreement shall be binding upon, and inure to the benefit of, each Party's successors aqd
permitted assigns. Shell shall be permitted to assign this Agreement and its rights, interests, or
obligations hereunder. Any rights, interests, or obligations that Plaintiffs have under the


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Agreement and/or their Individual Releases are persoli!ll to them and are not assignable, and may
not otherwise be transferred, sold or given away without prior written consent from Shell. Any
assignment or transfer in violation of !his provision shall be null and void ab tnitio.

        4.15.      No Implied Waiver. Except where a specific period of action or inaction fa
expressly provided herein, no failure on the part of: a Party to exercise, and 110 delay on the part
of: a Patty in ex:ercising, any right, power or privilege under this Agreement shall operate as a
waiver thereof; nor shall any waiv<?r on the part of a Party of any such right, power, or privilege,
or any single or partial exercise of any such right, power, or privilege, preclude any other or
further exerclse thereof or the exercise of any other right, power, or :pri'vilege; nor shall any
waiver on the part of a Party, on any particular occ_asion or in any particular instance, of any
particular right, power, o:i: privilege opernte a;; !\ waiver of such right, power, or privilege on any
other oco11aion. or in any other instance,

      4.16. 'I'hne of the Essence. Time is o.fithe essence with respect to all p1'ovisions 9fthis
Agreement that specify a titne for performance.                                      ·

       4.17. Further Ass~rances. From time to time following the execution of. this
Agreement, each Party shall take such reasonable actions consistent with the tenns of the
Agreement as may reasonably be requested by the other Party, and otherwise reasonably
cooperate with the other Party in a manner consistent with the terms of this Agreement as
reasonably requested by such other Party in order to effectuate the intent and purposes of this
A~eement and to carry out ~he terms herein.

        4. 18. Electronic Signatures and Counterparts, This Agree:tnent and any amendments
thereto, to the extent signed and delivered electronfoally or by facsimile, shall be treated in all
mani1er {Ind respects as an original agreement, and shall be considered to have the same binding
legal effect as if it were the original signed version thereof, delivered in person. This Agreement
may be executed in any number of countetpaits, each of which shall be an original and all of
which shall constitute Ont".. and the same instrument.




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                       SHELL OIL COMPANY



                       By:      9~-~E-
                             S*ature       ·


                             Name




Dated: _ _ _ __



                       By:
                             Signature


                             Name


                             Title




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,,




     Dated: _ _ _ __          SWLL orr.. COlY.l'PANY


                              By:
                                    Signature


                                    Name


                                    Title

     Dated;   J!}_ /{ / Lcf   EQ1l1LON EN'.l.'E.:RPIUSES LLC




                                    Natne

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                                    Tit!!}




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1•Tt!I~ 11*·                                                    .. ' ~~~-.!.!.B'i'J'.~~f;lNF~<?~W.<!l111tl~"'"ij~~""'tJlI"'
             -2~"" a..~ ~;"'".,%,IJ,.1f1'J~i -.-!..tm!~l;.·*-f~fl'    . , ·" • ~ -~··   .,...mJl.G,l~~•.
                                                                                                                                     1
                                                                                                                                  '"'tftf~-~
                                                                                                         . . WI!. , -fl. ~R..,.WJ},.....,,,.X'v, •. -
                     1st Samoan Congregational
                                                                            of Harbor City                              Robin Agapay
       1                   Christian Church
                    1st United Methodist Church of
                                                                                                                       Lesfte J, Powell
       2                      Wilmington
       3                         Acebedo                                         Gilbert
       4                          Acosta                                        Adell no
       5                          Acosta                                        Estrelita
       6                          Acosta                                       Felicitas                           Wilhelmina R. Acosta
       7                          Acosta                                        Manuel
       8                          Acosta                                         Oliver                            Wilhelmina R. Acosta
       9                          Acosta                                     Wilhelmina
      10                        Acosta Jr.                                       Angel
      11                          Adams                                          Kiron                                Tonya V Randle
      12                          Adolfo                                    Nhutdung Ha
      13                          Aguero                                        Carlos
      14                          Aguero                                        Patrich:\
      15                          Aguilar                                      Anthony
      16                          Aguilar                                       Martha
      17                         Alarcon                                        Jackie
      18                         Alarcon                                        Richard
      19                         Alarcon                                        Shelby                                Richard Alarcon
      20                        Alexander                                        Gary
      21                           Allen                                        Robert
      22                          Allen II                                      Robert
      23                     Allingham~Bray                                   Genevieve                               Kathleen Ponce
      24                         Allswang                                        Bruce
      25                         Allswang                                       Pain el a
      26                         Alvarado                                     Armando
      27                         Alvarado                                       Aurora
      28                         Alvarado                                       Benny
      29                        Alvarado                                       Carmen
     30                          Alvarado                                  Chloe-Symone                              Michelle Alvarado
     31                         Alvarado                                     Christopher
     32                         Alvarado                                        Crystal .
     33                         Alvarado                                        Diego                                  Emily Alvarado
     34                         Alvarado                                         Emily
     35                         Alvarado                                       Jessica
     36                         Alvarado                                        Kaden                                 Ginger Alvarado
     37                         Alvarado                                        Kaylin                                Ginger Alvarado
     38                         Alvarado                                        Krystal
     39                         Alvarado                                        Lillian                            Sabrina L Alvarado
     40                         Alvarado                                       Michelle
     41                         Alvarado                                      Rigoberto
     42                         Alvarado                                        Robert                             Sabrina   L. Alvarado
     43                         Alvarado                                         Rosa
     44                         Alvarado                                       Sabrina
     Case 2:19-cv-03563-SPL Document 1-2 Filed 05/24/19 Page 42 of 89




45             Alvarado              Sofia                Emlfy Alvarado
46            Alvarado Ill          Benny
47            Alvarado IV           Benny              Sabrina L. Alvarado
48            Alvarado Jr.         Rigoberto
49            Alvarado Sr.         Frederico
50              Alvarez              Allen          Francisco Javier Alvarez Ill
51
52
                Alvarez
                Alvarez
                                    Andrea
                                    Andrew.     .   Francisco Javier Alvarez: Ill


53              Alvarez            Katherine
54              Alvarez             Martin
55              Alvarez              Rosa
56              Alvarez             Teresa
57             Alvarez Ill         Francisco
58            Alvarez Jr.          Francisco
59              Amaya             Esperanza              Jesus R. Amaya
60             Arnesqua             Richard
61             Ame:z:cua            Andres              Melchor Amezcua
62             Amezcua              Lorena
63             Amezcua              Marcos
64             Amezcua              Maria
65             Amezcua            Maria Elena           M~lchor Amezcua
66             Amezcua             Melchor
67             Amezcua              Tanya
68          Amezcua Garcia         M<1rciano            Melchor Amezcua
69             Ancheta              Hector
70             Ancheta              Teresa
71             Anghileri           Inocencio             Sandra Anghileri
72              Ansaldi           Chatelaine              Crystal Valdes
73               Aniol            Georgette
74              Aquino              Jovita
75              Aquino             Kathleen
76              Aquino             Kristine               Jovtta Aquino
77              Aquino              Renato
78              Arizpe              Arthur
79              Arizpe              Blanca
80              Amado               Alfred
81              Amado              Angelina
82              Amado               Danilo
83              Amado              Edmund
84              Amado              Edward
85              Amado              Michael
86             Arquette             Anna
87             Arquette            Brianna              Debbie Arquette
88             Arquette            Debbie
89             Arquette             Frank
90            Arredondo             Adrian             Sergio Arredondo
91            Arredondo           Alejandra
           Case 2:19-cv-03563-SPL Document 1-2 Filed 05/24/19 Page 43 of 89




     92             Arredondo             Sergio
     93             Arredondo            Vincent         Sergio Arredondo
     94               Arrizon ·           Ruby
     95               Arvizu             Manuel
     96               Arvizu              Rosie
     97               Ashkar             Brenda
     98               Ashkar             Steven
     99              Atuatasi             John
    100              Atuatasi            Malela
    101              Atuatasi            Melanfe
    102                Avila              Nelia
    103                Avila             Renato
    104               Ayers               Linda
    105           Ayers - Sleburg         Vicki
    106              Baemayr              Hans
    107              Baemayr              Leticia
.
    108              Balderas            Jessica
    109              Balderas             Juan
    110              Balderas            Martha
    111              Bailardo             Albert          Sylvia Ballardo
    112             Balmaseda            Beatriz
    113             Balrnaseda           Isa be lo
    114               Banda               Linda
    115              Banuelos            Danielle
    116              Banuelos             Mark
    117              Banuelos           Mary Ann
    118              Banuelos            Richard
    119               Barnett             Jean            Diana Huerta
    120               Barona             Carlos
    121               Barona             Joshua          Teresa Ancheta
    122             Bartolome             Ana
    123          Basco-Wooldridge        Rodilyn
    124               Bason               Britny
    125               Bason               Tony
    126             Bason Jr.            Robert
    127              Bautista            Bianca
    128              Bautista          Christopher
    129              Bautista             David
    130              Bautista            Jaime
    131              Bautista            Marilyn
    132              Bautista            Victor
    133              Bedolla             Gloria
    134              Bejarano           Alejandro
    135              Bejarano            Cristina
    136             Benl<haled          Virginia
    137               Berg                David          Janell Kay Berg
    .138              Berg               Janelle
        Case 2:19-cv-03563-SPL Document 1-2 Filed 05/24/19 Page 44 of 89




 139           Bertulano Alvarado         Ginger
 140                 Beyer                 Fred
 141                  Bird               Chrls!ina
 142               Bollinger              Andrea
 143               Bollinger              Carmen
 144               Bollinger               Nicole
 145               Bollinger               Paul
 146                Bondoc                Joievee
 147                Bondoc               Josephine      Vicente Bondoc
 148                Bondoc                Vicente      Vincent Bundallan
 149                Bonilla               Cynthia
 150                Bonilla              Jasmine        Cynthia Bonilla
 151                Bonilla              Nickolas
 152                Bonilla               Priscilla     Cynthia Bonilla
 153               Bonilla Jr.           Nickolas       Cynthia Bonilfa
 154               Bo-Umali         ..   Adrenalyn ·   Cliristopher Umali
 155                 Bray                 Joseph        Kathleen Ponce
·156            Bromley..Sagato          Asenath
 157                Brown                 Bradley
 158                Brown                 Delilah
 159                Brown                 Michael
 160                 Bunal                Brianna        Cynlie Bunal
 161                 Bunal               Ma Alma
 162               Bund<1llan             Vincent
 163                Bundy                  Justin
 164                 Burke                Diedre
 165                 Burris                Justin
 166               Cabanas               Genesis
 167              · Cabaron              Mary Ann
 168               Cabaron                 Rey
 169               Cabaron                Reyann
170                Cabello               Abelardo
  171              Cabello               Alejandra     Abelardo Cabello
  172              Cabello               Consuelo
  173              Cabello                Crystal      Abelardo Cabello
  174              Cabello                Marta
  175              Cabrera                Blanca
  176              Cabrera                Brenda
  177              Cabrera                 Juan
  178              Caceres                Dennis
  179              Caceres               Domingo
  180              Caceres               Kimberly      Domingo Caceres
 181              Camagong                Donnie
' 182             camagong                 Irene
  183              Carnegia              Roberto
  184             Campbell               Blanche
  185             Campbell               Russell
      Case 2:19-cv-03563-SPL Document 1-2 Filed 05/24/19 Page 45 of 89




186            Carandang             Allison
187            Carandang             Amber            Serce Carandang
188            Carandang           Reynaldo
189            Carandang             Serce
190              Carrera            Matthew          Bessie Irene Lopez
191            Carrera- Jr.          Javier          Bessie Irene Lopez
192              Carrillo             Eric
193              Carrillo          Guillermina
194              Carrillo           Jasmine            Eric A. Carrillo
195              Carrillo           Romina
196              Carson              City of
197               Carter             Naomi
198              Casino              Merl!ta
199              Casino              Oscar
200            Castaneda             Eden
201            Castaneda            Joseph           Paul A. Castaneda
202            Castaneda              Paul           Paul A. Castaneda
203            Castaneda              Paul
204            Castaneda             Susan
205            Castorena            Refugio
206            Castorena             Santa
207             Castruita            Arlana            Raul Castruita
208             Castruita             Raul
209            Castruita Jr.         Raul              Raul Castruita
210              Catoera            Wileen
211            Cervantes            Blanca       Yolanda Cervantes-Ramirez
212         Cervantes Ramirez       Yolanda
213              Chacon              David
214              Chacon              Joann
215            Chacon- Jr.           David
216              Chairez             Jose             Rosvel Chairez
217              Chairez            Rosvel
218              Chairez            Rosvel            Rosvel Chairez
219             Chavarria           Matthew           Anc!Tea Gomes
220              Chavez              Daisy             Jose Chavez
221              Chavez             Damian           David Chavez Sr,
222·             Chavez              David
223             Chavez              Destiny          David Chavez Sr.
224              Chavez            Herlinda                                  '
225              Chavez              Jacob          Jenivieve Ramirez
226             Chavez               Jose
227             Chavez              Melissa
228            Chavez-Jr.            David           David Chavez Sr.
229              Chun               Natalee
230            Cienfuegos            Frank
231            Cienfuegos           Joseiah         Frank Cienfuegos
232            Cienfuegos            Kiana          Frank Cienfuegos
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 233         Cienfuegos               Sonia
 234         Cienfuegos              Tatiana         Frank Cienfuegos
 235            Collins                Jeri
 236            Collins               Jordan
 237            Collins              Madison            Jeri Collins
 238            Collins                Rian
 239            Collins               lorn I
 240          Contreras               John
 241          Contreras              lasaro        Mary Ann Banuelos
242           Contreras              Nicolasa      Mary Ann Banuelos
243            Cordoza              Eliza be.th       Veronica Rivas
244             Cortez:                Ana
245             Cortez:              Dalena
246             Cortez:               Jose
247             Cortez:              Kimberly          Ana I. Cortez
248            Cortez:                Marla            Ana I Cortez
249           Cortez Jr.              Jose
250           Costigan               Jordan
251            Counts                Anthony          Araseli Vargas
252            Counts                 Leticia
253          Covarrubias              Daniel
254       Covarrubias • Lara          Rosa
255             Crain                  Dick
256             Crain                Yvonne
257            Crichton                Erik
258            Crichton                Ian
259            Crichton              Steven
260          Crisostomo             Zachary          Melody Tandoc
261          Cuaresma                 Albert
262          Cuaresma                 John
263          Cuaresma                Michael
264          Cuaresma                Ubalda
265           Cunanan                 Dan
266           Cunanan                Danica
267           Cunanan              Danielle Joy      Priscilla Ferrer
268             Curiel             Christopher
269             Curiel               Frankie      Rosie A. Flores Curiel
270            Curiel                Isabel        Rosie Flores Curiel
271            Curiel                 Rosie
272           Curiel Jr.             Frank
273            Daniel               Laurence
274             David               Maureen
275             David              "Reynaldo
276            David                Roberto
277            Davis                 Karn au
278
279
               Davis
              Davis Jr.
                               .     Solina
                                    Clarence
    Case 2:19-cv-03563-SPL Document 1-2 Filed 05/24/19 Page 47 of 89




  280           Dawson             Carmen
  281            Dayal              Raglna
  282         De La Cruz           Alfredo
  283         De La Cruz             Lucy
  284         De La Cruz            Maria
. 285       De La Cruz Jr.         Alfredo         Maria De La Cruz
  286         De La Rosa            Bobby -
  287         De La Rosa            Daniel       Stephanie De La Rosa
  288         De La Rosa          Samantha       Stephanie De La Rosa
  289         De La Rosa          Stephanie
  290       De La Rosa Jr.          Bobby        Stephanie De La Rosa
  291         De La Torre           Adrian
  292         De La Torre           Alvaro
  293         De La Torre            Eric
  294         De La Torre           Siivia
  295       De La Torre- Jr.        Alvaro
  296         De La Vara            Demi          Maria P. De La Vara
  297         De La Vara            Maria
  298       De Los Reyes           Angeline
  299         De Macias              Eva
  300          De Sisto         Joseph David
  301          DeHaro              And_res
  302          De Haro              Citlaly
  303          DeHaro              Martha
  304          DeHaro               Ran du
  305         Dehart-Jr.           William
  306           Delfin             Janelle          Thelma Delfin
  307           Delfin               Joel
  308           Delfin             Michael
  309           Delfin            Miguelito
  310           Delfln             Thelma
  311          Deming               David          Deborah Deming
  312          Deming              Deborah
  313           Deseo              Arlene
  314           Deseo           Janelle-Regina      Arlene Deseo
  315         Deseo-Jr          Reginald-Jojo       Arlene Deseo
  316           Dewitt              Elvira
  317            Diaz              Delfina
  318            Diaz               Gina
 319             Diaz              Katrina
  320            Diaz               Linda
  321            Diaz               Louie
  322            Diaz             Michelle
 323             Diaz              Regina
  324            Diaz              Ruben
 325          ·Diaz-Jr.            Ruben
 326            Dillon            Rachelle
      Case 2:19-cv-03563-SPL Document 1-2 Filed 05/24/19 Page 48 of 89




327            Domend en             Emma         Angeline De Los Reyes
328            Domenden                Eric
329            Dom end en           Ernes\o
330            Dom end en            Isaiah       Angeline De Los Reyes
331            Domenden             Quentin       Angeline De Los Reyes
332            Oomenden              Rosita
333            Dominguez            Felicisto         Thelma Delfin
334              Douthit            Charles
335              Douthit           Charles F.
336              Douthit             David
337              Douthit             Emily            Maria Douthit
338              Douthit             Helen            Maria Douthit
339              Douthit             Maria
340              Douthit            Patricia
341              Douthit             Travis          Victoria Douthit
342              Douthit            Victoria
343            Douthit Jr.          Charles
344              Duarte            Consuelo
345              Duarte           J. Guadalupe
346               Dutch             Eqward
347            Echevarria          -Miguel
348            Echevarria           Modesta         Miguel Echevarria
349            Echevarria            Omar
350              Edney               Carol
351            Edney-Jr.            Maurtce
352             Egballc              Lucila
353             Egbalic            Solomon            Lucila Egbalic
354              Eggers             Donald
355              Eggers               Mary
356            · Eguchi               John
357            Elmendorf            Michael
358            Elmendorf             Robert          Carla Mccague
359           Elmendorf Jr.           Carl           Carla McCag~e
360              Erwin             Kimberly
361              Eiwin                Kyle           Kimberly Erwin
362            Espanola              Pablo
363            Espinoza             Victoria      Renee Cathleen ~aval
364             Estrada             Steven
365              EV'IOS               Khl
366             Evaristo            Everita
367           Evaristo Jr.           Jose
368               Fair                Rick
369               Fair                Rita         Richard Allen Fair
370               F'alo             Faiiluga        Melanie Atuatasi
371               Falo            Fuata Fred        Melanie Atuatasi
372               Falo              Manya
373             Falo- Jr.            Fuata
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374             Farfan                Esther
375              Farin                Adela
376              Farin               Remigio
377            Farin- Jr.            Rem Igo
378              Feldt                 John               Ruth Feldt
379              Feldt                 Ruth
380            Fernandez             Cann en
381            Fernandez             Christine
382            Fernandez           Christopher
383            Fernandez            Concezion
384            Fernandez              Frank
385            Fernandez             Monica
386            Fernandez              Nelda
387            Fernandez            Royalene         Bernard Fernandez
388            Fernandez               Ruth
389             Ferrer               Priscilla
390            Fiamengo             Breeonna
391            Fiamengo              Joseph
392              Fierr~              Alyssa
393              Fierro                Eric
394              Fierro               Krista       Yvonne Villarlco-Fierro
395             Fierro               Malissa       Yvonne Villarico-Fierro
396            Figueroa                Inez
397            Fimbres               Andrea
398            Fimbres                Ralph
399              Finke               Dominik        Maria-Teresa Finke
400              Finke              Francisco       Maria-Teresa Finke
401              Finke            Maria Teresa
402              Finke                Rudolf
403             Flores              Alejandro
404             Flores               Bianca
405             Flores               Ramon
406             Flores               Raquel
407             Flores               Sonya
408             Flynn                 Aleili
409             Foster               Beatrice
410             Foster              Gwenda
411             Foster              Wendell        Beatrice Joan Foster
412              Fox                 Pamela
413             Franco              Reynaldo
414              Frick                 Jeff
415             Frost                 Chert
416              Fua                  Vae
417             Fualau                Miles             Sheila Sulu
418             Galan              Caitlin Jane    Jose Gerald T. Galan
419             Galan             Charlene Tuel
420             Galan            Jeanne Chantel    Jose Gerald T. Galan
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421              Galan             Jose Gerald
422              Galan            Joshua Caleb     Jose Gerald T. Galan
423             Gallegos             Isaiah
424             Gallegos              Linda
425             Gallegos            Shaelynn         Jessica Alvarado
426             Gallegos             Stacy
427            Gallegos              Steven
428             Galvan              Jazlene          Melissa Navarro
429            Ganteaune            Ramona           Stephanie Perez
430             Garcia                Abel
431             Garcia                Ajay           Anthony Garcia
432             Garcia               Angel          Juan Angel Garcia
433             Garcia               Angel
434             Garcia              Anthony
435.            Garcia              Brandie
436             Garcia               Cassie
437             Garcia              Cynthia
438             Garcia               Daniel
439             Garcia               Dennis
440             Garcia               Emily
441             Garcia               Hilaria
442             Garcia               Juan
443             Garcia               Lyanna          Anthony Garcia
444             Garcia               Mariko
445             Garcia               Rosie
446             Garcia                sara
447             Garcia               Sharon
448             Garcia               Sylvia
449            Garcia Jr             Daniel
450            Gastelum              Yudith
451             Gatlin               James            Shirley Gatlin
452             Gatlin               Jamie
453             Gatlin               John
454             Gatlin              Shirley
455            Gatlln II            James
456             Gayap                Jose
457             Gayap               Marie ta
458             George               Emma
459             George             Telchnique
460               Gi                Edward
461           Gi Phineas             Pafuti
462             Glass                David
463             Glass                Derek
464             Glass                Vickie
465            Glickman             Eugene          Marcell Glickman
466            Glickman             Marcell
467            Golden               Rosalia
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 468              Gomes                  Alyssa         David Gomes
 469              Gomes                  Andrea
 470              Gomes                   David
 471              Gomes                  Gregory
 472              Gomes                  Michael
 473              Gomes                 Tawana
 474              Gomez                  Ashley
 475              Gomez                  Yvonne
 476             Gonzales                Albert
 477             Gonzales                 Ana
478              Gonzales                Cynthia
479              Gonzales               Edmund
 480             Gonzales                Manuel
 481
482
                 Gonzales
                 Gonzalez:         .     Rianni
                                          Clony
                                                        Crystal Valdes


 483             Gonzalez                Jasmin       Eduardo Ochoa- Jr
 484             Gonzalez                 Ruth
485               Govea                  Ariana       Maricela Magana
486                Greer                  Gary       Steve Roush (CPA)
487               Griffey                Renee
 488              Grizzell              Candice
489                Groce                  Dean
490                Groce                  Myra
491              Guerrero               Brandon         Antonia Luna
492              Guerrero                George
493              Guerrero                Vienna       Cynthia Gonzales
494              Guevara                Armando
495              Guevara                Christina     Claudia Olivares
496              Guevara                 Fabian
497              Guevara                Josefina
498             Guevara Jr.             Antonio       Claudia Olivares
499               Gtlrrola               Ariana
500              Gutierrez              Annette
501              Gutierrez             Breanna       Veronica Gutierrez
502              Gutierrez             Christopher
503              Gutierrez               Emilia
504              Gutierrez                Gary
505              Gutierrez             Guadalupe
506              Gutierrez                Irma
507              Gutierrez                Irma
508              Gutierrez              Kimberly
509              Gutierrez               Martin
510              Gutierrez              Michael      Victoria M. Posada
51:1.            Gutierrez              Richard
512              Gutierrez              Richard
513              Gutierrez              Richard
514              Gutierrez              Roberto
      Case 2:19-cv-03563-SPL Document 1-2 Filed 05/24/19 Page 52 of 89




515             Gutierrez           Shannon
516             Gutierrez           Spe[lcer          Gary Gutierrez
517             Gutierrez          Veronica
518             Guzman               Bishop           Gina L Gu2:man
519             Guzman              Christian
520             Guzman                Gina
521             Guzman               Laura
522             Guzman                Lori
523             Hamilton             James           Shirley Hamilton
524             Hamilton            Shirley
525               Hao                Nenita
526              Hearn              Clifford
527              Hearn               John
528              Hearn              Marsha
529             Henson              Pamela
530            Hennan IV             Robert
531            Hernandez           Christian
532            Hernandez            Enrique          Gladys Contreras
533            Hernandez             Nelma
534            Hernandez              Olga           Gladys Contreras
535             Herrero              Arlene
536             Herrero               Vito
537            · Hibbert             Clifton
538              Hibbert            Deborah
539           Hinshilwood             Don
540           Hinshilwood           Gliceria
541           Hinshilwood             Joy         Gliceria M. Hinshilwood
542              Hodge               Alexis            Kelly Hodge
543              Hodge               Kelly
544              Hodge              Vincent
545           Hoopingarner           Caryn
546              Huerta              Albert
547              Huerta              Irene
548              Huerta              Lucy
549              Huerta              Nico              Lucy Huerta
550              Huerto              Irene
551            HUE!rtoSr.            Floro             Irene Huerto
552             Hughes              Sharon
553              Ibarra             Eileen
554             lbekwe              Agatha
555             lbekwe             Augustine
556            Ichikawa              Kyle
557             lfeacho            Chinyere
558             lfeacho              John
559            Jnfantado             lone
560            lnfantado             Kariz
561            lnfantado             Karla
   Case 2:19-cv-03563-SPL Document 1-2 Filed 05/24/19 Page 53 of 89




 562      lnfantado Mabalo   ..      Karen
 563      lnfantado Mabalo           Keian      Karen lnfaf'ltado Mabalo
 564           Ingrum                April
 565           Ingrum               Ashley
 566           Ingrum               Jeffrey
 567             Isa                 Betty
 568            Isip               Jonathan
 569            Isip              Joshua Ryan       Wileen Catoera
 570         lzmajtovich            Alfredo
 571        lzma)tovich             Alfredo
 572        fzmajtovich             Matilde
 573          Jackson               Mildred
 574          Jackson               R'i!narta
 575         Jamerson                Doris
 576         Jamersof'I              Kory
 577         Jamerson               Mikquel
 578         Jamerson                 Sol
 579           James                Cesha            Editha James
 580           James                Chedon         Sheldon James
 581           James              Cherristan         Editha James
 582           James               Chestan         Sheldon James
 583           James                Editha
 584          James                  Lisa
'585           James               Sheldon
 586         Jaramma                Decely
 587         Jaramilla              Hailey         Marvin Jaramilla
 588         Jaramilla              Marvin
 589          Jelenic                Jerry
 590          Jelenic               Krystal
 591          Jelenic               llffany
 592          Jelenic              Yolanda
 593      Jenkins-Jacl<son          Shyra
594          Jimenez                 Jose
595          Jimenez                Kendra·
596          Jimenez                Raquel
597         Jimenez- Jr.             Jose
598          Johnson                Anna
599            Kane                 David
600            Kane               Georgianna
601           Kapoor                 Amit
602           Kapoor                Gehna           Amit Kapoor
603           Kapoor                 Tani
604           Kapoor               Yamya            Amit Kapoor
605            Karr                 Carrie
606            Karr                 Dwight
607            Karr                 Irene
608            Karr                Rebecca
   Case 2:19-cv-03563-SPL Document 1-2 Filed 05/24/19 Page 54 of 89




609            Keith              Brian
610            Keith              Linda
611          Keith 111           Charles
612          Keith Jr.           Charles
613        Kerth-Moreno            Amy
614         Koval-Diaz         Christopher
615         Koval-Diaz          Nicholas        Michelle Koval-Diaz
616         Labarda Jr.           Carlito
617          Laforteza           Dennis
618          Laforteza           Flordeliz
619         Laforteza            Pamel<1
620             Lal             Jasmine            Reglna Dayal
621             Lal              Jowahlr
622             Lal              Manish            Regina Dayal
623             Lal               Rajlv
624         landingin           Josephine
625          LaPonza              Linda
626            Lara             Alejandro
627            Lara               Jose
628        Lara-Sanchez           Alma
629           Larrieu             Dylan
630           L&rrieu            Geddy
631.          Larrieu            Gordon
632           Larrieu             Marlie         Dylan J. Larrieu
633          Lasswell            Barbara
634          Lasswell            Harold
635          Lasswell           Jennifer
636          Lasswell           Thomas
637          Lasswell           Thomas
638            L<1xa             James
639        Laxa-Salazar           Clare
640           Lazaro               Lily
641         Ledesma               Alda
642           Leon                Frank
643           Leon              Praxedes
644           Leon               Richard
645           Leon               Robert
646          Leon Jr.             Luis
647         Limosnero             Carly         Michael Umosnero
648         Limosnero             Maile         Michael Limosnero
649         Limosnero           Michael
650         Limosnero            Ninette
651          Lipsey            Christopher
652          Lipsey              Cu inn         Wanda L. Weimer
653          Lipsey              Kenna          Wanda L. Weimer
654            Lira             Andrew             Miguel Ura
655            Ura             Guadalupe
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656               Lira               Miguel
657               Lira               Miguel             Miguel Lira
658               Lira               Moises         Miguel Gonzalo Lira
659               Lira               Natalie            Miguel Lira
660              Using               Anita
661              Llanes              Gilda            Juan G. Llanes
662              Liane$               Juan
663            Lofthouse            Victoria
664              Lomeli             Anthony
665              Lomeli            Ermelinda
666             Lomeli               Henry
667              Lomeli             Melinda
668             lomibao             Alfredo
669             Lornibao ·           Cesar            Keiko Lomibao
670             Lornibao             Kieke            Mariko Garcia
671              Long                Kevin
672              Long                Penny
673             Long Ill            Charles
674             Long Jr.            Charles
675              Lopez              Alberto
676              Lopez               Alma
677              Lopez               Angel            Hector Lopez
678              Lopez               Arturo
679              Lopez               Arturo
680              Lopez              Bessie
681              Lopez              Bridget
682              Lopez              Brittany
683              Lopez             Catherine
684              Lopez             Catherine
685             Lopez              Chrystina
686             Lopez                David
687             Lopez                Gloria
688             Lopez               Hector
689             Lopez               Johnny
690             Lopez                Jose
691             Lopez              Magdalena
692             Lopez               Marissa         Catherine Lopez
693             Lopez                Mayra
694             Lopez               Michelle
695             Lopez                Ofelia
696             Lopez              Reynaldo        Catherine E. Lopez.
697             Lopei:              Roxana            Hector Lopez
698             Lopez               Ruben
699             Lopez               Vincent
700            Lopez.Jr.            Albert
701            Lopez.Jr.            Hector         Catherine E. Lopez
702            Lopez.Jr.            Miguel
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703           Lope:z:-Fiamengo         Dyan
704            Lopez-Lavalle         Absalon
705            Lopez-Lavalle           Lilly
706            Lopez-Lavalle         Marcella
707             Lowe-Bason         Bobbie Angela
708               Lowrey              Esther         Jesse Burl Lowrey
709               Lowrey              Jesse
710               Lozano             Anthony
711               Lozano              Monica
7.12              Lozano            Stephanie         Monica Lozano
713              Lozano Jr.          Anthony          Monica Lozctno
714               Lucero             Dolores
715               Lucero              Ricky
716               Lucero              Robert
717               Lucero              Rudy
718               Luhrsen             All ctn
719               Luhrsen            Andrew
/20               Luhrsen             Susan
721             Luhrsen Jr.           Allan
722.               Luna              Antonia
723                Luna               Brian
72.4               Luna              Lorenza
725               Mabalo              Froilan
726               Macias             Joseph
727               Macias              Maria
728             Macias Arce            Noe
729            Macias-Zuniga          Jesus
730              Macleod              David
731              Macleod             Malcolm
732              Macleod             Shaaron
733               Madrid              Alfred         Anna V. Madrid
734               Madrid              Anna
735               Madrid               Raul           Lisa Martinez
736               Madrid             Rose lie
737             Madrid Sr.            Louis
738              Madrigal            Socorro
739              Magallon            Esequiel
740              Magallon             Karer\
741              Magallon              Lori
742           Magallon-Hamlin         Karen
743              Magana               Adam
744·             Magana               Adan
745              Magana               Esther
746              Magana               Hector
747              Magana·              Julia          Adam Magana
748              Magana              Julissa         Adam Magana
749              Magana              Makay!a         Brenda Cabrera
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750         Magana              Maricela
751         Magana               Mario
752         Magana              Nathan             Mario Magana
753        Magdaleno             Adolfo
754        Magdaleno            Anabel
755        Magdaleno             Benito
756        Magdaleno             Daniel         Anabel Magdaleno
757        Magdaleno            Destiny         Anabel Magdaleno
758        Magdaleno            Marlene          Anabel Magdaleno
759        Magdaleno            Vita Jina
760         Maggay               Pedro             Terry Maggay
761          Maggio             Brandon            Vivian Maggio
762          Maggio              Vivian
763        Maggio Jr,            Willie
764          Magno             Bonifacio           Gil S. Magno
?65          Magno              Gabrielle
766          Magno             Gian-Paolo    Yasmin Magno
767          Magno                 Gil
768          Magno               Gilbert
769          Magno              Yasmin
770           Malik              Abdul
771          Malik              Alazahn            Aneela Malik
772           Malik             Aneela
773          Malik              Arbaaz             Aneela Malik
774          Malik              Farhan             Aneela Malik
775          Malik             Moneeba             Aneela Malik
776         Malunda             Amalia
777         Malunda            Seymour
778        M<;1nansala           Jo<;1n
779        Manansala            Joshua
780        Manansala            Julieta
781        Manansala            Yolanda
782         Mancera              Carlos
783         Mancera             CaJSon           Michelle Mancera
784         Mancera             Denielle         Michelle Mancera
785         Mancera             Matthew          Michelle Mancera
786        Mancera              Michelle
787        Manjgotic            Ruzica             Jerry Jelenic
788          Marin              Ambar
789          Marin              Aurora
790          Marin               Felix
791          Marin               Jose
792        Martinez            Alejandro
793        Martinez              Alex           Ramona Martinez
794        Martinez            Alexandra        Ramona Martinez
795        Martfnez             Alexis          Ramona Martinez
796        Martinez            Anthony          Ramona Martinez
       Case 2:19-cv-03563-SPL Document 1-2 Filed 05/24/19 Page 58 of 89




797               Martinez           Charisse
798               Martinez           Christian
799               Martinez           Cynthia
800               Martinez              Fe
801               Martinez            Gloria
802               Martinez            Jesus
803               Martinez             Lisa
804               Martinez            Manuel
805               Martinez:           Marla
806               Martinez:           Marlon
807               Martinez            Martin
808               Martinez            Martin         Martin M. Martinez:
809               Martinez          Maxlmilllan
810               Martinez:           Miguel
811               Martinez:          Patricia
812               Martinez           Ramona
813               Martinez            Robert
814               Martfnez:           Robert
815               !\/lartlnez         Rocky          Martin M. Martinez
816               Martinez           Salvador
817               Martinez           Sandra
818               Martinez          Stephanie
819               Martinez            Trinity        Kimberly Ramirez:
820               Martinez:           Victor
821              Martinez Ill        Salvador
822            Martinez-Rivera        Gloria
823              Mascardo           Carmelita
824              Mascardo            Josefina
825               Mataalii           Corrina
826               Mataalii            David
827               Mataalii           Lauren.         Stephen Mataalii
828               Mataalii           Stephen
829              Matheson            Amster
830                Matute             Brtan
831.               Matute             Maria
832                Matute              Raul
833               Mayuga             Ernesto
834               Mayuga              Gloria
835               McAmis              James           Sara Crouson
836              Mccague              Carla
837               McCalip             Robert        Saralyn .Pennington
838               McCarty              Billie
839               McCarty              Max
840               McCarty            Winfred
841              McCollum          Lesley-Anne
842               McEwan            Adelaide          David McEwan
843               McEwan              David
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   844           McEwan               Ethan            David McEwan
   845           McEwan               Jason            David McEwan
   846           McEwan              Travis
   847            McGee                Billy
   848            McGee               Nina
   849            McGee              Shanah
   850            McGee               Yusef
   851          McGregor             Andrew
  .852          ·Mendez             Carmela
   853           Mendez               Jose
   854           Mendez              Joseph·
   855           Mendez              Juanita
   856           Mendez               June
   857           Mendez              Steven
   858         Mendoza;.Jr.          Carlos
   859           Mercado            Angeles
   860'          Mercado              Nelia
   861           Mercado           Purilicacion         Teresita Tan
   862         Miller-Bason          Robbie
   863         Miramontes             Laura
   864         Miramontes            Vincent         Laura Miramontes
  865         Miramontes Jr.         Alberto
  866          Miramontez            Brenda
  867          Miramontez            Cecilia
  868          Miramontez            La'foya
  809            Mitorna             Michael
  870           Moaaliitele           Esau           Georgianna Kane
   871          Moaaliltele          lakopo          Georgianna Kane
  872           Moaaliitele       Lemauosamoa         Gorgianna Kane
  873          Mohammad             Mirwaise
  874          Mohammad               Noor
  875          Mohammad              Om aid       Zary and Noor Muhammad
  876          Mohammad               Z<iry
  877            Monge              Elizabeth
  878         Montgomery              Julie
  879           Montoya              Daniel
  880           Montoya               Lydia
  881           Montoya             Michael
  882           Montoya               Nick
  883           Montoya              Oliver
. 884             Mora               Helen
  885           Mora Sr.              Roy
  886            Murillo            Ramon
  887             Muro               Carlos          Regina R. Taylor
  888            Musick             Denise
  889     '       Myers               Mary             Mervin Myers
  890            Myers               Mervin
      Case 2:19-cv-03563-SPL Document 1-2 Filed 05/24/19 Page 60 of 89




891              Nabayan            Amanda
892             Nabayan               Celia
893              Nabayan            Edward
894              Nabayan             Lelnea
895              Nabayan           Valentina
896             NabayanJr           Edward
897              Nakasuji          Tadaharu
898              Narvaez            Thelma
899                Nava             Ceasar
900                Nava              Vision          Yvette Velarde
901               Naval              Renee
902               Naval             Richard
903               Naval            Rosemary
904               Naval               Rudy
905              Navales             Jason             Jill Parago
906             Navarrete           Rosalba
907             Navarrette          Eduardo
908             Navarrette          Edward         Rosa M. Navarrette
909             Navarrette          Katrina         Rosa Navarrette
910             Navarrette           Rosa
911             Navarrette           Sonia         Rosa M. Nav<1rrette
912              Navarro            Carlos
913              Navarro           Deborah
914              Navarro             Debra
915              Navarro           Jaquelllne
916              Navarro            Melissa
917              Navarro             Rudy
918            Navarro Sr.           Rudy
919               Negri              Juana         Silvia De La Torre
920              Nelson             Dorothy
921              Nguyen              Marc
922              Nguyen           Minh Brian
923               Nieto             Steven
924            Nino-Castillo         Maria
925             Nombrado           Elizardo
926             Nombrado            Jobert        Mary Jean Nombrado
927             Nombrado          Mary Jean
928          Nortleet-McEwan         Karen
929              Noriega           Elizabeth
930              Noriega            J'.'cklyn
931              Noriega            Jaime
932              Noriega            Jaime
933              Noriega           Kathleen
934              Noriega            Martin
935              Noriega            Ruben
936            Noriega Jr.          Ruben
937             Norwood            Barbara
    Case 2:19-cv-03563-SPL Document 1-2 Filed 05/24/19 Page 61 of 89




 938          Norwood             Cameron
 939          Norwood             Candace            Cameron A. Norwood
 940          Norwood               Jada              Barbara Norwood
 941           Nunez               Martin
 9'12          Nunez              Michelle
                                                ..
 943           Nunez              Nichelle
944          Oberlander             Ann
945            O'Brien              Joy
946            O'Brien             Taylor                Joy O'Brien
947          O'Brien-Jr.            Jack
948            Ocacio             Christina
949           Ocampo               Maria
950            Ochoa             Alejandro            Eduardo Ochoa- Jr
951            Ochoa               Celia               Carmen Ogden
952            Ochoa               Daniel
953            Ochoa              Eduardo
954            Ochoa                Jose               Carmen Ogden
955            Ochoa               Kristy
956            Ochoa                Luz
957            Ochoa              Martha
958            Ochoa               Rafael
959            Ochoa               Rafael
960            Ochoa               Sierra            Eduardo Ochoa- Jr
961          Ochoa Jr.            Eduardo
962            Ogawa               Grace
963           Ogawa               Michael
964           Ogawa                Rikiya
965            Ogden              James                William Ogden
966            Ogden              Sharon
967            Ogden              William
968           Oglesby             Belinda
969           Oglesby              Halie              Belinda Oglesby
970           Oglesby             Jeffrey
971           Oglesby             Kelsey              Belinda Oglesby
972           Oglesby             Ronnie
973          Dlmmoto              Keane
974          Okamoto               Kerrie
975          Okumoto               Anna
976           Olivares            Claudia
977           Olivares            Jessica             Claudia Olivares
978          Olivares             Jesus
979          Onwubere            Armstrong
980          Onwubere             Delores
981          Onwubere             Ebony
982          Onwubere              Nina
983          Onwubere            Yolanda
984           Orloski             Brynne
    Case 2:19-cv-03563-SPL Document 1-2 Filed 05/24/19 Page 62 of 89




 985            Orloski           Tamara
 986            Ortega          Christopher         Regina R. Taylor
 987            Ortega           Clem encl a
 988            Ortega             David
 989            Ortega            Leonard
 990            Ortega            Lorraine
 991            Ortega             Lupe
 992            Ortega            Monique
 993            Ortega            Ricardo
 994            Ortega            Richard
 995            Ortega              Tara            Ricardo Ortega Jr.
 996         Ortega- Jr.            Pilar
  997         Ortega Jr.          Ricardo
  998          Osborne             Gayle             Linda Gallegos
  999          Osborne            Gregory            Linda Gallegos
 1000          Osborne              Max
 1001          Osborne             Nancy
·1002           Osuna              Erick
 1003           Osuna              Israel
 1004           Osuna              Maria
 1005         Pacheco            Elizabeth
 1006         Pacheco             Robert        Elizabeth Corrine Pacheco
 1007          Padilla             Javier
 1008          Padilla           Nicolasa
 1009          Pagulo              Edith
 1010          Paguio              Estela
 1011          Paguio            Jose Alvin          Estel<1 Paguio
 1012          Palicle            Darrell
 1013          Palicte             Daryn
 1014          Palicte             Henry
 1015          Palicte            Justina
 1016         Pantaleon           Imelda
 1017        Pantaleon            Patrick
 1018        Pantaleon             Praire
 1019          Parago              Dulce
 1020          Parago              Jade
 1021          Parago               Jill
 1022          Parago              John
 1023          Parago            Nathaniel
 1024         Parayno             Emma
 1025         Parayno              Mark
 1026       Patterson- Jr.        Johnny            Yvette Velarde
 1027         Pendilla            Conrad
 1028         Pendilla             Dylan
 1029         Pendilla            Justin
 1030         Pendill<1            Ti are           Conrad Pendilla
 1031          Perez             Alejandro
     Case 2:19-cv-03563-SPL Document 1-2 Filed 05/24/19 Page 63 of 89




1032              Perez             Daniel
1033              Perez              Diana
1034              Perez           Guadalupe
1035              Perez             Horacio
1036              Perez              Jose
1037              Perez            Michael
1038              Perez            Michael
1039              Perez             Ralph
1040              Perez           Stephanie
10111            Perkins          Alexandra
1042             Perkins            Alicia
1.043            Perkins            Alicia
1044             Perkins            Richard
1045           Perkins Jr.          Richard    .•


1046            Petrouski           Wendy
1047             Pfeiffer          Charles          Edeltraut Pfeiffer
1048             Phillips           Bobby
1049             Phillips          Mar-Jana          Bobby Phillips
1050             Phillips.         Rowena
1051            Phillips II         Bobby
1052            Phineas              Julie
1053            Phineas           Magdalene
1054             Piazza            Dominic
:t.055           Piazza             Kl)'stle
1056             Plazza            Lourdes
1057             Plazza           Stephanie
1058             Pilato             Giovan
1059          · Pingatore          Yvonne
1060             Platon              Nora
1061             Ponce              James
1062             Ponce               Lina
1063             Ponce              Maria
1064             Ponce              Rene
1065        Ponce (Navarrete)      Kathleen
1066             Posada            Christina
1067             Posada             Juan
1068            Posada             Victoria
1069              Post             Barbara
1070              Post              Kathy
1071              Post             Stanley           Barbara Post
1072            Poyaoan           Ma. Cherry
                                                                         i
1073            Poyaoan            Rolando
1074            Preciado          Alexandria        Veronica Rivas
                                                                         l
1075
1076
                Preciado
                 Priest
                                    Jesus
                                   Carmen
                                                    Veronica Rivas       II
1077             Priest            Matthew                               I
1078             Priest            William
   Case 2:19-cv-03563-SPL Document 1-2 Filed 05/24/19 Page 64 of 89




1079           Pynn              Andrea
1080         Quijada             Rachel
1081         Quimson              Bailey           Leslie Quirnson
1082         Quimson              Gloria
1083         Quimson              Leslie
1084         Qulmson               Paul
1085         Quirnson            Rolando
1086         Quirnson             Shaun            Leslie Qulmson
1087        QulmsonJr.           Rolando
1088        Quinones             Brandy
1089         Racanelli            Laura
1090         Ramirez            Alejandro
1091         Ramirez             Beatriz
1092         Ramirez             Enrique        Christopher Gutierrez
1093         Ramirez              Frank           Natalie Ramirez
1094         Ramirez            Frederick
1095         Ramirez              Jean
1096         Ramirez            Jennivieve
1097         Ramirez             Jessica
1098         Ramirez              John
1099         Ramirez             Joseph
1100         Ramirez            Kimberly
1101         Ramirez              Kristy
1io2         Ramirez              Marie
1103         Ramirez             Megan
1104         Ramirez             Ml cha el
1105         Ramirez              Mike
1106         Ramirez             Natalie
1107         Ramirez             Ti;iresa
1108         Ramirez             Theresa
1109         Ramos                Daisy
1110         Ramos               Faviola
1111         Ramos               Mayra
1112         Ramos               Natalia           Mayra Ramos
1113         Ramos                Rosa
11i4         Ramos              Roxanna           Salvador Ramos
1115         Ramos              Salvador
1116        Ramos Jr.           .Salvador
1117         Randle               John
1118         Randle              Tionya
1119         Ranclle             Tonya
1120        Randle Jr.            John
1121          Ranfe                Joe
1122          Raya                Alex
1123    ;     Raya                Jose
1124          Raya              Tomasa
1125         Rendon               Maria
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1126        Rendon-Aguifar         Esther
1127           Reserva            Douglas
1128           Reserva            Rosemary
1129         Reserva Jr.          Douglas
1130            Reyes              Charito
1131            Reyes              Ernesto
1132            Reyes              Jeremy
1133            Reyes             Jonathan
1134            Reyes             Jonathan
1:1.35          Reyes              Joshua          Zerandy Reyes
1136            Reyes              s.usan
1137            Reyes              laylor
1138            Reyes              Vivian
1139            Reyes             Zerandy
1140           Reynoso            Yolanda
1141            Rios               Arturo
1142            Rios               Evelia
1143            Rivas              Aaron             Sara Rivas
1144            Rivas              Aaron             Sara Rivas
1145            Rivas               Erin             Sara Rivas
1146            Rivas              Juanita
1147            Rivas             Reynaldo
1148            Rivas               Sara
1149            Rivas             Veronica
1150           Rivera             Deanna
1151           Rivera             Ernesto
1152           Rivera              James
1153           Rivera              Lydi<1
1154           Rivera              Steven
:1155          Robles              Crystal
                             --
1156           Robles              Mario
1157           Robles             Michael            Rita Robles
1158           Robles               Rita
1159           Robles             Senorino        Ka.thleen Robles
1160          Rodriguez           Anabel
1161          Rodriguez           Andrew
1162          Rodriguez           Araceli
1163          Rodriguez           Christina
1164          Rodriguez            Daniel
1165          Rodriguez            Daniel         Natalia Rodriguez
1166         Rodriguez             Emilio         Javier Rodriguez
1167         Rodriguez             Emma-
1168         Rodriguez            Enrique
1169         Rodriguez            Esteban
1170         Rodriguez            Esther
1171         Rodriguez            Fredrick
1172         Rodriguez             Helen
        Case 2:19-cv-03563-SPL Document 1-2 Filed 05/24/19 Page 66 of 89




1173             Rodriguez             Javier
1174             Rodriguez             Jenny
1175             Rodriguez             Jose
1176             Rodriguez            Lorena
1177             Rodriguez             Maria          Natalia Rodriguez
1178             Rodriguez             Maria
1179             Rodriguez             Mary
1180             Rodriguez            Nata!ia
1181             Rodriguez             Pete
1182.            Rodriguez             Pilar          Enrique Rodriguez:
1183             Rodriguez           Rebecca          Enrique Rodriguez:
1184             Rodriguez            Ricardo
1185             Rodriguez            Richard
1186             Rodriguez            Roberto         Enrique Rodriguez
1187             Rodriguez             Sonia
1188             Rodriguez            Susan
1189              Roeder                Leo
1190              Roeder             Nicholas
1191              Roeder               Rose
1192              Roeder ·           Sebastian
                                                 :
1193              Romero              Andrew          Mona L. Zamora
1:194             Romero                Iris
119.5             Romero              Mariah          Mona L. Zamora
1196              Romero             Reynaldo
1197           Romero-Santos          Helen
1198               Ron               Carollna
1199               Ron               Vanessa
1200              Rosales            Brooklynn
1201              Rosales             Jacob            Nancy Osborne
1202              Rosales              Joey
1203              Rosales            Reginald
1204              Rosales            Richard
1205              Rosales              Riley          Richard Rosales
1206              Rosales              Rita
1207             Ruvalcaba            David
1208             Ruvalcaba           Francisco
1209             Ruvalcaba             Gina
1210             Ruvalcaba           Racquei
1211             Ruvalcaba            Robert
1212             Ruvalcaba            Valerie
1213           Ruvalcaba Jr.           Jose
1214           Ruvalcaba Sr.           Jose
1215             Saavedra             Cecily
1216              Saffell             Carrie
1217              Saffell             Jacob           Raymond Saffell
1218              Saffell              Luke           Raymond Saffell
1219              Saffell            Raymond
      Case 2:19-cv-03563-SPL Document 1-2 Filed 05/24/19 Page 67 of 89




 1220           Sagisagl             Saline             Maleta Atuatasi
 1221           Salazar             Joselito
 1222           Salazar              Ruth
 1223            Salinas             Evelyn
 1224            Salud              Edwardo
 1225            Sa.Jud            Evangeline           Leonida Salud
 1226            Salud             Jonathan
 1227            Salud              Leonida
 1228            Sa.lud              Mary
 1229            Salud              Mathew
 1230           Samson              Aurora
 1231           Samson              Eleazar
 1232           Samson             Emmanuel
 1233         San Antonio            Emma
 1234           San Luis            Arlene
                                                 ..
 1235          San Pedro             Daniel
 1236          San Pedro             Erika
 1237         · San Pedro           Megan             Daniel San Pedro
 1238           Sanchez             Gilbert             Sally Sanchez
 1239           Sanchez             Manuel
 1240           Sanchez              Sally
 1241          Sandman              Donald
 1242          Sandman              Lou Ann
 1243          Sandoval             Anthony
 1244          Sandoval             Rachel
 1245           Santana             Casara
 1246           Santlllan          Rebecca
 1247           Santos               Bryan
 1248           Santos             Stephanie
 1249           Santos             Winifredo
 1250          Sapgoian              Maria
 :1.251          Satete             Beauty
 1252            Satete             Pearty
 1253         Saym-Smlth            George
 1254         Sayre--Smith           Joyce
·1255          Sciortino           Francesca
 1256          Sciortino             Piero
 1257           Sedillos            Felipe
 1258           Sedillos            Manuel
 1259           Sedillos             Vidal
 1260            Seelig              Maria
 1261           Segaud             Therese
 1262          Sepulveda            Brianna           Ramon Sepulveda
 1263          Sepulveda            Ramon
 1264          Sepulveda            Roxana
 1265          Sepulveda            Xochill
 1266          Sepulveda            Yudith            Yudith Gastelum
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1267       Sepulveda- Jr.         Ramon           Ramon Sepulveda
1268          Serrano              Maria
1269          Settles             Karyn
1270           Sever               John
1271          Sewell            Chanma fin
1272          Shell Jr.           Lonnie          Alexandra Perkins
i2n            Shoor              Aman
1274           Silva             Jasmine
1275           Silva             Jeremy
1276           Silva             Jonathan
1277           Silva              Joshua
1278          Simons               Brad
1279          Simons            Cheyenne          Christopher Simons
1280          Simons            Christopher
1281          Stmons            Constance-
1282          Simons              Robert
1283           Slack              Kalllyn              Kristy Sy
1284           Slack               Kyle
1285          Smiley             Keverfy
1286           Smith              Freda            Mildred Jackson
1287           Smith              Helen        George Allen Sayre-Smith
1288           Smith              Orinio
1289           Soria               Mila
1290          Spaleta            Patricia
1291        Steingrobe             Karl
1292         Steward             Chadra
1293         Steward               Erick            Erick Steward
1294         Steward               Erick
1295         Steward              -Errin            Erick Steward
1296          Stoudt             Kimberly
1297          Stoud!             Nicholas
1298          Stoudt             Patrick
1299          Stoudt             Thomas
1300          Suarez              Aaron
1301          Suarez             Adriana           Lugarda Suarez
1302          Suarez              Alfred
1303          Suarez:           Angelica
1304          Suarez              Celina           Lugarda Suarez .
1305         Suarez               Jesus
1306         Suarez               Jose             Lugarda Suarez
1307         Suarez              Luga rd a
1308         Suarez              Maribel
1309         Suarez             Veronica
1310         Suarez              Virginia
1311         Suarez              Yesenia           Lugarda Suarez
1312        Suarez Jr.            Jesus
1313           Sulu              Sheila
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 1314            Swain              Aaron            Sheila Swain
1315             swain               Brian
1316             Swain              Joshua           Sheila Swain
 1317            Swain              Sheila
1318              Sy                Kristy
1319           Talavera             Felipe
1320           Talavera           Sanjuana
1321        Talavera-Zamora         Felipe
.1322       Talavera-Zamora         Kelvin         Sanjauna Talavera
1323        Talavera-Zamora        Kimberly        Sanjuana Talavera
1324              Ian                April
1325             l;m                 Noel
1326             Tan                  Sid
1327             Tan               Teresita
1328            Tandoc              Melody
1329            Tandoc             Mikaela          Melody Tandoc
1330            Tandoc               Roy
1331            Tandoc             Yolanda
1332            Tanner              Linda
1333             Tapia              Anna
1334             Tapia               Jose
1335             Tale               Curtis
1336            Taylor             Regina
1:;137          Taylor              Sharla
1338            TeJano           Marla Cecilia
1339           TejanoJr.           Percival
1340          · Terzis             Matthew
1341            Tesoro             George
1342           Tialavea             Dennis
1343           Tialavea            Jayden          Jessica A. Ybarra
1344           Tiangco            Esperanza        Teodoro Tiangco
1345           Tiangco              Floro          Teodoro Tiangco
1346           Tiangco             lsabellta
1347           liangco              Maria
1348           liangco             Melanie
1349           Tiangco             Teodoro
1350           Tiangco            Theodore
1351            Torino              Emily
1352            Torino              Er\iin
1353            Torino             Estrella
1354            Torino            Faustino
1355            Torres             Andres
1356            Torres            Anthony
1357            lorres              Jesse
1358            Torres              Jesse
1359            Torres            Lorraine
1360            Torres              Maria
          Case 2:19-cv-03563-SPL Document 1-2 Filed 05/24/19 Page 70 of 89




    1361             Torres             Monique          Lorraine Torres
    1362             Torres              Robert
    1363             Torres              Sandra
    1364             Torres              Sarah            Renee Naval


I   1365
    1366
                   Torres-Jr.
                   Torres-Sr.
                                         David
                                         David


l   1367             Torrez             Armando
    1368             Torrez              Bryan           Regina Torrez
    1369             Torrez            Christopher
    1370             Torrez               Jake
    1371             Torrez              Regina
I
!
    1372            Townsley             James
    1373              Tran                Karol            Minh Tran
    1374              Tran                Minh
    1375              Tran               Tracey
    1376             Trujillo           Amanda
    1377             Trujillo            Debbie
    1378             Trujillo            Donald          Ariana Gurrola
    1379             Trujillo            Edward
    1380             Trujillo           Geneva
    1381             Trujillo.         Jacqueline
    1382             Trujillo           Jennifer
    1383             Trujillo            Joshua
    1384             Trujillo             Julie
    1385             Trujillo           Richard
    1386             Trujillo            Teresa
    1387             Tupua             Fem usual          SheilaSulu
    1388             Tupua               Tualua
    1389             Tupua              Wallace           Shella Sulu
    1390.            Umali              Amado
    1391             Umali              Andrea
    1392             Umali             Christopher
    1393             Umali               Randy
    1394         Umphlett-Patton        Christina
    1395             Valdes              Adolfo
    1396             Valdes              Alexa           Adolfo Valdes
    1397             Valdes             Crystal
    1398             Valdes             Debora
    1399             Valdes               Isis           Adolfo Valdes
    1400             Valdez              Erika
    1401             Valdez              Gilbert
    1402             Valdez        -      lm1a                             <

    '.1,403          Valdez              Leticia       Sharleena Valdez
    1404             Valdez:            Melissa
    1405             Valdez             Michelle
    1406             Valdez:           Sharleena
    1407            Valdivia            Alfredo
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 1408      Valdivia-Chairez     Rose Marie
 1409           Varela            Juanita
1410            Varela            Lanelle
 1411           Varela             Paul
 1412           Vargas            Araseli
1413            Vargas            Arlana           Araseli Vargas
1414            Vargas           Gabriella         Araseli Varges
 1415           Vargas             Mike
 1416          Vasquez           Gilberto
1417        Velarde-Nava          Yvette
1418           Velasco          Josephine
1419          Velasquez          Georgina
1420           Velazco            Adolfo
1421           Velazco            Bertha
1422           Velazco            Carina
1423           Velazco          Emmanuer
1424           Velazco          Fernando
1425           Velazco           Manuel
1426           Velazco            Victor
1427          Velazquez           Araceli
1428          Velazquez           Wyall
1429      Velazquez- Jr.-Diaz    Vicente
1430           Villarico          Emle
1431         Villavicencio        Cesar
1432           Villegas          Arianne
1433           Villegas          Christina
1434           Villegas           Marty
1435           Villegas           Robert
1436           Villegas          Serene
1437           Vinluan            Felisa
1438          Vlnluan Ill        Lorenzo
1439          Vinluan IV         Lorenzo
1440          Wabschall           Travis
1441        Waight-Smith         Raquel
1442            Ward              Myrna
1443          Watanabe           Edward
1444         Watanabe             Henry
1445         Watanabe            Hisashi         Katsuko Watanabe
1446         Watanabe            l<atsuko
1447·           Watts           Christina
1448            Watts            Delmas
1449           Weimer            Wanda
1450            Wells            Darlene
1451            Wells           Douglas
1452          Williams          Faimalie           Christina Bird
1453          Williams          Gregory
1454          Williams           Sandra
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1455           Wilson              Bobbie
1456          Wilson Jr.           Norman
1457           Wingert            Kathleen
1458           Wingert           Kathleen H.
1459           Wingert             Roger
1460           Wingert            Thomas
1461           Wirgart             Lennart
1462         Wooldridge             Louis
1463         Wooldridge             Maia              Louis Wooldridge
1464         Wooldridge           Matthew             Louis Wooldridge
1465             Yap               Richard
1466           Ybarra              Claudio
1467           Ybarra             Jonathan            Jesslc'a A. Ybarra
1468           Ybarra               Patsy
1469       Ybarra-Tialavea         Jessica
1470              Yi               Alden
1471              Yi               Edwin
1472              Yi               Kyung
1473              Yi                Sang
1474           Vinger            Savannah              Corrina Mataalii
1475          Yniguez              Gilbert
1476           Yniguez            Raymond
                                               Wendy K. Petrouski and Dorothy
             Yoshizawa             Arnold
1477                                                  Kinuye Nelson
1478          Yracheta              Anita
1479          Yrachela       '     Daniel
1480          Yracheta            Danielle             Anita Yracheta
1481          Yracheta            Matthew              Anita Yracheta
1482         Zacarias Ill          Pedro
1483           Zamora             Benjamin
1484           Zamora              Blanca
1485           Zamora             Leopoldo
1486           Zamora               Lydia
1487           Zamora              Mona
1488           Zamora            Salvador A.
1489           Zamora            Salvador H.
1490          Zamora              Samuel
1491       Zatarain-Madrid        Joseph
As appended to thisCase
                    Schedule B, Exhibit B-1, provided
                         2:19-cv-03563-SPL            by TRANSFEROR
                                               Document              to Jeff Huff,
                                                          1-2 Filed 05/24/19   PageADMINISTRATOR's
                                                                                       73 of 89             Authorized
Representative, during meeting with Tom Girardi at TRANSFEROR’s offices on 2-23-16, a list of $9,562,560.78 Shell
Oil Case expense reimbursements due TRANSFEROR from future Case settlement payments ($6,600,466.54
itemized by TRANSFEROR expense categories plus $2,962,094.24 Kurtzman Carson Consultants
                                                                                   Data generatedLLC
                                                                                                  on: invoice)
                                                                                                       2/17/2016
    Girardi & Keese
                                                                                                      Page 1 of 1
    Case Cost Report - Summary

    Case ID: 0029357          Carson, CA vs Shell Oil

             6101       Court Fees                                    $14,510.20

             6102       Jury Fees                                         $150.00

             6103       Court Reporters                              $161,684.06

             6104       Photocopy Expenses                           $310,951.06

             6106       Attorney Services                             $26,885.06

             6107       Associate Counsel Fees                          $3,562.50

             6108       Travel Reimbursements                         $96,142.99

             6109       Client Advances                               $17,569.74

             6110       Investigation Services                       $168,652.70

             6113       Arbitration Expenses                          $26,526.95

             6114       Miscellaneous Charges                         $55,203.44

             6115       Delivery - Case Cost                          $66, 181.06

             6117       Expert Witness Fees                        $4,355,222.46

             6118       Medical Photocopies                          $105,496.89

             6119       CASE'S RETAINER                               $67, 128.75

             6120       DOCUMENTS & SCANNING                           $2,520.07

             6122       Common Case Costs                            $604,072.29

             6131       Case Costs - Personnel                       $515,679.82

             6134       Case Costs - Attorney Fees                     $2,326.50

                                                                    $6,600,466.54
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                                                                                                      Kurtzman Carson Consultants
                                                                                                              P.O. Box 6191
                                                                                                          Noyato CA 94946-6191
                                                                                                             www.kccllc.com


                                                                   INVOICE
    December 141 2015
       Girardi Keese
       1126 Wilshire Blvd
       Los Angeles, CA 90017

    Re: Shell
                                                                                                                Job Code: GKM
                                                                                               Total          Costs per
                                                                                             Plaintiffs        Plaintiff          Total Costs

   Shell Fees ~ Details Attached                                                                  1,077      $ 2,750.00       $    2,961,750.00
   Shell Expense                                                                                                              $          344.24

   Summary of Work
         Claimant telephone calls to legal representatives to follow up on Guardian Ad /,item fonns.
         Obtain missing death certificates and representative documents for Providio re lien resolution.
         Prepared and sent minor compromise forms
                     Claimant telephone calls to obtain these fonns.
         Prepared and sent Shell release .
                     C!ai.rnant telephone calls to obtain release.
                     Town Hall 1neeting to obtain release.
                     Door to door campaign to obtain release.
         Prepared and sent Statement and Narrative of Damages to clain1ants.
                      Transcribed Statement and Narrative of Damages for claimants.
                      Coded all injuries in excel sheet for point allocation purposes .
        Facilitated and coordinated scheduling of geotechnical survey/boring into claimants' land.
                      Answered claimant phone calls regarding geotechnical survey.
                      Reminder calls to claimants explaining the survey/boring process.
         Prepared and sent Medicare Information Declarations to claimants.
                      Claimant telephone calls to obtain these declarations.
            Prepared and sent Covenant and Agreement for Access to clailnants.
                      Claimant telephone calls to obtain these agreements.
        Prepared and sent various update letters authored by GK to claimants .
         Notarized Shell releases.

   Balance Due                                                                                                                $ 2,962,094.24
- - - - - - - - - - - - - - -- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -              S'I
                                                                                                                              (..,(a ou    'f /do
   Please Remit Payment to:                                                                                             ------'------,,.

   Mail                                                                                  Wire Transfer

  Kurtzman Carson Consultants LLC.                                                       Kurtzman Carson Consultants LLC.
  Dept CH 16639                                                                          HSBC Bank, NA
  Palatine, IL 60055-6639                                                                452 Fifth Avenue
                                                                                         New York, NY 10081
                                                                                         Account# 000183571
                                                                                         Routing # 022000020




   TERMS - Due   upon Receipt
   SERVICE CHARGE OF 1.5% PER MONTH Wlll BE ADDED TO PAST DUE ACCOUNTS                                                               Page 1 of 1
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            E X H I B I T B - 2 LIENS OR OTHER ENCUMBRANCES ON PAYMENTS DUE TO
                                       TRANSFEROR FROM CASES

      For the purpose of TRANSFEROR'S review, correction or addition to Schedule B, "Liens" includes not only
      liens perfected under federal and/or state law, but also any other claims, subrogation's, Assignments or
      other specific or general encumbrances of Proceeds or of other TRANSFEROR assets known to TRANSFEROR.
      It is not necessary to list TRANSFEREE liens. Unless approved in writing by TRANSFEREE and
      ADMINISTRATOR, TRANSFEROR agrees not to request or approve changes to the below credit
      facilities, loans & assignment agreements; and to fully pay its obligations under and as required
      by such agreements.

  List all encumbrances on Portfolio of                           Encumbered Amounts and Brief Description
                                                     Date
 Cases including but not limited to credit                         (attach copies of relevant agreements not
                                                  Encumbered
     facilities, loans & assignments                                             already produced)
                                                                 Adelina Acosta, et al., vs. Shell Oil Company, et al.
                                                                 Superior Court of California, County of Los Angeles
                                                                 Case No. NC, 053643, and any related case
                                                                 including Case Nos. NC053684, NC053766,
                                                                 BC433429, BC433430, BC433656, BC433657,
Purchase and Sale Agreement Between Girardi                      BC454472, BC520744. The State of California, ex
Keese as Seller Thomas V. Girardi, Esq., as                      rel. City of Carson v. Shell Oil Company et. al.
                                                  11-02-2015
Seller, and Law Finance Group, LLC, as                           BC499369, and Shell Oil Company v. Barclay
Purchaser                                                        Hollander Corporation, BC544 786; If not paid by
                                                                 November of 2017. Law Finance appears to also
                                                                 restrict and/or have first right of refusal on
                                                                 additional TRANSFEROR fundings
                                                                 Est. Amt. Due: $ 1 1 , 0 0 0 , 0 0 0
                                                                 All personal property of Borrower, including
Loan And Security Agreement between
                                                                 without limitation each and all of the following: the
Comerica Bank, a Texas banking association
                                                  04-05-2011     Accounts; the Inventory; the General Intangibles;
("Bank") as secured party, and Girardi & Keese,
                                                                 (Reference Agreement Collateral definition).
a California general partnership
                                                                 Est. Amt. Due: $ 8 , 0 0 0 , 0 0 0
                                                                 Right, title and interest in all Goods, Money,
                                                                 Instruments, Accounts, Deposit Accounts, Chattel
Second Amended And Restated Revolving                            Paper, Investment Property, Letter-of-Credit
Promissory Note between Girardi Keese a                          Rights, Documents and General Intangibles.
general partnership organized under California    08-01-2013     SmithKline Beecham Corp d/b/a GlaxoSmithKline,
law and California Attorney Lending II, Inc., a                  Glaxo SmithKline PLC, Glaxo Wellpome UK Ltd.,
New York corporation                                             Glaxo SmithKline UK Limited Brentford, McKesson
                                                                 Corp; and Zimmer Inc., Zimmer Holdings Inc
                                                                 Est. Amt. Due: $ 5 , 0 0 0 , 0 0 0

"V*

I f none w r i t e the word "NONE".
      Agreed and accepted on behalf of TRANSFEROR



                                                                                                     S^J
                                                                               Date:             /2016
      Signature of Tho^ias V. Girardi; its Authorized Representative to sign on behalf of Girardi &
      Keese, a California General Partnership dba Girardi/Keese


       Law Firm Legal Funding, Consensual Equitable Lien, Assignment And Security Agreement Page 27 of 4 1
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                                SCHEDULE C - CLIENT FUNDING DISCLOSURE
     TRANSFEROR
     Girardi & Keese, a California General Partnership dba Girardi/Keese
     1126 Wilshire Blvd, Los Angeles, CA 90017-1904

     NOTE: The below table is provided to give TRANSFEROR an estimated statement of fees paid and/or
     payments being made on TRANSFEROR'S behalf at TRANSFEROR'S request, actual amount may vary.
     Amounts paid by TRANSFEREE at closing on behalf of TRANSFEROR from Legal Funding are pursuant to the
     instructions approved and given by TRANSFEROR to TRANSFEREE and ADMINSTRATOR.

                          Summary of TRANSFEROR'S Estimated Fees and Payments 2
                            Allocation of Funding                                Costs Paid Prior to Closing
                                         Legal Funding     $5,110,440.38              Expediting Costs    NONE
                    Less TRANSFEREE Origination Fee             $76,656.61             Cashier's Check    NONE
                Less Account Set-up and UCC1 Filings                $500.00                Other Costs    NONE
             Less Underwriting Travel Reimbursement               $3,283.77
                        Less Legal and Advisory Costs           $30,000.00
                  Estimated Cash to TRANSFEROR             $5,000,000.00                   Total Paid     NONE
     The below signatory, on behalf of TRANSFEROR, confirms that upon issuance of the above funds as agreed
     to by TRANSFEROR and on the TRANSFEROR'S behalf to other Persons, the TRANSFEREE'S Legal Funding
     obligation to TRANSFEROR is completed. TRANSFEROR agrees to pay TRANSFEREE the total amount due
     TRANSFEREE in accordance with the Agreement, without delay, within five (5) business days receipt of Legal
     Fees disbursement. TRANSFEROR has reviewed and understands the potential fees involved, agrees to these
     amounts and understand that there will be NO REDUCTION in the total amount that will be due TRANSFEREE
     at the successful resolution of all Client Cases except as otherwise stated in the Agreement.


     Agreed and accepted on behalf of TRANSFEROR


=>
           .        ,                                                      Date: •Q / 3/ /2016
     Signature of f homas V. Girardi; its Authorized Representative to sign on behalf of Giirardi &
     Keese, a California General Partnership dba Girardi/Keese




     2
         Such fees and payments can be adjusted or corrected by ADMINISTRATOR with disclosure to TRANSFEREE prior to funding.


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          SCHEDULE D- CONFIRMATION OF LIEN AGREEMENT DISCUSSION

 This confirmation of the Agreement communications between the Parties is not intended to be
                 all encompassing of the terms & conditions of the Agreement.

 Thomas V. Girardi representing himself as an individual and as the Authorized Representative of the
 TRANSFEROR Girardi & Keese, a California General Partnership dba Girardi/Keese hereby provides the
 response to statements relating their general and specific understanding of the Agreement.

 TRANSFEROR and Thomas V. Girardi, as individual acknowledge that he has had at least 10 days
 to review the Agreement or has voluntarily chosen to waive this review period and waive any
 possible rights of rescission in order to induce TRANSFEREE to expedite the Legal Funding.
 Irrespective of the review period, the responses below represent an accurate and factual
 represefftation of their understanding of what has been discussed and reviewed.

        Agree         C H Disagree

 TRANSFEROR and SIGNATORIES understand:

 1. The Agreement with TRANSFEREE is a Law Firm Legal Funding, Consensual Equitable Lien, Assignment
    And Security Agreement("Agreement") of future Payment Intangible secured by obligations now existing
    or in e future, including future Proceeds with an unpredictable outcome.
      M Agree         CZl Disagree

 2. I have the authority and believe that I am mentally capable of entering into this Agreement on behalf of


                      •
    TRANSFEROR and as an individual.
"=>
        Agree             Disagree

 3. I, the sole owner and only general partner of the TRANSFEROR, have full authority to take any action
    on behalf of the TRANSFEROR, will cause the TRANSFEROR, until TRANSFEREE is paid in full, to (i) pay
    the TRANSFEREE in accordance with the Agreement and; (ii) to not accept or retain fees and expense
    payments due to TRANSFEROR in accordance with the Agreement, from Proceeds from Clients listed on
    Schedule B; and (iii) if requested by TRANSFEREE, provide third parties with Instructions to insure
    payrnj^nts to TRANSFEREE in accordance with the Agreement are properly executed by such third party.

        Agree         •   Disagree

 4. Having given prior Notice to TRANSFEROR, this Agreement is "Mature", "Legal" and "Enforceable" under


                      •
         tontract law.

        Agree             Disagree

 5. When a Client Case listed in Schedule B settles with court approval or is reduced to judgment, it then
    becomes a contractual right to payment and then converts from a general intangible to a Payment
    Intangtble. TRANSFEROR has given to TRANSFEREE the absolute right to perfect UCC1 security interest


                      •
    in tl it right to payment.

        Agree             Disagree

  6. The TRANSFEREE is relying on me and TRANSFEROR and me as an individual to truthfully and factually
     advise ADMINISTRATOR when Client Cases listed on Schedule B resolve. TRANSFEROR will be in

  Law Firm Legal Funding, Consensual Equitable Lien, Assignment And Security Agreement Page 29 of 41
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       material breach of the Agreement if I or the TRANSFEROR do not truthfully and factually advise the
       TRANSFEREE about Client Cases listed on Schedule B (i) which have resolved and reached an agreement
       for payment, (ii) where TRANSFEROR has been terminated from representation of any such Clients
       without replacement of a similar Client as required by the Agreement, unless such Client is specifically
       exempted in Schedule B from such requirement, or (iii) where upon request of TRANSFEROR,
       inforaation on the status of Case Resolution negotiations and timelines is withheld.

  - J ) E l Agree             Disagree

  7. That TRANSFEREE is not obligated to take any TRANSFEREE Payment reduction unless (i) the total Legal
     Fees received from the Client Portfolio after all Client Cases have resolved is insufficient to fully repay


                          •
     the Lptfal Funding and accrued Premium, and (ii) the TRANSFEROR is not in Default of the Agreement.
       1/ Agree               Disagree

  8. That TRANSFEREE takes a substantial risk in providing TRANSFEROR with Legal Funding since the
     TRANSFEREE has absolutely no control over the Client relationship, Case litigation and resolution, the
     claim^mount or time that it takes to resolve such Cases and if successful, payment of such claims.

I — ^ 1 3 A g r e e d ! Disagree

  9. That if TRANSFEROR is discharged from any Client for any reason including but not limited to Client
     abandoning or withdrawing their Case prior to resolution then TRANSFEROR understands that
     TRANSFEROR must in addition to notifying ADMINISTRATOR immediately, in accordance with the
     Agreement, replace such Clients with Clients satisfactory to TRANSFEREE and ADMINISTRATOR (unless
     the Agreement specifically exempts such Cases from such requirement), or TRANSFEROR will be in


                          •
     material breach of the Agreement.

          Agree               Disagree

  10.TRANSFEROR understands and as required by the Agreement, shall assist the ADMINISTRATOR to file a
      UCC1 Financing Statements, Consent Judgment when included in Agreement as a Schedule and other
      documents as well as notifying defendants, any appropriate courts, counsels, insurance companies,
      settlement masters, third party administrators, bank escrow agents and all other interested Persons (as
      may be requested by ADMINISTRATOR) to perfect or protect TRANSFEREE'S security interest in all such
      General Intangibles and Proceeds payable to the TRANSFEROR from resolution of any and all Cases in
     the Client Portfolio.

          Agree     •   Disagree

  11.1 or TRANSFEROR have not, nor plan to (i) to consult with counsel concerning personal or TRANSFEROR
     Bankruptcy, unless such consultation has been disclosed in writing to the TRANSFEREE prior to the
     Agreement Effective Date, (ii) attempt to assign rights in the Client Cases to any other Person, as I and
     TRANSFEROR fully understand that I or TRANSFEROR no longer have owner rights in the Proceeds from


                    •
     the Client Portfolio and have by this Agreement assigned those rights to TRANSFEREE.

          Agree         Disagree

  12. TRANSFEROR and I understands and agree that, other than from TRANSFEREE, obtaining additional legal
      funding, financing or consideration of any kind from any source which encumbers Proceeds from the
      Portfolio of Cases will be considered a material breach of the Agreement. TRANSFEROR understands (i)
      TRANSFEROR shall not obtain additional funding from sources other than the TRANSFEREE if such
      funding shall, in any way, encumber or diminish the amount of Proceeds that may become available


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        from the Clients Cases; and (ii) at any time, the TRANSFEROR may payoff the balance owed to
        TRANSFEREE in accordance with the Agreement and be fully relieved from Agreements obligations with
        TRANSFEREE except Section 12 which shall remain in force for the Parties until such information and


                     •
        material referenced in Section 12 is available in the public domain.
             •
          1/
               Agree   Disagree

 13.TRANSFEROR agrees that any and all disputes that may arise concerning the terms, conditions,
     interpretation or enforcement of this agreement shall be determined through arbitration pursuant to the
     commercial arbitration rules of the JAMS, or the NAF in Arizona. TRANSFEROR also agrees to the
     application of Arizona law to any such dispute. I and TRANSFEROR expressly waive my and
    TRANSFEROR'S ability to arbitrate on a class action basis or to consolidate or join my claims with the
     claims of other persons that may have similar claims.

  l)     0Agree D        Disagree

 14.1 and TRANSFEROR agree, until such time TRANSFEREE modifies such terms, conditions and Instructions
    in writing or TRANSFEROR has satisfied all TRANSFEOR's Agreement obligations, (i) to perform the terms
    and conditions of this Agreement (ii) not to revoke or modified in anyway Instructions the TRANSFEROR
    may provide to third parties in accordance with the Agreement and (iii) will continue to perform and take
    such actions that satisfy the terms and conditions of the Agreement and insure the execution of


                     •
    Instructions I and the TRANSFEROR may provide to third parties.
         v
             Agree       Disagree

 15.1 and TRANSFEROR have read and understand this entire Agreement. I and TRANSFEROR have no further
    questions or concerns about the Agreement and agree that the Agreement constitutes the entire
    agreement between the Parties. There are no representations, warranties, covenants, or obligation
    except as set forth herein. This Agreement supersedes all prior agreements, understandings,
    negotiations and discussions, written or oral, of the Parties, relating to any transaction contemplated by


                     •
    this ^tjVeement.

i=) 0        Agree       Disagree

 16. In accordance with Schedule A Exhibit A-2 Additional Fundings I and TRANSFEROR agree that no
     additional Legal Fundings beyond the Legal Funding herein have been committed by TRANSFEREE to
     TRANSFEROR, and if I or TRANSFEROR request any future Legal Fundings, such future request for Legal
     Funding must be reviewed, underwritten by ADMINISTRATOR and approved by the TRANSFEREE and


                     •
     ADMINISTRATOR in writing and such approval is at the sole discretion of TRANSFEREE.

  > BAgree               Disagree

 17.TRANSFEROR has irrevocably subordinated my and TRANSFEROR'S fees and reimbursement costs to
    TRANSFEREE in alignment with the repayment provisions of the Agreement until such time as


                     •
        SFFEREE is paid in full.
  K j—7
  v UdAgree              Disagree

 18.1 and TRANSFEROR understand and agree that in the event TRANSFEROR defaults in its Agreement
    obligations, it shall be the option of TRANSFEREE to declare the terms of the Agreement to be in Default.
    In such an event, TRANSFEREE has the right to seek all remedies under the terms of the Agreement to
    make TRANSFEREE whole, including seeking payment from TRANSFEROR of amounts for cost, attorney
    fees, interest plus liquidated damages in the amount of 20% of the Schedule A amounts due to

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   TRANSFEREE which shall be in addition to the total amount due to TRANSFEREE from TRANSFEROR as
   set forth in Schedule A. TRANSFEROR expressly acknowledges that in the event of termination or other
   breach of the covenants, conditions and terms of this Agreement, the anticipated loss and damages to
   TRANSFEREE in such an event set forth in the Agreement liquidated shall be considered reasonable and
   not ijyiposed as a penalty.

     ^ Agree             C H Disagree

19.TRANSFEROR agrees to notice ADMINISTRATOR of all mass tort or other court settlement events


                         •
   involving Client Cases within 5 business days after TRANSFEROR is aware of such events.

        Agree                Disagree

20.TRANSFEROR, if required by ADMINISTRATOR, agrees to establish, maintain and pay all expenses of an
    independent third party administrator approved by the TRANSFEREE, to receive and process Client
    Portfolio settlement payments such that the TRANSFEREE'S interests and payments are administrated
    by sud> independent third party administrator for the benefit of the Parties in accordance with the


                         •
   Agreertient.

        Agree                Disagree

21. TRANSFEROR understands and agree that if TRANSFEROR receives more than one Legal Funding, each
    Legal Funding will have the same Client Portfolio assigned, transferred, and conveyed to TRANSFEREE
    including all of TRANSFEROR'S control, right, title and interest in and to any and all obligations now
    existing or in the future including future Proceeds and Payment Intangibles of TRANSFEROR resulting
    from the Client Portfolio or Proceedings.

    0 Agree              •   Disagree

22.TRANSFEROR and I understand and agree that any Payment of fees or expenses due and paid to the
   TRANSFEROR from the Client Portfolio which are sent to TRANSFEROR are to be deposited into a
   controlled account which may be the TRANSFEROR'S trust account if so stated in the Agreement. In the
   event Proceeds are not sent to the controlled account for any reason, I notify the ADMINISTRATOR and
   will cause a transfer in the amount of such Proceeds to be deposited into the controlled account no later
   than 5 , business days after receipt of such Proceeds unless otherwise agreed to in writing by


                         •
   ADMINISTRATOR .

        Agree                Disagree

 23. TRANSFEROR and I understand and agree that unless approved in writing by TRANSFEREE and
     ADMINISTRATOR, TRANSFEROR agrees not to request or approve changes to the credit facilities, loans
     & assignment agreements disclosed by TRANSFEROR in listed in Schedule B, Exhibit B-2; to fully pay
     its obligations under and as required by such agreements; and shall provide written notice to
     ADMINISTRATOR within five (5) business days if the such agreements (i) have been changed or
     modified; (ii) the TRANSFEROR requests or is made aware of a request to change or modify such
     agreements; (iii) TRANSFEROR does not pay amount due under and as required by such agreements;
     or coidmits an act that is a default of any such agreement.

         Agree           •   Disagree

24. TRANSFEROR and I understand and agree that in the event TRANSFEROR is in default of one or more Default
    provisions stated in the Default Definition sections I. through X. and XIV. through XVIII. of the Agreement; if after 10
    days from the receipt of such written Default notice the TRANSFEROR fails to fully cure said Default then I, Thomas V.

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           Girardi individually shall owe the amount which will make TRANSFEREE whole under the terms of the Agreement, plus
           an amount for TRANSFEREE attorney fees and cost to obtain a judgment, interest on all amounts due subsequent to
           judgment and liquidated damages as provided in the Agreement.

  I—|) 0 A g r e e n Disagree

        25. TRANSFEROR and I understand and agree that the Legal Funding advanced by TRANSFEREE to TRANSFEROR has
            been proyided for TRANSFEROR'S business purposes and TRANSFEROR shall exclusively and only use such funding


                        •
            for its bdsiness purposes..

                Agree       Disagree

        Agreed and accepted on behalf of TRANSFEROR


"=>                                      'A
                                                                             Date:-,J?  / ^ / 72016
        Signature of Thomas V. Girardi; its Authorized Representative to sign on behalf of Girardi &
        Keese, a California General Partnership dba Girardi/Keese



                                         A.                                                               Date:   zL   / JLL   /2016
        Signature of Thomas V. Girardi representing himself



        NOTARY

        STATE            Z'tA-A)                 COUNTY           LjtrS
— j /

   S o n this A?!' ^ d a y of / 7 7 _      2016, before me personally came, the person, Thomas V. Girardi,
—1
   ' who signed the foregoing SCHEDULE D- CONFIRMATION OF LIEN AGREEMENT DISCUSSION known to me
     personally to be such, and acknowledged that the above is her act and deed and that the facts stated herein
     are true.



                                   f-J                               My Commission Expires:                        /A,c>ir>/   J
        Notary Public



                                                            1 ^ f i ^ S H I R L E E N H. FUJIMOTO?
                                                             f:               COMM. #2107442          3
                                                                            NOTARY PUBLIC •CALIFORNIA 2
                                                                             LOS ANGELES COUNTY
                                                                                       MAY 15, 2019   £




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                                              SCHEDULE E
                                       CONSENTS AND DECLARATIONS

     G I R A R D I & KEESE, A CALIFORNIA GENERAL PARTNERSHIP DBA G I R A R D I / K E E S E
                            APPROVAL OF AND CONSENT TO ACTIONS

    The undersigned, Authorized Representative of Girardi & Keese, a California General Partnership dba
    Girardi/Keese (Company), in writing pursuant to the authority contained in Company's bylaws/operating
    agreement, without the formality of convening a meeting, do hereby adopt, approve, and consent to the actions of
    the Company set forth below:

          RESOLVED, that the Company hereby consents to the Law Firm Legal Funding, Consensual
          Equitable Lien, Assignment And Security Agreement between it and TRANSFEREE, including its
          Schedules and related documents (the "Agreement").A copy of the Agreement is attached
          hereto.

          RESOLVED, that Thomas V. Girardi, is the Company Authorized Representative with authority to
          enter into the Agreement on behalf of the Company and the signatures of Thomas V. Girardi
          on the Agreement, its Schedules or related documents will bind the Company to such
          executed Agreement and related documents.

    Agreed and accepted.

3                              m                                                       Date:J^
    Signature of Thomas V. Girardi; its Authorized Representative to sign on behalf of Girardi &
                                                                                                     / 3/72016

    Keese, a California General Partnership dba Girardi/Keese

          IF OTHER GOVERNING MEMBERS APPROVAL IS REQUIRED BY THE COMPANY'S
          ORGANIZING AND MEMBER AGREEMENTS TO APPROVE ACTION FOR THE
          COMPANY,HAVE THEM SIGN BELOW SUCH THAT THE ACTION ARE APPROVEDAND
          BINDING ON THE COMPANY AS OF THE AGREEMENT EFFECTIVE DATE.

                     ADDITIONAL SIGNATURES AS REQUIRED APPROVING THE RESOLUTION
                                     I F NOT APPLICABLE ENTER NONE

          SIGNATURE                                                    PRINT NAME, TITLE AND DATE


                              Aj/^




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                          THOMAS V. G I R A R D I APPROVAL OF AND CONSENT

     The undersigned, Thomas V. Girardi, in writing does hereby adopt, approve, and consent to the actions set forth
     below:

           RESOLVED, that Thomas V. Girardi hereby confirms that all amounts currently or in the future
           that are or may become owed by Girardi & Keese, a California General Partnership dba
           Girardi/Keese ("Girardi/Keese") to Thomas V. Girardi are not secured in any manner by
           Girardi/Keese Client Portfolio Legal Fees (the "Legal Fees") as defined by the Law Firm Legal
           Funding, Consensual Equitable Lien, Assignment And Security Agreement between
           Girardi/Keese and TRANSFEREE, including its Schedules and related documents (the
           "Agreement"). A copy of the Agreement is attached hereto.

           RESOLVED, that the Thomas V. Girardi hereby acknowledges and agrees the Agreement
           provides TRANSFEREE with a secured claim to the Legal Fees such that all amounts due
           TRANSFEREE under the Agreement shall be paid from such Legal Fees to TRANSFEREE before
           any payment from such Legal Fees can be paid to Thomas V. Girardi. For the avoidance of
           doubt Thomas V. Girardi has no current rights to payment from the Legal Fees superior to
           TRANSFEROR, relinquishes and waives any future rights to payment from the Legal Fee,
           including any Bankruptcy proceeding claims, until such time that Girardi & Keese, a California
           General Partnership dba Girardi/Keese dba Law Offices of Thomas V. Girardi or its successor
           has fully satisfied all its Agreement obligations.

           RESOLVED that the undersigned has authority to approve and consent to the above actions
           and all notices and further actions have been taken such that these resolutions are proper
           and binding.

     Agreed and accepted.


=>                                                               > J! /2016
                                                    Date: _
     Signature of Thomas V. Girardi, representing himself



=>
                                                                          Date:      /     /20163
     Signature of Thomas V. Girardi; its Authorized Representative to sign on behalf of Girardi &
     Keese, a California General Partnership dba Girardi/Keese




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                          THOMAS V. GIRARDI DECLARATION




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                                            SCHEDULE F
                                       SUCCESSION AGREEMENT

This agreement entered into between the undersigned parties is due to TRANSFEROR entering into the
funding Agreement as of its Effective Date with TRANSFEREE and such relations is administered by the
ADMINISTRATOR wherein there is pledged the TRANSFEROR Legal Fees and expense reimbursements that
may come due from certain cases defined as the Client Portfolio as security to ensure payment pursuant to
the Agreement with TRANSFEREE. The TRANSFEROR agrees that in the event of certain triggering
circumstances occurring, the Client Portfolio shall be transferred to a Succession Attorney for future handling
and representation of those affected cases. TRANSFEROR has identified David Lira, Esq., from Girardi/Keese
as the Succession Attorney that has agreed to assume responsibility for taking control of and prosecuting
to conclusion the Client Portfolio Cases. The TRANSFEREE and ADMINISTRATOR agree with TRANSFEROR’s
choice of David Lira, Esq as the Succession Attorney in accordance with and subject to terms and conditions
of the Agreement.

The following circumstances occurring to the Thomas V. Girardi, TRANSFEROR sole owner and only general
partner (the “Responsible Attorney”) who is responsible for prosecuting the Client Portfolio Cases shall be
considered a “triggering” event such that the Client Portfolio shall be automatically transferred to the
succession lawyer/firm:

a.    Conviction of Responsible Attorney of any crime classified as a felony.
b.    The breach of any term of this funding contract, and the failure to correct said breach within ten days
      of receipt of written notice from TRANSFEREE or ADMINISTRATOR of a Notice of Breach. The Notice of
      Breach shall state the terms of the funding contract that were breached and the steps necessary for
      TRANSFEROR to take to correct said breach.
c.    Death of the Responsible Attorney.
d.    Disability of the Responsible Attorney. Disability shall be defined as any physical, medical,
      psychological, emotional, or legal circumstance that prevents Responsible Attorney from practicing law
      for 30 consecutive days or longer.
e.    Disbarment, resignation from the practice of law, or ethical sanction which results in the T Responsible
      Attorney being unable to practice law for 30 consecutive days or longer.

     The Responsible Attorney has discussed with Succession Attorney the type of cases being pledged as
     cases for security and have entered into a satisfactory agreement regarding the division of attorney fees
     and responsibility for costs in the event pledged cases are transferred to Succession Attorney. Succession
     Attorney agrees to accept said cases from TRANSFEREE and to prosecute said cases to their conclusion.
     Succession Attorney, as and for consideration of being named Succession Attorney and in consideration
     of potential fees to be earned by Succession Attorney by entering into this arrangement with
     TRANSFEREE, ADMINISTRATOR and TRANSFEROR, and being advised that without said Succession
     Agreement being in place TRANSFEREE would not be able to enter into the Agreement with
     TRANSFEROR, agrees to pay from attorney fees generated by said cases, all amounts due TRANSFEREE
     under the terms of the Agreement entered into by TRANSFEROR with TRANSFEREE. Succession Attorney
     may review the proposed funding agreement prior to entering into this contract by requesting such
     review in writing directed to the ADMINISTRATOR at ALF Operations, ATTN: DGMGT AZ, LLC, 17700 N.
     Pacesetter Way, Phoenix, Arizona 85255. By agreeing to accept the responsibilities of Succession
     Attorney, Succession Attorney agrees to all terms and conditions of the Agreement entered into between
     TRANSFEROR and TRANSFEREE, regardless of whether Succession Attorney has reviewed and read said
     Agreement.

                                 [SIGNATURES ON FOLLOWING PAGES]




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         IN WITNESS WHEREOF, the parties hereto affix their signatures on the below written dates:



3
         Agreed and accepted on                           }f TRANSFEROR

                                 /                                             Date:J?    A S / /2016
         Signature of Thomas v'. Girardi; its Authorized Representative to sign on behalf of Girardi &
         Keese, a California General Partnership dba Girardi/Keese

         Agreed and accepted on behalf of RESPONSIBLE ATTORNEY

3                                                  Date:   J
         Signature of Thomas V. Girardi, RESPONSIBLE ATTORNEY
                                                                                                         /2016


         NOTARY

m        STATE.             t/j                                 COUNTY        L-OS AvL^tfe.^
                                                                                             •3
        ) On this cJ3t ^ ^ d a v of fPl         2016, before me personally came, the persons, Thomas V. Girardi
          who signed the foregoing SUCCESSION AGREEMENT is known to me personally to be such, and
          acknowledged that the above is her act and deed and that the facts stated herein are true.

                                        kL            1
                                                  (- L- ' j I           } &     My Commission Expires:                                      }
          Notary Public

                                                                                         < ^ ^ S H I R L E E N H. FUJIMOTOV
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                                                                                         jXSmiilry   LOS ANGELES COUNTY
                                                                                         5         Comm. Exp. MAY 15, 2019 >"
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         Agreed and accepted on behalf of SUCCESSOR ATTORNEY

                     "            '           ^                                Date: ~3       / 3 1 72016
    y
         Signature of David Lira, SUCCESSOR ATTORNEY

          NOTARY
        ) STATE     CALLI^                                      COUNTY                            a£j-    -
    A             AIM                   n/i
                                        C M
                                                     /                                                                                               Dii-u)4   -
        > On this c-Of ' day of / ri         . 2016, before me personally came, the persons, Thomas V. Girardf
         who signed the foregoing SUCCESSION AGREEMENT is known to me personally to be such, and
         acknowledged that the above is her act and deed and that the facts stated herein are true.

—   ^      £
                                      -hi-                      '-(->           My Commission Expires:                        / ' ^ ' 7 ; / S/            1
—/        Notary Public


                                                                                                  SHIRLEEN H. FUJIMOTO^
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                                                                                   a                  NOTARY PUBLIC • C A L I F O R N I A       fj
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On behalf of TRANSFEREE


                                                  04   01
________________________________________Date: ____/____/2016
   Signature of Jay Holland, Member and Authorized Representative of Stillwell Madison, LLC


On behalf of ADMINISTRATOR


                                                    04  01
________________________________________Date: ____/____/2016
 Signature of Alan Hald, Authorized Representative of DGMGT AZ, LLC




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                                                     SCHEDULE G
                                       PERSONAL DECLARATION OF THOMAS V. GIRARDI

      Whereas Thomas V. Girardi practices law in the firm of Girardi & Keese, a California General Partnership dba
      Girardi/Keese ("TRANSFEROR");

      Whereas Thomas V. Girardi is the controlling owner of TRANSFEROR and has authority to bind TRANSFEROR to
      agreements;

      Whereas Thomas V. Girardi, has directed TRANSFEROR to enter into a funding agreement with the Stillwell Madison,
      LLC ^TRANSFEREE") where DGMGT AZ LLC agreed to be the relationship administrator between the parties
      (the "ADMINISTRATOR");

      I, Thomas V. Girardi, agrees and consents in the event TRANSFEREE declares the that the TRANSFEROR is
      in default of one or more Default provisions stated in the Default Definition sections I. through X. and XIV
      through XVIII of the Agreement, and the following conditions are satisfied,

                (i) ADMINISTRATOR notifies the TRANSFEROR in writing in accordance with the Agreement that the
                TRANSFEROR is in default of one or more Default provisions stated in the Default Definition sections
                I. through X. and XIV through XVIII of the Agreement;

                (ii) after 10 days from the receipt of such written Default notice the TRANSFEROR fails to fully cure
                said Default;

      then I, Thomas V. Girardi individually, as evidenced by my signature below, shall owe the amount which
      will make TRANSFEREE whole under the terms of the Agreement, plus an amount for TRANSFEREE attorney
      fees and cost to obtain a judgment, interest on all amounts due subsequent to judgment and liquidated
      damages as provided in the Agreement.



                                                                                                Date: 5 I ^//2016
                S i g n a t u r e o f f h o m a s V. G i r a r d i , r e p r e s e n t i n g h i m s e l f i n d i v i d u a l l y

      NOTARY

      STATE                               O'y/^-Ck                       COUNTY
                                     U
      On t h i s <S>( ^ d a v o f                              iJ-     , 2 0 1 6 , b e f o r e m e p e r s o n a l l y c a m e , t h e p e r s o n , T h o m a s V.
' r   G i r a r d i , w h o s i g n e d t h e f o r e g o i n g Schedule G - P e r s o n a l D e c l a r a t i o n o f T h o m a s V. Girardi , o n
      b e h a l f o f h i m s e l f i n d i v i d u a l l y , w h o is k n o w n t o m e p e r s o n a l l y t o be s u c h , a n d he a c k n o w l e d g e d
      t h a t t h e a b o v e is his act a n d d e e d a n d t h a t t h e f a c t s s t a t e d h e r e i n a r e t r u e .


                                               /-r/ -                                            My C o m m i s s i o n Expires;          rHa-
       N o t a r y Public

                                                                                                                  SHIRLEEN H. FUJIMOTO
                                             SHIRLEEN H. FUJIMOTO                                                      COMM. #2107442
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